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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  IN RE:                                       §             Case No. 18-30264-SGJ-11
                                               §             Case No. 18-30265-SGJ-11
  ACIS CAPITAL MANAGEMENT, L.P.,               §
  ACIS CAPITAL MANAGEMENT GP, LLC,             §             (Jointly Administered Under Case
                                               §             No. 18-30264-SGJ-11)
                 DEBTORS.                      §
                                               §             Chapter 11


    DISCLOSURE STATEMENT PURSUANT TO SECTION 1125 OF THE UNITED STATES
    BANKRUPTCY CODE WITH RESPECT TO THE THIRD AMENDED JOINT PLAN FOR
     ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC




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  CHAPTER 11 TRUSTEE                               SPECIAL COUNSEL FOR ROBIN PHELAN,
                                                   CHAPTER 11 TRUSTEE




 Dated:    October 25, 2018
           Dallas, Texas
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         Robin Phelan, as Chapter 11 Trustee for Acis Capital Management, L.P. (“Acis LP”) and
 Acis Capital Management GP, LLC (“Acis GP,” and together with Acis LP, the “Debtors”), the
 Debtors in the above-captioned jointly-administered chapter 11 case, hereby submits this
 Disclosure Statement Pursuant to Section 1125 of the United States Bankruptcy Code with
 Respect to the Third Amended Joint Plan for Acis Capital Management, L.P. and Acis Capital
 Management GP, LLC (the “Disclosure Statement”). This Disclosure Statement is to be used in
 connection with the solicitation of votes on the Third Amended Joint Plan for Acis Capital
 Management, L.P. and Acis Capital Management GP, LLC dated October 25, 2018, as
 modified, altered, amended or modified from time to time (the “Plan”). A copy of the Plan is
 attached hereto as Exhibit “1”. Unless otherwise defined herein, terms used herein have the
 meanings ascribed thereto in the Plan (see Article I of the Plan). Consequently, parties-in-
 interest are urged to carefully review the Plan in conjunction with this Disclosure Statement.

        For a general summary of the proposed treatment of Claims or Interests under the Plan,
 please see the chart beginning on page 3 below.

                              I. NOTICE TO HOLDERS OF CLAIMS

 A.     Generally

        The purpose of this Disclosure Statement is to enable Creditors whose Claims are
 Impaired to make an informed decision in exercising their right to vote to accept or reject the
 Plan.

      THIS DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY BEAR
 UPON YOUR DECISION TO ACCEPT OR REJECT THE PLAN. PLEASE READ THIS
 DOCUMENT WITH CARE.

          On October 25, 2018, the Bankruptcy Court entered an Order (I) Conditionally Approving
 Disclosure Statement, (II) Scheduling Combined Hearing on Final Approval of Disclosure
 Statement and Confirmation of Second Amended Plan, and Setting Related Deadlines, (III)
 Approving Forms for Voting and Notice, and (IV) Approving Related Matters [Docket No. 659]
 (the “Solicitation Order”). Pursuant to section 105(d) of the Bankruptcy Code and Rule 3017 of
 the Federal Rules of Bankruptcy Procedure, the Solicitation Order (a) conditionally approved
 this Disclosure Statement, (b) set a combined hearing for final approval of this Disclosure
 Statement and confirmation of the Plan, (c) approved voting procedures, materials for
 solicitation of votes on the Plan, and form of notice, and (d) granted related relief, including
 establishment of certain deadlines relating to final approval of this Disclosure Statement and
 confirmation of the Plan. A copy of the Solicitation Order is included in the materials
 accompanying this Disclosure Statement. CONDITIONAL APPROVAL OF THIS DISCLOSURE
 STATEMENT BY THE BANKRUPTCY COURT DOES NOT CONSTITUTE A FINAL
 DETERMINATION BY THE BANKRUPTCY COURT THAT THE DISCLOSURE STATEMENT
 CONTAINS ADEQUATE INFORMATION AS REQUIRED BY SECTION 1125 OF THE
 BANKRUPTCY CODE OR A DETERMINATION REGARDING THE FAIRNESS OR MERITS
 OF THE PLAN.

         The statements contained in the Disclosure Statement are made as of the date hereof
 unless another time is specified, and neither delivery of the Disclosure Statement nor any
 exchange of rights made in connection with the Plan shall, under any circumstances, create an
 implication that there has not been any change in the information set forth herein since the date
 the Disclosure Statement and the materials relied on in preparation of the Disclosure Statement


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 were compiled.

        For the convenience of Creditors and parties-in-interest, this Disclosure Statement
 summarizes the terms of the Plan, but the Plan itself qualifies all summaries. This Disclosure
 Statement is qualified in its entirety by the terms of the Plan. If any inconsistency exists
 between the Plan and the Disclosure Statement, the terms of the Plan are controlling. In the
 event of conflict between the Plan and Confirmation Order, the Confirmation Order will control.

         Each Claimant should consult the Claimant’s individual attorney, accountant and/or
 financial advisor as to the effect of the Plan on such Claimant.

         Each holder of a Claim or Interest entitled to vote to accept or reject the Plan should
 read this Disclosure Statement and the Plan in their entirety before voting. No solicitation of
 votes to accept or reject the Plan may be made except pursuant to this Disclosure Statement
 and section 1125 of the Bankruptcy Code. Except for the Chapter 11 Trustee, the Debtors’
 Estate and their professionals, no person has been authorized to use or promulgate any
 information concerning the Debtors, the Debtors’ businesses, or the Plan, other than the
 information contained herein, in connection with the solicitation of votes to accept or reject the
 Plan. No holder of a Claim entitled to vote on the Plan should rely upon any information relating
 to the Debtors, the Debtors’ businesses, or the Plan other than that contained in this Disclosure
 Statement and the exhibits thereto. Unless otherwise indicated, the source of all information set
 forth herein was the Debtors.

         The Disclosure Statement may not be relied on for any purpose other than to determine
 whether to vote in favor of or against the Plan and related options and elections, and nothing
 contained herein shall constitute an offer to sell or purchase a security as defined by state or
 Federal securities law or an admission of any fact or liability by any party, or be admissible in
 any proceeding involving the Debtors or any other party, or be deemed conclusive evidence of
 the tax or other legal effects of the reorganization of the Debtors on holders of Claims or
 Interests. Certain of the information contained in the Disclosure Statement, by its nature, is
 forward looking, contains estimates and assumptions which may prove to be wrong, and
 contains forecasts which may prove to be wrong or which may be materially different from
 actual results.

         After carefully reviewing this Disclosure Statement, including the attached exhibits,
 please indicate your acceptance or rejection of the Plan by voting in favor of or against on the
 enclosed Ballot and returning the Ballot to the address set forth on the Ballot, in the enclosed
 return envelope so that it will be received by no later than Monday, November 26, 2018. If you
 do not vote to accept the Plan, or if you are the holder of an unimpaired Claim or Interest, you
 may be bound by the Plan if it is accepted by the requisite holders of Claims or Interests.

         TO BE SURE YOUR BALLOT IS COUNTED, YOUR BALLOT MUST BE RECEIVED NO
 LATER THAN Monday, November 26, 2018. For detailed voting instructions and the name,
 address, and phone number of the person you may contact if you have questions regarding the
 voting procedures, this process is explained below.

         Pursuant to section 105(d) of the Bankruptcy Code and Rule 3017 of the Bankruptcy
 Rules, the Bankruptcy Court has scheduled the Confirmation Hearing to consider final approval
 of the Disclosure Statement and confirmation of the Plan on Tuesday, December 11, 2018 at
 9:30 a.m. Central Time, in the United States Bankruptcy Court for the Northern District of
 Texas, Dallas Division. The Bankruptcy Court has directed that objections, if any, to final


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  approval of the Disclosure Statement and confirmation of the Plan be filed and served on or
  before Monday, November 26, 2018. Any response to any objection to final approval of the
  Disclosure Statement or confirmation of the Plan must be filed on or before Wednesday,
  December 5, 2018.

        THE CHAPTER 11 TRUSTEE SUPPORTS CONFIRMATION OF THE PLAN AND
  URGES ALL HOLDERS OF IMPAIRED CLAIMS AND INTERESTS TO VOTE TO ACCEPT
  THE PLAN.

  B.     Summary of Treatment under the Plan

          The following is an estimate of the numbers and amounts of classified Claims and
  Interests to receive treatment under the Plan, and a summary of the proposed treatment of such
  Claims and Interests under the Plan. Reference should be made to the entire Disclosure
  Statement and to the Plan for a complete description of the classification and treatment of
  Claims and Interests.

         The Bar Date for filing proofs of Claim was August 1, 2018. The tables below are drawn
  from the Debtors’ Schedules and filed or anticipated proofs of Claim. The final universe of
  Claims, as actually Allowed, may differ from these tables.

                                       PLAN

             Class                                            Treatment
Class 1 – Secured Tax Claims                   Unimpaired

Estimated Amount: Unknown*                     Each holder of an Allowed Secured Tax Claim shall
                                               receive (a) one Cash payment in an amount equal to
Estimated Number of Holders: Unknown           the principal amount of such Allowed Secured Tax
                                               Claim, plus interest at the rate and in the manner
                                               prescribed by applicable state law from the later of the
                                               Petition Date or the first day after the last day on which
                                               such Secured Tax Claim may be paid without penalty,
                                               on the Initial Distribution Date, or (b) such other
*As of the date of filing the Disclosure       treatment as may be agreed to in writing by the holder
Statement, no governmental entity has filed    of the Secured Tax Claim and the Reorganized Debtor.
a secured tax claim, and the Chapter 11        The Liens securing such Secured Tax Claims shall
Trustee is not aware of the existence of any   remain unimpaired and unaffected until each such
such claim.                                    Class 1 Claim is paid in full. All Distributions on
                                               account of Allowed Class 1 Claims shall be made by
                                               the Reorganized Debtor. Class 1 is unimpaired.
                                               Holders of Class 1 Claims are conclusively presumed
                                               to have accepted the Plan and, accordingly, are not
                                               entitled to vote on the Plan.

                                               Estimated Recovery: 100%

Class 2 – Terry Partially Secured Claim        Impaired

Estimated Amount: $8,168,293.56                In exchange for a one million dollar ($1,000,000.00)
                                               reduction in the amount of the Terry Partially Secured


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                                        PLAN

            Class                                              Treatment
Estimated Number of Holders: 1                 Claim, Terry shall receive one hundred percent (100%)
                                               of the equity interests in the Reorganized Debtor as of
                                               the Effective Date. The remaining balance of any
                                               Allowed portion of the Terry Partially Secured Claim
                                               shall be treated and paid as a Class 3 General
                                               Unsecured Claim. Class 2 is Impaired. The Holder of
                                               the Class 2 Terry Partially Secured Claim is entitled to
                                               vote on the Plan.

                                               Estimated Recovery: 102%

Class 3 – General Unsecured Claims*            Impaired

Estimated Amount: $1,341,429.37*               (a)      Each holder of an Allowed General Unsecured
                                               Claim shall receive a promissory note issued by the
Estimated Number of Holders: 36†               Reorganized Debtor (each an “Unsecured Cash Flow
                                               Note”) on the later of (a) that date that is as soon as
*For purposes of implementing the Plan,        practicable after the Effective Date, or (b) that date
including for purposes of voting and           that is as soon as practicable after such holder’s
distributions to be made under the Plan, the   General Unsecured Claim becomes an Allowed Class
Confirmation Order shall substantively         3 Claim. Each Unsecured Cash Flow Note shall be
consolidate the Debtors such that each         dated as of the Effective Date, bear interest at the
Allowed Claim will be deemed a single          Plan Rate and shall mature on that date that is the
obligation of the consolidated Debtors.        three (3) years after the Effective Date.
†
 The estimated amount and estimated            (b)      To the extent of Available Cash, the
number of holders includes disputed claims     Reorganized Debtor shall make substantially equal
and contingent, unliquidated claims filed in   quarterly Distributions of principal and accrued
an unspecified amount.                         interest to each holder of an Unsecured Cash Flow
                                               Note, with the first such quarterly Distribution being
                                               due and payable on the 180th day after the Effective
                                               Date. Thereafter, like Distributions shall be made
                                               each quarter by the Reorganized Debtor until the
                                               Unsecured Cash Flow Note is paid in full.
                                               Notwithstanding the foregoing, in the event that an
                                               Unsecured Cash Flow Note is first issued more than
                                               one hundred eighty (180) days after the Effective
                                               Date, the first Distribution made on account of such
                                               Unsecured Cash Flow Note shall be made upon the
                                               date that the next Distribution would otherwise be
                                               due, but such first Distribution shall also include
                                               amounts that would have been distributed to the
                                               holder of such Unsecured Cash Flow Note had such
                                               Unsecured Cash Flow Note been issued prior to
                                               ninety (90) days after the Effective Date, such that the
                                               first Distribution shall bring all payments current on
                                               account of such Unsecured Cash Flow Note. If on
                                               any date on which a quarterly Distribution is due to


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                                  PLAN

             Class                                      Treatment
                                         the holder of an Unsecured Cash Flow Note the
                                         remaining principal and accrued interest owing on
                                         account of such Unsecured Cash Flow Note is less
                                         than the regular quarterly Distribution amount, the
                                         Reorganized Debtor shall make a Distribution to the
                                         holder of such Unsecured Cash Flow Note in an
                                         amount sufficient to fully satisfy the remaining
                                         principal and accrued interest owed, but no more.
                                         Nothing contained in the Plan shall preclude the
                                         Reorganized Debtor from prepaying any Unsecured
                                         Cash Flow Note.

                                         (c)     If the Reorganized Debtor obtains additional
                                         Cash, through litigation recoveries or otherwise, and
                                         the Reorganized Debtor determines, in its sole
                                         discretion, that the Reorganized Debtor holds
                                         Available Cash sufficient to allow one or more Pro
                                         Rata Distributions to be made to holders of Allowed
                                         Class 3 Claims and Allowed Subclass 4A Claims, the
                                         Reorganized Debtor may, but shall not be required to,
                                         make one or more Pro Rata Distributions to holders of
                                         Allowed Class 3 Claims and Allowed Subclass 4A
                                         Claims. The amount of the Pro Rata Distribution
                                         made to each such holder shall be determined as if
                                         Class 3 and Subclass 4A constituted a single Class.
                                         Any such additional Distributions shall be applied to
                                         reduce the outstanding balance of each holder’s
                                         Unsecured Cash Flow Note.

                                         (d)    Class 3 is Impaired. Holders of Class 3
                                         Claims are entitled to vote on the Plan.

                                         Estimated Recovery: 102%


Class 4 – Insider Claims                 Impaired

Estimated Amount: $4,672,140.38          Holders of Class 4 Insider Claims shall be treated as
                                         follows:
Estimated Number of Holders: 1
                                         (a)     Class 4 Claims shall be divided into two (2)
                                         subclasses. Subclass 4A shall consist of all Allowed
                                         Class 4 claims which are not subject to equitable
                                         subordination. Subclass 4B shall consist of all Class
                                         4 claims which are determined by the Bankruptcy
                                         Court to be subject to equitable subordination. If only
                                         a part of a Class 4 Claim is subject to equitable
                                         subordination, then the portion of such claim subject


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                                 PLAN

            Class                                      Treatment
                                        to equitable subordination shall be included in
                                        Subclass 4B and the remainder not subject to
                                        equitable subordination shall be included in Subclass
                                        4A. Subclass 4A and Subclass 4B will vote
                                        separately on the Plan, although Subclass 4B is
                                        currently an empty class.

                                        (b)     All Class 4 Claims (regardless of which
                                        subclass) shall be and remain subject to all Estate
                                        Defenses and all Estate Claims, including any rights
                                        of offset, recoupment, and/or to an affirmative
                                        recovery against the Holder of any Class 4 Claim.

                                        (c)      Each holder of an Allowed Subclass 4A Claim
                                        shall receive an Unsecured Cash Flow Note on the
                                        later of (a) that date that is as soon as practicable
                                        after the Effective Date, or (b) that date that is as
                                        soon as practicable after such holder’s Subclass 4A
                                        Claim becomes an Allowed Subclass 4A Claim. Each
                                        Unsecured Cash Flow Note shall be dated as of the
                                        Effective Date, bear interest at the Plan Rate and
                                        shall mature on that date that is the three (3) years
                                        after the Effective Date.

                                        (d)      To the extent of Available Cash, the
                                        Reorganized Debtor shall make substantially equal
                                        quarterly Distributions of principal and accrued
                                        interest to each holder of an Unsecured Cash Flow
                                        Note, with the first such quarterly Distribution being
                                        due and payable on the 180th day after the Effective
                                        Date. Thereafter, like Distributions shall be made
                                        each quarter by the Reorganized Debtor until the
                                        Unsecured Cash Flow Note is paid in full.
                                        Notwithstanding the foregoing, in the event that an
                                        Unsecured Cash Flow Note is first issued more than
                                        one hundred eighty (180) days after the Effective
                                        Date, the first Distribution made on account of such
                                        Unsecured Cash Flow Note shall be made upon the
                                        date that the next Distribution would otherwise be
                                        due, but such first Distribution shall also include
                                        amounts that would have been distributed to the
                                        holder of such Unsecured Cash Flow Note had such
                                        Unsecured Cash Flow Note been issued prior to
                                        ninety (90) days after the Effective Date, such that the
                                        first Distribution shall bring all payments current on
                                        account of such Unsecured Cash Flow Note. If on
                                        any date on which a quarterly Distribution is due to
                                        the holder of an Unsecured Cash Flow Note the


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                                 PLAN

            Class                                      Treatment
                                        remaining principal and accrued interest owing on
                                        account of such Unsecured Cash Flow Note is less
                                        than the regular quarterly Distribution amount, the
                                        Reorganized Debtor shall make a Distribution to the
                                        holder of such Unsecured Cash Flow Note in an
                                        amount sufficient to fully satisfy the remaining
                                        principal and accrued interest owed, but no more.
                                        Nothing contained in the Plan shall preclude the
                                        Reorganized Debtor from prepaying any Unsecured
                                        Cash Flow Note.

                                        (e)     If the Reorganized Debtor obtains additional
                                        Cash, through litigation recoveries or otherwise, and
                                        the Reorganized Debtor determines, in its sole
                                        discretion, that the Reorganized Debtor holds
                                        Available Cash sufficient to allow one or more Pro
                                        Rata Distributions to be made to holders of Allowed
                                        Class 3 Claims and Allowed Subclass 4A Claims, the
                                        Reorganized Debtor may, but shall not be required to,
                                        make one or more Pro Rata Distributions to holders of
                                        Allowed Class 3 Claims and Allowed Subclass 4A
                                        Claims. The amount of the Pro Rata Distribution
                                        made to each such holder shall be determined as if
                                        Class 3 and Subclass 4A constituted a single Class.
                                        Any such additional Distributions shall be applied to
                                        reduce the outstanding balance of each holder’s
                                        Unsecured Cash Flow Note.

                                        (f)    Unless otherwise provided by Order of the
                                        Bankruptcy Court, holders of Allowed Subclass 4B
                                        claims shall not be entitled to any Distribution from the
                                        Reorganized Debtor until all Allowed Claims included
                                        in Classes 1 through 3 and Subclass 4A, including all
                                        Unsecured Cash Flow Notes, have been paid in full.

                                        (g)     Holders of Allowed Subclass 4B Claims shall
                                        receive a subordinated a promissory note issued by
                                        the Reorganized Debtor (“Subordinated Unsecured
                                        Cash Flow Note”) on the later of (a) that date that is
                                        as soon as practicable after the Effective Date, or (b)
                                        that date that is as soon as practicable after such
                                        holder’s Subclass 4A Claim becomes an Allowed
                                        Subclass 4A Claim. Each Subordinated Unsecured
                                        Cash Flow Note shall be dated as of the Effective
                                        Date, bear interest at the Plan Rate and shall mature
                                        on the earlier to occur of (i) the date that is two (2)
                                        years after the date all Unsecured Cash Flow Notes



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                                 PLAN

            Class                                       Treatment
                                        have been paid in full, or (ii) five (5) years after the
                                        Effective Date.

                                        (h)      To the extent of Available Cash, the
                                        Reorganized Debtor shall make substantially equal
                                        quarterly Distributions of principal and accrued
                                        interest to each holder of a Subordinated Unsecured
                                        Cash Flow Note, with the first such quarterly
                                        Distribution being due and payable on the 90th day
                                        after the payment in full of the Unsecured Cash Flow
                                        Notes. Thereafter, like Distributions shall be made
                                        each quarter by the Reorganized Debtor until the
                                        Subordinated Unsecured Cash Flow Note is paid in
                                        full. Notwithstanding the foregoing, in the event that a
                                        Subordinated Unsecured Cash Flow Note is first
                                        issued after payments have been made on one or
                                        more other Subordinated Unsecured Cash Flow
                                        Notes, the first Distribution made on account of such
                                        Subordinated Unsecured Cash Flow Note shall be
                                        made upon the date that the next Distribution would
                                        otherwise be due, but such first Distribution shall also
                                        include amounts that would have been distributed to
                                        the holder of such Subordinated Unsecured Cash
                                        Flow Note had such Subordinated Unsecured Cash
                                        Flow Note been issued at the time the first payment
                                        on any Subordinated Unsecured Cash Flow Note was
                                        made, such that the first Distribution shall bring all
                                        payments current on account of such Subordinated
                                        Unsecured Cash Flow Note. If on any date on which
                                        a quarterly Distribution is due to the holder of a
                                        Subordinated Unsecured Cash Flow Note the
                                        remaining principal and accrued interest owing on
                                        account of such Subordinated Unsecured Cash Flow
                                        Note is less than the regular quarterly Distribution
                                        amount, the Reorganized Debtor shall make a
                                        Distribution to the holder of such Subordinated
                                        Unsecured Cash Flow Note in an amount sufficient to
                                        fully satisfy the remaining principal and accrued
                                        interest owed, but no more. Nothing contained in the
                                        Plan shall preclude the Reorganized Debtor from
                                        prepaying any Subordinated Unsecured Cash Flow
                                        Note.

                                        (i)      Subject to section 4.04(f) in the Plan, if the
                                        Reorganized Debtor obtains additional Cash, through
                                        litigation recoveries or otherwise, and the
                                        Reorganized Debtor determines, in its sole discretion,
                                        that the Reorganized Debtor holds Available Cash


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               Class                                            Treatment
                                               sufficient to allow one or more Pro Rata Distributions
                                               to be made to holders of Allowed Subclass 4B
                                               Claims, the Reorganized Debtor may, but shall not be
                                               required to, make one or more Pro Rata Distributions
                                               to holders of Allowed Subclass 4B Claims. Any such
                                               additional Distributions shall be applied to reduce the
                                               outstanding balance of each holder’s Subordinated
                                               Unsecured Cash Flow Note.

                                               (j)    The Reorganized Debtor may establish
                                               appropriate Reserves as to any Contested Claim
                                               included in Class 4.

                                               (k)    Class 4 is Impaired. Holders of Class 4
                                               Claims are entitled to vote on the Plan.

                                               Estimated Recovery: 65% - 100%

Class 5 – Interests                            Impaired

                                               All Interests in the Debtors shall be extinguished and
                                               shall cease to exist as of the Effective Date. The
                                               holders of such Interests shall not receive or retain any
                                               property on account of such Interests under the Plan.
                                               Class 5 is Impaired. Holders of Class 5 Interests are
                                               conclusively presumed to have rejected the Plan and,
                                               accordingly, are not entitled to vote on the Plan.

                                               Estimated Recovery: None



          The total universe of Claims, as ultimately Allowed, may be greater or smaller than as
  reflected in the above analysis.

                                II. EXPLANATION OF CHAPTER 11

  A.     Overview of Chapter 11

          Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Pursuant to
  chapter 11, a debtor-in-possession attempts to reorganize its business for the benefit of the
  debtor, its creditors, and other parties-in-interest. The Debtors’ Chapter 11 Cases commenced
  with the filing of involuntary chapter 7 petitions by Terry on January 30, 2018. The Bankruptcy
  Court later converted the cases from chapter 7 to chapter 11 cases.

         The commencement of a chapter 11 case creates an estate comprising all the legal and
  equitable interests of the debtor in property as of the date the petition is filed. Sections 1101,
  1107, and 1108 of the Bankruptcy Code provide that a debtor may continue to operate its



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  business and remain in possession of its property as a “debtor in possession” unless the
  bankruptcy court orders the appointment of a trustee. In the present Chapter 11 Cases, the
  Chapter 11 Trustee was appointed as Chapter 11 Trustee for the Debtors.

          The filing of a chapter 11 petition also triggers the automatic stay provisions of the
  Bankruptcy Code. Section 362 of the Bankruptcy Code provides, inter alia, for an automatic
  stay of all attempts to collect pre-petition claims from a debtor or otherwise interfere with its
  property or business. Except as otherwise ordered by the bankruptcy court, the automatic stay
  remains in full force and effect until the effective date of a confirmed plan of reorganization.

         The formulation of a plan of reorganization is the principal purpose of a chapter 11 case.
  The plan sets forth the means for satisfying the claims against and interests in the debtor.
  Generally, unless a trustee is appointed, only the debtor may file a plan during the first 120 days
  of a chapter 11 case (the “Exclusive Period”). However, section 1121(c)(1) of the Bankruptcy
  Code terminates the Exclusive Period upon the appointment of a trustee. Because the Chapter
  11 Trustee was appointed as Chapter 11 Trustee for the Debtors, the Exclusive Period in the
  Chapter 11 Cases has terminated.

  B.     Plan of Reorganization

         Although referred to as a plan of reorganization, a plan may provide anything from a
  complex restructuring of a debtor’s business and its related obligations to a simple liquidation of
  the debtors’ assets. In the Debtors’ Chapter 11 Cases, the Plan proposes a continuation of the
  Debtors’ business operations.

         Under the Plan, the business operations of the Debtors will continue after the Effective
  Date through the Reorganized Debtor. One hundred percent of the equity interests in the
  Reorganized Debtor will be owned by Terry. All of the Debtor’s Assets, including the PMAs, all
  Cash, Estate Accounts Receivable, Estate Claims, and Estate Defenses, shall be transferred to
  and vested in the Reorganized Debtor. The Reorganized Debtor will have certain obligations to
  make Distributions on account of specified Allowed Claims under the Plan.

         The Plan provides for the substantive consolidation of the Debtors for purposes of voting
  and distributions under the Plan, such that any Claim against either of the Debtors will be
  deemed to have been filed against the consolidated Debtors.

           After a plan of reorganization has been filed, the holders of impaired claims against or
  interests in a debtor are permitted to vote to accept or reject the plan. Before soliciting
  acceptances of the proposed plan, section 1125 of the Bankruptcy Code requires a debtor to
  prepare a disclosure statement containing adequate information of a kind, and in sufficient
  detail, to enable a hypothetical reasonable investor to make an informed judgment about the
  plan. This Disclosure Statement is presented to holders of Claims against and Interests in the
  Debtors to satisfy the requirements of section 1125 of the Bankruptcy Code.

          If all classes of claims and interests accept a plan of reorganization, the bankruptcy court
  may nonetheless still not confirm the plan unless the court independently determines that the
  requirements of section 1129 of the Bankruptcy Code have been satisfied. Section 1129 sets
  forth the requirements for confirmation of a plan and, among other things, requires that a plan
  meet the “best interests of creditors” test and be “feasible.” The “best interests of creditors” test
  generally requires that the value of the consideration to be distributed to the holders of claims
  and interests under a plan may not be less than those parties would receive if the a debtor was


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  liquidated pursuant to a hypothetical liquidation occurring under chapter 7 of the Bankruptcy
  Code. Under the “feasibility” requirement, the court generally must find that there is a
  reasonable probability that the debtor will be able to meet its obligations under the plan without
  the need for further financial reorganization.

          The Chapter 11 Trustee believes that the Plan satisfies all the applicable requirements
  of section 1129(a) of the Bankruptcy Code, including, in particular, the “best interests of
  creditors” test and the “feasibility” requirement. The Chapter 11 Trustee supports confirmation
  of the Plan and urges all holders of impaired Claims and Interests to accept the Plan.

          Chapter 11 does not require that each holder of a claim against or interest in a debtor
  vote in favor of a plan of reorganization in order for the bankruptcy court to confirm the plan. At
  a minimum, however, the plan must be accepted by a majority in number and two-thirds in
  amount of those claims actually voting in at least one class of impaired claims under the plan.
  The Bankruptcy Code also defines acceptance of the plan by a class of interests (equity
  securities) as acceptance by holders of two-thirds of the number of shares actually voting. In
  the Chapter 11 Cases, only the holders of Claims who actually vote will be counted as either
  accepting or rejecting the Plan.

          In addition, classes of claims or interests that are not “impaired” under a plan of
  reorganization are conclusively presumed to have accepted the plan and thus are not entitled to
  vote. Accordingly, acceptances of a plan will generally be solicited only from those persons who
  hold claims or interests in an impaired class. A class is “impaired” if the legal, equitable, or
  contractual rights attaching to the claims or interests of that class are modified in any way under
  the plan. However, if holders of the claims or interests in a class do not receive or retain any
  property on account of such claims or interests, then each such holder is deemed to have voted
  to reject the plan and does not actually cast a vote to accept or reject the plan.

          Under the Plan, Class 1 is unimpaired and presumed to have accepted the Plan.
  Classes 2, 3, and 4 are impaired and the holders of Claims in such Classes are entitled to vote
  on the Plan. Although Class 5 Interests are impaired under the Plan, holders of Class 5
  Interests in the Debtors shall not receive or retain any property on account of their Interests
  under the Plan and, therefore, are deemed to have rejected the Plan and will not vote on the
  Plan.

           The bankruptcy court may also confirm a plan of reorganization even though fewer than
  all the classes of impaired claims and interests accept it. For a plan of reorganization to be
  confirmed despite its rejection by a class of impaired claims or interests, the proponent of the
  plan must show, among other things, that the plan does not “discriminate unfairly” and that the
  plan is “fair and equitable” with respect to each impaired class of claims or interests that has not
  accepted the plan.

          Under section 1129(b) of the Bankruptcy Code, a plan is “fair and equitable” as to a
  class of rejecting claims if, among other things, the plan provides: (a) with respect to secured
  claims, that each such holder will receive or retain on account of its claim property that has a
  value, as of the effective date of the plan, equal to the allowed amount of such claim; and (b)
  with respect to unsecured claims and interests, that the holder of any claim or interest that is
  junior to the claims or interests of such class will not receive or retain on account of such junior
  claim or interest any property at all unless the senior class is paid in full.




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          A plan does not “discriminate unfairly” against a rejecting class of claims if (a) the
  relative value of the recovery of such class under the plan does not differ materially from that of
  any class (or classes) of similarly situated claims, and (b) no senior class of claims is to receive
  more than 100% of the amount of the claims in such class.

         The Chapter 11 Trustee believes that the Plan has been structured so that it will satisfy
  these requirements as to any rejecting Class of Claims, and can therefore be confirmed, if
  necessary, over the objection of any Classes of Claims. The Chapter 11 Trustee, however,
  reserves the right to request confirmation of the Plan under the “cramdown” provisions of
  section 1129 of the Bankruptcy Code.

                            III. THE DEBTORS AND THEIR BUSINESS

          Acis LP is a Delaware limited partnership and Acis GP is a Delaware limited liability
  company. Acis LP is portfolio manager for the Acis CLOs and the Other Acis-Managed Funds.
  Acis LP manages the Acis CLOs and the Other Acis-Managed Funds through the PMAs or
  similar agreements. The Acis CLOs and CLO-1 are governed by the Indentures. Acis LP
  originally contracted out its operations to Highland pursuant to the Shared Services Agreement
  and Sub-Advisory Agreement. The source of Acis LP’s income is fees payable to Acis LP under
  the PMAs.

          Under the Shared Services Agreement, Highland was appointed as the “Staff and
  Services Provider” for Acis LP for the purpose of performing virtually all aspects of Acis LP’s
  business operations, including, e.g., (a) providing back- and middle- office functions, including
  accounting, payments, operations, technology and finance, (b) providing legal and general risk
  analysis, (c) performing Acis LP’s obligations under the PMAs and similar agreements, (d)
  advising regarding valuations or preparing reports relating to the Acis CLOs and the Other Acis-
  Managed Funds, (e) negotiating documents necessary for the acquisition or disposition of any
  assets of the Acis CLOs or the Other Acis-Managed Funds, (f) assisting with the marketing of
  the Acis CLOs and the Other Acis-Managed Funds, (g) assisting in the preparation of any
  reporting required to be made on the Acis CLOs and the Other Acis-Managed Funds, (h)
  providing office space, IT services and equipment, (i) providing shared employees, (j) advising
  on any matters ancillary to the foregoing, and (k) managing the day-to-day business of Acis LP.

           Likewise, under the Sub-Advisory Agreement, Highland was appointed as the “Sub-
  Advisor to [Acis LP]” for the purpose of performing Acis LP’s obligations to the Acis CLOs and
  the Other Acis-Managed Funds under the PMAs or similar agreements including, e.g., (i)
  making recommendations regarding the general composition and allocation of the Acis CLOs
  and the Other Acis-Managed Funds, (ii) placing orders for and arranging for investments by or
  on behalf of the Acis CLOs and the Other Acis-Managed Funds, (iii) negotiating the structure
  and terms of investment opportunities for the Acis CLOs and the Other Acis-Managed Funds,
  (iv) performing due diligence on prospective investments by the Acis CLOs and the Other Acis-
  Managed Funds, (v) providing information regarding and monitoring and servicing the
  investments in the Acis CLOs and the Other Acis-Managed Funds, (vi) advising regarding credit
  functions, credit analysis and market research and analysis for the Acis CLOs and the Other
  Acis-Managed Funds, and (vii) performing any other services required to be performed by Acis
  LP under the PMAs.

         The Bankruptcy Court authorized the Chapter 11 Trustee to terminate the Shared
  Services Agreement and Sub-Advisory Agreement and engage Brigade Capital Management,




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  LP (“Brigade”)1 to perform the services previously provided by Highland. An overview of the
  Brigade CLO Platform and the terms of the proposal from Brigade to serve as the Sub-Advisor
  under the Plan are attached hereto as “Exhibit 2.” The Shared Services Agreement and Sub-
  Advisory Agreement were terminated by the Chapter 11 Trustee on or about August 1, 2018,
  and the services previously performed by Highland were transitioned to Brigade on an interim
  basis.

                             IV. FEASIBILITY/PROJECTED DISTRIBUTIONS

          The Bankruptcy Code conditions confirmation of a plan of reorganization on, among
  other things, a finding that it is not likely to be followed by the liquidation or the need for further
  financial reorganization of Debtors, unless such liquidation or reorganization is provided for by
  the plan.

          Under the Plan, Terry shall receive 100% of the equity interests in the Reorganized
  Debtor in exchange for a $1 million reduction in the amount of the Terry Partially Secured Claim.
  The PMAs and any other Executory Contracts and Unexpired Leases identified on Exhibit B to
  the Plan or in the Confirmation Order shall be assumed and the Reorganized Debtor shall, from
  an after the Effective Date, serve as the portfolio manager with respect to the Acis CLOs and
  the Other Acis-Managed Funds (and any reset Acis CLOs). Consistent with Section 15 of the
  PMAs, the Reorganized Debtor may only be removed as portfolio manager under the assumed
  PMAs for cause as set forth in the PMAs. As discussed above, Brigade replaced Highland as
  the shared services provider and sub-advisor to Acis LP on or about August 1, 2018. Brigade
  has agreed to continue to provide shared services and sub-advisory services to the
  Reorganized Debtor with respect to the Acis CLOs and Other Acis-Managed Funds (and any
  reset Acis CLOs) subject to a minimum two (2) year term unless otherwise agreed as between
  the Reorganized Debtor and Brigade. Consequently, any agreement between the Reorganized
  Debtor and Brigade shall provide that Brigade cannot be removed without cause for a period of
  two (2) years except as may be otherwise agreed as between the Reorganized Debtor and
  Brigade.

          HCLOF has maintained that it desires to reset the Acis CLOs. The Reorganized Debtor,
  with the assistance of Brigade as its shared services provider and sub-advisor, is prepared to
  promptly seek to perform such reset transactions as set forth in section 6.08 of the Plan.
  HCLOF shall have the right to submit one or more notice(s) of Optional Redemption solely for
  the purpose of effectuating a reset of one or more of the Acis CLOs under section 6.08 of the
  Plan utilizing Refinancing Proceeds (a “Reset Optional Redemption”) for each of the Acis CLOs.
  If HCLOF requests a Reset Optional Redemption of an Acis CLO, the Reorganized Debtor, with
  the assistance of Brigade, shall thereafter seek to reset the Acis CLOs, either consecutively or
  simultaneously, in its good faith business judgment and consistent with then-prevailing market
  terms; provided, however, (i) the Management Fees to be charged by the Reorganized Debtor
  to any reset Acis CLOs shall remain the same going forward and shall not be increased, and no
  transaction fee shall be charged by the Reorganized Debtor (other than, for avoidance of doubt,
  transaction expense reimbursements consistent with market standards), and (ii) HCLOF shall
  be granted a right of first refusal for any funding of debt or equity required to effectuate a reset

  1
    Brigade Capital Management (“Brigade”) is a global asset management firm with approximately $20 billion of AUM
  specializing in credit investment strategies including structured credit. Brigade has issued 15 CLOs and currently
  manages $5.3 billion in CLOs across 12 active transactions. Additionally, the firm manages $3 billion in structured
  credit investments.




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  of each of the Acis CLOs. The terms of the Indentures shall control any Reset Optional
  Redemption. If HCLOF elects not to reset one or more of the Acis CLOs, then the Acis CLOs
  will continue to be managed in accordance with market standards.

          The holders of Allowed Class 3 General Unsecured Claims and Allowed Subclass 4A
  Insider Claims will receive an Unsecured Cash Flow Note from the Reorganized Debtor, which
  will bear interest at the Plan Rate and mature three (3) years after the Effective Date. To the
  extent of Available Cash, the Reorganized Debtor shall make substantially equal quarterly
  Distributions of principal and accrued interest to each holder of an Unsecured Cash Flow Note,
  with the first such quarterly Distribution being due and payable on the 180th day after the
  Effective Date. Thereafter, like Distributions shall be made each quarter by the Reorganized
  Debtor until the Unsecured Cash Flow Note is paid in full. If the Reorganized Debtor obtains
  additional Cash, through litigation recoveries or otherwise, and the Reorganized Debtor
  determines, in its sole discretion, that the Reorganized Debtor holds Available Cash sufficient to
  allow one or more Pro Rata Distributions to be made to holders of Allowed Class 3 Claims and
  Allowed Subclass 4A Claims, the Reorganized Debtor may, but shall not be required to, make
  one or more Pro Rata Distributions to holders of Allowed Class 3 Claims and Allowed Subclass
  4A Claims. The amount of the Pro Rata Distribution made to each such holder shall be
  determined as if Class 3 and Subclass 4A constituted a single Class. Any such additional
  Distributions shall be applied to reduce the outstanding balance of each holder’s Unsecured
  Cash Flow Note. Finally, unless otherwise provided by Order of the Bankruptcy Court, holders
  of Allowed Subclass 4B claims shall not be entitled to any Distribution from the Reorganized
  Debtor until all Allowed Claims included in Classes 1 through 3 and Subclass 4A, including all
  Unsecured Cash Flow Notes, have been paid in full. However, holders of Allowed Subclass 4B
  Claims shall receive a subordinated a promissory note issued by the Reorganized Debtor
  (“Subordinated Unsecured Cash Flow Note”) which shall bear interest at the Plan Rate and
  mature on the earlier to occur of (i) the date that is two (2) years after the date all Unsecured
  Cash Flow Notes have been paid in full, or (ii) five (5) years after the Effective Date. To the
  extent of Available Cash, the Reorganized Debtor shall make substantially equal quarterly
  Distributions of principal and accrued interest to each holder of a Subordinated Unsecured Cash
  Flow Note, with the first such quarterly Distribution being due and payable on the 90th day after
  the payment in full of the Unsecured Cash Flow Notes. Thereafter, like Distributions shall be
  made each quarter by the Reorganized Debtor until the Subordinated Unsecured Cash Flow
  Note is paid in full.

           A copy of the estimated waterfall under the Plan (the “Plan Projections”) prepared by the
  Chapter 11 Trustee’s financial advisors and investment bankers, Miller Buckfire & Co., LLC and
  Stifel, Nicolaus & Co., Inc. (collectively, the “Financial Advisors”), is attached hereto as “Exhibit
  3,” and demonstrates that the Chapter 11 Trustee is projecting Distributions under the Plan of
  approximately 102% to the holder of an Allowed Class 2 Terry Partially Secured Claim,
  approximately 102% to each holder of an Allowed Class 3 General Unsecured Claim, and
  between approximately 65% and 100% to each holder of an Allowed Class 4B Insider Claim.2
  As is reflected in the attached Plan Projections, the difference between the estimated recovery
  percentages under the Plan will depend, in large part, upon whether HCLOF decides to reset
  one or more of the Acis CLOs under section 6.08 of the Plan, which will affect the amount of
  revenues and operating cash flow available to the Reorganized Debtor.



  2
    The Plan projections and the Chapter 7 Liquidation Analysis presume the equitable subordination and payment
  through Subclass 4B of the Insider Claims.



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        Based on the foregoing, the Chapter 11 Trustee believes the Plan satisfies the
  Bankruptcy Code’s feasibility requirement.

          Attached as “Exhibit 4” to this Disclosure Statement is a Chapter 7 Liquidation Analysis
  prepared by the Chapter 11 Trustee’s Financial Advisors. Notably, the anticipated Distributions
  to the holders of Allowed Class 2 and Class 3 Claims is significantly lower in a chapter 7
  liquidation than under the Plan. This is based on a number of factors, including the fact that, in
  a chapter 7 liquidation, Acis LP would not receive the approximately $14.6 million to $21 million
  in revenues under the PMAs (or approximately $7.5 million to $10.9 million in operating cash
  flow) for continuing to manage the Acis CLOs as proposed under the Plan. The loss of value
  from the PMAs would occur in a chapter 7 liquidation will result in a much lower distribution to
  creditors.

           The Chapter 11 Trustee would also note that in preparing the attached Plan Projections
  and Liquidation Analysis, his financial advisors and investment bankers have made certain
  estimates regarding projected cash on hand at confirmation based on current and anticipated
  accounts receivable. Based on such estimations and valuation adjustments, the actual
  Distributions to holders of Allowed Class 2, Class 3, and Class 4B Claims may be more or less
  than projected in the above-referenced Plan Projections and Liquidation Analysis depending
  upon several variables, including (i) the actual liquidation value of the Debtors’ assets in a
  chapter 7 liquidation, (ii) the aggregate amount of Allowed Class 1, Class 2, Class 3, and Class
  4B Claims, (iii) the amount, if any, for which certain Administrative Expense Claims are Allowed,
  (iv) the Allowed amounts of certain Priority Claims, (v) the collectability of the Estate Accounts
  Receivable, and (vi) the amount of the expenses and fees of Trust Professionals. The Plan
  Projections and Liquidation Analysis also do not include any net recovery from potential Estate
  Claims held by the Estate, including Avoidance Actions.

          As reflected in the attached Plan Projections and Liquidation Analysis, the Chapter 11
  Trustee believes that under the Plan holders of Allowed Class 2, Class 3, and Class 4B Claims
  will receive Distributions on account of such Allowed Claims having a value as of the Effective
  Date which will be substantially more than the amount the holders of such Allowed Claims
  would receive in a Chapter 7 liquidation. This is so because the Estate will receive a much
  greater value on account of the PMAs under the Plan than it would through a chapter 7
  liquidation. The Chapter 11 Trustee also believes that the Reorganized Debtor will be able to
  make Distributions to holders of Allowed Claims much more expeditiously than could a Chapter
  7 trustee. The Plan also contains a mechanism for fixing Reserves on behalf of Contested
  Claims so as to allow one or more interim distributions on behalf of the holders of Allowed
  Claims by the Reorganized Debtor. In addition, the holders of Allowed Class 3 and Subclass 4A
  Claims will receive quarterly payments on account of Unsecured Cash Flow Notes beginning on
  the 180th day after the Effective Date, and the holders of Allowed Class 4B will receive quarterly
  payments on account of Subordinated Unsecured Cash Flow Notes beginning on the 90th day
  after the payment in full of the Unsecured Cash Flow Notes. A Chapter 7 trustee would likely
  have significantly less flexibility in making interim distributions or other interim payments to the
  holders of Allowed Unsecured Claims.

                                   V. THE CHAPTER 11 CASES

  A.     Events Leading to Bankruptcy

          Prior to the Petition Date, Terry was hired by Highland and eventually became a 25%
  limited partner in Acis LP and was assigned the responsibility of managing Acis LP’s business.


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  On June 9, 2016, Terry’s employment was terminated and his equity interest in Acis LP was
  deemed forfeited without any payment to Terry. Highland thereafter sued Terry in state court
  and Terry then asserted claims against various parties in such lawsuit, including claims against
  the Debtors. The parties to such lawsuit were ordered to arbitrate and Terry ultimately obtained
  an arbitration award jointly and severally against the Debtors in the amount of $7,949,749.15.
  Terry obtained a judgment confirming his arbitration award on December 18, 2017.

  B.     Commencement of the Involuntary Bankruptcy Cases and Entry of Orders for Relief

         On January 30, 2018, Terry filed involuntary petitions under chapter 7 of the Bankruptcy
  Code against both of the Debtors in the Bankruptcy Court. Acis LP’s bankruptcy case was
  assigned Case No. 18-30264, and Acis GP’s bankruptcy case was assigned Case No. 18-
  30265.

         The involuntary petitions were contested and the Bankruptcy Court held a multi-day trial
  spanning March 21, 22, 23, 27 and 29, 2018. On April 13, 2018, the Bankruptcy Court entered
  an Order for Relief in an Involuntary Case in both bankruptcy cases. Diane Reed was then
  appointed as the Chapter 7 Trustee in both cases.

  C.     Continued Operation by the Chapter 7 Trustee and Conversion to Chapter 11

          On April 18, 2018, the Bankruptcy Court entered interim orders authorizing the Chapter
  7 Trustee to continue operating the Debtors’ businesses until April 23, 2018 pursuant to the
  terms of the Shared Services Agreement and the Sub-Advisory Agreement. On April 23, 2018,
  the Bankruptcy Court conducted a hearing and extended the Chapter 7 Trustee’s authorization
  to continue operating the Debtors’ businesses for 60 days.

         On April 19, 2018, the Bankruptcy Court entered an Order Directing Joint Administration,
  which provides for the joint administration of the Debtors’ respective bankruptcy cases under
  Case No. 18-30264. Consequently, except where otherwise indicated, all references to the
  “Docket” refer to the Docket in Case No. 18-30264. The Debtors’ jointly administered cases are
  presided over by the Honorable Stacey G. C. Jernigan, United States Bankruptcy Judge.

           On May 4, 2018, the Chapter 7 Trustee filed her Trustee’s Expedited Motion to Convert
  Cases to Chapter 11 (the “Motion to Convert”) [Docket No. 171]. Also on May 4, 2018, Terry
  filed his Emergency Motion for an Order Appointing a Trustee for the Chapter 11 Estates of Acis
  Capital Management, L.P. and Acis Capital Management GP, LLC Pursuant to Bankruptcy
  Code Section 1104(a) (the “Motion to Appoint Trustee”) [Docket No. 173]. On May 11, 2018,
  the Bankruptcy Court entered an Order [Docket No. 205] granting the Motion to Convert and an
  Order [Docket No. 206] granting the Motion to Appoint Trustee. Thereafter, the U.S. Trustee
  appointed the Chapter 11 Trustee as Chapter 11 Trustee in the Chapter 11 Cases. Mr.
  Phelan’s appointment as Chapter 11 Trustee in Acis LP’s case was approved pursuant to an
  Order [Docket No. 221] entered by the Bankruptcy Court on May 17, 2018 and his appointment
  as Chapter 11 Trustee in Acis GP’s case was approved pursuant to an Order [Docket No. 184 in
  Case No. 18-30265] entered by the Bankruptcy Court on June 12, 2018.

  D.     Estate Professionals

         The following is a list of each of the Estate Professionals that have been employed, or
  are proposed to be employed, with a description of the role of each such Estate Professional:




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       Estate Professional            Role of Estate Professional    Date of Entry and Docket No.
                                                                     of Employment Order

       Reed & Elmquist, P.C.          Counsel for the Chapter 7      May 20, 2018
       (“R&E”)                        Trustee                        [Docket No. 227]

       Forshey & Prostok, LLP         Counsel for the Chapter 11     June 18, 2018
       (“F&P”)                        Trustee                        [Docket No. 296]

       Winstead PC (“Winstead”)       Special Counsel for the        June 21, 2018
                                      Chapter 11 Trustee             [Docket No. 313]

       Miller Buckfire & Co., LLC     Financial Advisors to the      July 27, 2018
       Stifel, Nicolaus & Co., Inc.   Chapter 11 Trustee             [Docket No. 439]
       (“Financial Advisors”)

  E.        Creditors’ Committee

            No creditors’ committee has been appointed in the Chapter 11 Cases.

  F.        Professional Fees and Expenses; U.S. Trustee Fees

          R&E did not receive any retainer in connection with its engagement as counsel for the
  Chapter 7 Trustee. R&E’s engagement as an Estate Professional concluded by virtue of
  conversion of the Debtors’ bankruptcy cases from chapter 7 to chapter 11 and R&E is not
  currently engaged as an Estate Professional. On July 31, 2018, R&E filed a First and Final Fee
  Application in the Chapter 11 Cases seeking payment of professional fees and expenses in the
  amount of $59,856.07 [Docket No. 458].

         F&P did not receive any retainer in connection with its engagement as counsel for the
  Chapter 11 Trustee. To date, F&P has not filed any fee application in the Chapter 11 Cases.
  From May 14, 2018 through August 31, 2018, F&P has accrued professional fees and expenses
  of approximately $1.2 million.

         Winstead did not receive any retainer in connection with its engagement as special
  counsel for the Chapter 11 Trustee. To date, Winstead has not filed any fee application in the
  Chapter 11 Cases. From May 14, 2018 through August 31, 2018, Winstead has accrued
  professional fees and expenses of approximately $1.4 million.

          The Chapter 11 Trustee’s Financial Advisors have not received any retainer in
  connection with their proposed engagement. Under the terms of their proposed engagement,
  however, the Financial Advisors are entitled to receive a monthly fee of $100,000 for a minimum
  of eight (8) months, or a minimum fee of $800,000. Miller Buckfire has also incurred
  reimbursable expenses of approximately $150,000.

         The Debtors’ Estate owes U.S. Trustee fees for the 2nd quarter of 2018. The amount of
  such U.S. Trustee fees is believed to be nominal and such fees will be paid in due course. U.S.
  Trustee Fees accruing for future quarters will be paid as they become due.




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  G.     Other Administrative Expenses under Section 503(b)(3) of the Bankruptcy Code

         1.      The Oaktree Administrative Claim

          On June 12, 2018, the Chapter 11 Trustee filed an Emergency Motion to Approve Break-
  Up Fee, Expense Reimbursement, and Replacement Sub-Advisory and Shared Services
  Provider, Oaktree Capital Management, L.P. [Docket No. 263] (the "Motion"), which was later
  supplemented by the Chapter 11 Trustee’s Supplemental Motion to Break-Up Fee Motion
  Seeking Court Approval of Procedures to Confirm Plan Funder [Docket No. 334] (the
  “Supplement”), and the Oaktree Capital Management, L.P.’s Notice of Amended Commitment
  Letter [Docket No. 385] (the “Commitment Letter,” and collectively with the Motion and the
  Supplement, the “Oaktree Motion”).

          On July 10, 2018, the Court entered an order granting the Oaktree Motion (the “Oaktree
  Order”) [Docket No. 390]. The Oaktree Order authorizes (i) a break-up fee in favor of Oaktree in
  the amount of $2.5 million entitled to priority as an administrative expense under section 503(b)
  of the Bankruptcy Code in the event the Transaction described in the Oaktree Motion is not
  approved, and (ii) an expense reimbursement entitled to priority as an administrative expense
  under section 503(b) of the Bankruptcy Code. The Oaktree Order also authorizes a payment of
  equivalent revenue of approximately $4 million to Oaktree under the terms of the Commitment
  Letter in the event Oaktree, after being approved by the Court to replace Highland as the provider
  of shared services and sub-advisory services, began the process of onboarding assets. The
  Commitment Letter further provides that the break-up fee is a credit against the equivalent
  revenue. After the Oaktree Order was entered, Oaktree began the process of onboarding the
  assets. As a result, the Debtors’ Estate became obligated to Oaktree for the equivalent revenue
  equal to approximately $4 million. Oaktree voluntarily reduced the amount of the equivalent
  revenue to $2.7 million when the Chapter 11 Trustee retained Brigade to provide the shared
  services and sub-advisory services on an interim basis. The Transaction with Oaktree described
  in the Oaktree Motion was not approved. The Chapter 11 Trustee paid $2.5 million of the
  equivalent revenue to Oaktree on or about September 20, 2018, and owes Oaktree an additional
  $200,000. The Chapter 11 Trustee also owes Oaktree amounts for attorneys’ fees and expenses
  as an expense reimbursement. However, the U.S. Trustee has objected to the approximately
  $2.5 million in attorneys’ fees and expenses requested by Oaktree’s counsel, and the total amount
  of the expense reimbursement payable by the Chapter 11 Trustee to Oaktree remains to be
  determined.

         2.      The Terry Administrative Claim

          Section 503(b)(3)(A) of the Bankruptcy Code provides, after notice and hearing, allowed
  administrative expenses should be awarded to a creditor that files an involuntary petition under
  section 303 of the Bankruptcy Code. Consequently, the Chapter 11 Trustee anticipates that Terry
  will request payment of administrative expenses against the estate in the amount of approximately
  $700,000.

  H.     Schedules and Bar Date

          The Debtors’ original bankruptcy schedules were filed on April 27, 2018 [Docket No. 164
  in Case No. 18-30264; Docket No. 151 in Case No. 18-30265]. The Debtors’ statements of
  financial affairs were filed on April 30, 2018 [Docket No. 165 in Case No. 18-30264; Docket No.
  152 in Case No. 18-30265]. The amended bankruptcy schedules for Acis LP were filed on June
  26, 2018 [Docket No. 329 in Case No. 18-30264] and amended bankruptcy schedules for Acis


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  GP were filed on June 29, 2018 [Docket No. 197 in Case No. 18-30265].

            Pursuant to a Notice of Chapter 11 Bankruptcy Case entered on the docket [Docket No.
  301 in Case No. 18-30264; Docket No. 189 in Case No. 18-30265], October 15, 2018 was
  initially fixed as the deadline for all holders of alleged Claims (except for governmental units) to
  file proofs of Claim. However, on June 26, 2018, the Chapter 11 Trustee filed a Motion for an
  Order (A) Shortening Deadline to File Nongovernmental Proofs of Claim; (B) Setting Bar Dates;
  and (C) Approving Claim Procedures and the Form and Manner of Service of Bar Date Notice
  (the “Bar Date Motion”) [Docket No. 330]. The Bar Date Motion was granted pursuant to an
  Order [Docket No. 387] entered on July 9, 2018 (the “Bar Date Order”). Pursuant to the Bar
  Date Order, August 1, 2018 was established as the deadline for all holders of alleged Claims
  (except for governmental units) to file proofs of Claim and October 10, 2018 has been
  established as the deadline for governmental units to file proofs of Claim.

  I.     Operating Information During Pendency of the Chapter 11 Cases

          Following conversion of the Debtors’ bankruptcy cases from chapter 7 to chapter 11, the
  Chapter 11 Trustee has filed all required monthly operating reports with the Bankruptcy Court.
  Copies of the filed monthly operating reports are available for inspection and copying at the
  office of the Clerk of the Bankruptcy Court. Copies of the most recently filed monthly operating
  reports Acis LP and Acis GP are attached hereto as Exhibits “5” and “6,” respectively.

  J.     Exclusivity

          The Exclusive Period terminated as to the Debtors by virtue of appointment of the
  Chapter 11 Trustee in the Chapter 11 Cases. Consequently, any party-in-interest is free to file a
  plan in the Chapter 11 Cases.

                            VI. LITIGATION INVOLVING THE DEBTORS

  A.     Current Litigation

         1.      Bankruptcy Court’s Sua Sponte Temporary Restraining Order

          On May 25, 2018, the Chapter 11 Trustee filed his Trustee’s Request for Status
  Conference [Docket No. 239] seeking a status conference before the Bankruptcy Court to, inter
  alia, advise the Bankruptcy Court of a request for Optional Redemption (as defined in the
  Indentures) made by HCLOF, the Chapter 11 Trustee’s response to such request and matters
  related thereto. The Bankruptcy Court granted the Chapter 11 Trustee’s request and scheduled
  a status conference for May 31, 2018. Highland and HCLOF commenced the Highland
  Adversary (as defined below) the day before the commencement of the status conference.

          The Bankruptcy Court conducted the status conference on May 31, 2018 and, for
  reasons stated on the record, determined to, sua sponte, issue a temporary restraining order
  (the “First TRO”). The terms of the First TRO are reflected in the Temporary Restraining Order
  entered on June 6, 2018 [Docket No. 256]. The First TRO restrained and enjoined Highland,
  HCLOF and other parties, including additional parties related to Highland, from taking any action
  to effectuate the Optional Redemption requested by HCLOF or to otherwise liquidate the Acis
  CLOs. The Bankruptcy Court found in the First TRO that the Chapter 11 Trustee had made a
  substantial case that the threatened actions with respect to the requested Optional Redemption,
  if not enjoined, would violate the automatic stay of section 362 of the Bankruptcy Code.



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  Consequently, through the First TRO, the Bankruptcy Court enjoined parties from engaging in
  the very same activities that Highland and HCLOF allege in the Highland Adversary that they
  are entitled to engage in and that the Chapter 11 Trustee must engage in at their direction.

         2.     Adversary Proceeding Filed by the Chapter 11 Trustee against Highland, HCLOF
                and Others

          The First TRO was set to expire by its terms on June 15, 2018, unless further extended.
  The Chapter 11 Trustee moved to extend the First TRO and a hearing was set for June 14,
  2018. On June 13, 2018, HCLOF advised the Chapter 11 Trustee that it would withdraw the
  notices requesting the Optional Redemption. Consequently, the Chapter 11 Trustee advised
  the Bankruptcy Court that there was no need to go forward with the motion to extend the First
  TRO. On June 14, 2018, HCLOF’s counsel stated to the Bankruptcy Court that HCLOF had in
  fact withdrawn the notices requesting the Optional Redemption and reserved the right to reissue
  notices at some future date.

          The next day, on June 15, 2018 – the day on which the First TRO expired and the day
  after the hearing was originally to have taken place to extend the First TRO – HCLOF advised
  the Chapter 11 Trustee that it was directing that an Optional Redemption be effectuated on July
  30, 2018. HCLOF did not seek relief from the automatic stay from the Bankruptcy Court to take
  any such action.

          On June 21, 2018, the Chapter 11 Trustee filed his Verified Original Complaint and
  Application for Temporary Restraining Order and Preliminary Injunction against Highland,
  HCLOF and other parties, commencing Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
  Adversary”). In the Trustee’s Adversary, the Chapter 11 Trustee seeks, inter alia, injunctive
  relief enjoining the defendants from taking any action in furtherance of the requested Optional
  Redemption. The Chapter 11 Trustee also asserts claims for violation of the automatic stay and
  seeks declaratory relief.

          Upon commencing the Trustee’s Adversary, the Chapter 11 Trustee filed his Motion for
  an Ex Parte Temporary Restraining Order or, in the Alternative, an Emergency Hearing on the
  Application for Temporary Restraining Order (the “Ex Parte Motion”). On June 21, 2018, the Ex
  Parte Motion was granted and the Bankruptcy Court entered an Ex Parte Restraining Order (the
  “Second TRO”) in the Trustee’s Adversary. The Second TRO restrained and enjoined Highland,
  HCLOF and other parties, including additional parties related to Highland, from taking any action
  to effectuate the Optional Redemption requested by HCLOF or to otherwise liquidate the Acis
  CLOs. The Bankruptcy Court found in the Second TRO that the Chapter 11 Trustee had shown
  a substantial likelihood of success on the merits of a claim regarding (a) violation of the
  automatic stay, (b) failure by the defendants to comply with legal requirements of implementing
  an Optional Redemption, (c) failure to obtain authority from the Bankruptcy Court under section
  363 of the Bankruptcy Code to effectuate and optional redemption, and (d) confirmation of an
  effective plan of reorganization. The Second TRO was set to expire by its terms on July 5, 2018
  but was extended by agreement until July 9, 2018.

          A hearing was held on July 6, 2018 in the Trustee’s Adversary at which the Chapter 11
  Trustee sought entry of a preliminary injunction against the defendants. On July 10, 2018, the
  Court entered a Preliminary Injunction Order [Docket No. 21 in Adversary No. 18-03212-sgj]
  which granted the Chapter 11 Trustee a preliminary injunction enjoining HCLOF, Highland and
  other “Restrained Parties” from: (i) taking any action in furtherance of an Optional Redemption
  or any other attempts to liquidate the Acis CLOs, (ii) trading any collateral of the Acis CLOs


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  without the express written authorization of the Chapter 11 Trustee, and (iii) sending any notice
  to the holders of the Acis CLOs in connection with the effectuation or any Optional Redemption,
  call or other liquidation of the Acis CLOs.

         3.      Adversary Proceeding Filed by Highland and HCLOF against the Chapter 11
                 Trustee

         On May 30, 2018, Highland and HCLOF filed their Original Complaint and Request for
  Preliminary Injunction of Highland CLO Funding, Ltd and Highland Capital Management Against
  Chapter 11 Trustee of Acis Capital Management, L.P. and Acis Capital Management GP, LLC in
  the Bankruptcy Court commencing Adversary Proceeding No. 18-03078-sgj (the “Highland
  Adversary”). Prior to commencing the Highland Adversary, HCLOF sent notices directing Acis
  LP to affect an Optional Redemption with respect to the Acis CLOs. An Optional Redemption
  would require Acis LP to direct the sale of the Collateral Obligations (as defined in the
  Indentures), windup the Acis CLOs and, consequently, liquidate Acis LP’s most valuable Asset
  – the PMAs. The Chapter 11 Trustee analyzed such notices and determined that there were
  various defects and other problems and impediments with the notices and performing the
  requested Optional Redemption.

          In the Highland Adversary, HCLOF asserts claims against the Chapter 11 Trustee for
  alleged breaches of the PMAs based on the Chapter 11 Trustee declining to effectuate the
  Optional Redemption requested by HCLOF and seeks the remedy of specific performance. In
  addition, Highland and HCLOF seek declaratory relief, including a declaratory judgment that the
  Chapter 11 Trustee has a duty to effectuate the requested Optional Redemption. Highland and
  HCLOF further seek to enjoin Acis LP from interfering with the Optional Redemption or
  continuing his efforts relating to the Transaction described in the Oaktree Motion. The Chapter
  11 Trustee opposes all relief sought by the plaintiffs in the Highland Adversary.

          On June 22, 2018, HCLOF filed a Motion for Preliminary Injunctive Relief [Docket No. 18
  in Adv. No. 18-03078-sgj] based on certain of the claims for injunctive relief in the Highland
  Adversary described above. On July 6, 2018, the Court held a hearing on HCLOF’s request for
  injunctive relief. On July 10, 2018, the Court entered an Order Denying Motion for Preliminary
  Injunctive Relief [Docket No. 31 in Adv. No. 18-03078-sgj], in which the Court denied HCLOF’s
  request for preliminary injunctive relief.

          On July 2, 2018, the Chapter 11 Trustee filed his Defendant’s Answer, Affirmative
  Defenses, Counterclaims, and Third Party Claims [Docket No. 23 in Adv. No. 18-03078-sgj] in
  the Highland Adversary in which the Chapter 11 Trustee, inter alia, asserts causes of action
  under both the Bankruptcy Code and Texas Uniform Fraudulent Transfer Act to avoid and
  recover prepetition fraudulent transfers of various assets of the Debtors to affiliates of Highland,
  including Acis LP’s ownership interest in HCLOF (formerly known as Acis Loan Funding, Ltd.
  “ALF”), Acis LP’s rights under a portfolio management agreement between Acis LP and ALF,
  and a $9.5 million promissory note by Highland in favor of Acis LP, as well as a claim for civil
  conspiracy.

         On the date of commencement of the Highland Adversary, the plaintiffs therein filed a
  Motion to Withdrawn the Reference to the District Court and Memorandum of Law in Support
  seeking the United States District Court for the Northern District of Texas to withdraw the
  reference to the Bankruptcy Court with respect to the Highland Adversary. The Chapter 11
  Trustee opposed such motion. The Bankruptcy Court considered such motion at a hearing held
  on July 6, 2018. The Bankruptcy Court advised the parties that it was going to recommend


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  denial of the motion to withdraw the reference to the district court; however, the Bankruptcy
  Court advised that it did not anticipate submitting a report and recommendation to the district
  court until after the counter-defendants had filed their answers to the Chapter 11 Trustee’s
  counterclaims.

         On July 23, 2018, Highland filed a Motion to Dismiss Counterclaims or, Alternatively, for
  a More Definite Statement [Adv. Docket No. 42] and HCLOF filed a Motion to Dismiss [Adv.
  Docket No. 53]. on August 10, 2018, Highland and HCLOF filed a Motion for Leave to Amend
  Adversary Complaint and Brief in Support [Adv. Docket No. 51]. On August 13, 2018, the
  Chapter 11 Trustee filed responses to the Highland and HCLOF motions to dismiss [Adv.
  Docket Nos. 53 and 54]. On August 31, 2018, the Chapter 11 Trustee filed an objection to the
  motion for leave to amend [Adv. Docket No. 58]. A hearing on the motions to dismiss and
  motion for leave to amend has been scheduled for October 9, 2018.

          In addition to the counterclaims currently asserted by the Chapter 11 Trustee against
  Highland and HCLOF in the Highland Adversary, the Chapter 11 Trustee believes the Estate
  possesses and anticipates that either the Chapter 11 Trustee or the Reorganized Debtor may
  assert additional claims against Highland, certain Highland affiliates, and their respective
  principals including but not limited to the Estate Claims reflected on Exhibit A to the Plan.

  B.     Additional and Potential Litigation by the Debtors

         Except as expressly provided in the Plan, nothing contained in the Disclosure Statement,
  the Plan or the Confirmation Order shall waive, relinquish, release or impair the Chapter 11
  Trustee’s or the Reorganized Debtor’s right to object to any claim.

           Except as expressly set forth in the Plan, all causes of action, claims, counterclaims,
  defenses and rights of offset or recoupment (including but not limited to all Estate Claims,
  Estate Defenses and Avoidance Actions) belonging to the Debtors (collectively, the “Retained
  Causes of Action”) shall, upon the occurrence of the Effective Date, be reserved, retained and
  preserved for, and transferred to, received by and vested in, the Reorganized Debtor for the
  benefit of the Debtors and the Debtors’ estates. Without limitation, the Retained Causes of
  Action include the claims and causes of action described on Exhibit A to the Plan. Except as
  expressly set forth in the Plan, the rights of the Reorganized Debtor to commence, prosecute or
  settle the Retained Causes of Action shall be retained, reserved, and preserved notwithstanding
  the occurrence of the Effective Date. No Person may rely on the absence of a specific
  reference in the Plan or the Disclosure Statement to any cause of action against them as
  any indication that the Debtors or the Reorganized Debtor will not pursue any and all
  available causes of action (including all Estate Claims, Estate Defenses and Avoidance
  Actions) against them. The Debtors and their Estate expressly reserve all rights to
  prosecute any and all of the Retained Causes of Action (including all Estate Claims,
  Estate Defenses and Avoidance Actions) against any Person, except as otherwise
  provided in the Plan. Unless any causes of action against a Person are expressly waived,
  relinquished, exculpated, released, compromised or settled in the Plan or a Final Order, the
  Debtors expressly reserve all causes of action (including all Estate Claims, Estate Defenses and
  Avoidance Actions) for later adjudication, and, therefore, no preclusion doctrine, including
  without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim
  preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to such causes of
  action upon or after the confirmation or consummation of the Plan. Without limiting the
  foregoing, parties are advised that the Debtors’ Estate specifically retains, reserves and
  preserves the Estate Claims described in Exhibit A to the Plan.


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                                            VII. THE PLAN

        THE FOLLOWING IS A SUMMARY OF THE MATTERS CONTEMPLATED TO OCCUR
  EITHER PURSUANT TO OR IN CONNECTION WITH THE CONSUMMATION OF THE PLAN.
  THIS SUMMARY HIGHLIGHTS THE SUBSTANTIVE PROVISIONS OF THE PLAN AND IS
  NOT, NOR IS IT INTENDED TO BE, A COMPLETE DESCRIPTION OR A SUBSTITUTE FOR
  A FULL AND COMPLETE REVIEW OF THE PLAN. THE FOLLOWING SUMMARY IS
  COMPLETELY QUALIFIED BY THE TERMS OF THE PLAN. IN THE EVENT OF ANY
  CONFLICT BETWEEN THE FOLLOWING SUMMARY AND THE PLAN, THE PLAN WILL
  CONTROL.

  A.     Classification and Treatment Summary

          The Plan classifies the various Claims against and Interests in the Debtors. These
  Classes take into account the different nature and priority of Claims against and Interests in the
  Debtors. In addition, in accordance with section 1123(a)(1) of the Bankruptcy Code,
  Administrative Expense Claims, Priority Non-Tax Claims, and Priority Tax Claims are not
  classified for purposes of voting under the Plan. Rather, all such Claims are treated separately
  as unclassified Claims.

          Class 1 is not impaired under the Plan. Classes 2 through 5 are Impaired under the
  Plan. If a controversy arises as to the classification of any Claim or Interest, or as to whether
  any Class of Claims or Interests is Impaired under the Plan, the Bankruptcy Court shall
  determine such controversy as a part of the confirmation process.

         1.      Unclassified Claims Against the Debtors

           Unclassified Claims against the Debtors consist of Administrative Expense Claims,
  Priority Non-Tax Claims, and Priority Tax Claims. An Administrative Expense Claim is a Claim
  based on any cost or expense of administration of the Chapter 11 Cases allowed under
  subsections 503(b) and 507(a)(2) of the Bankruptcy Code, including, without limitation, any
  actual and necessary expenses of preserving the Debtors’ Estate, any actual and necessary
  expenses of operating the Debtors’ businesses, any indebtedness or obligations incurred or
  assumed by the Estate including, without limitation, for the acquisition or lease of property or an
  interest in property or the rendition of services, all compensation or reimbursement of expenses
  to the extent allowed by the Bankruptcy Court under section 330 or 503 of the Bankruptcy Code,
  and any fees or charges assessed against the Estate of the Debtors under section 1930 of title
  28 of the United States Code.

          Administrative Expense Claims include both ordinary post-petition expenses and Claims
  attributable to Estate Professionals. Claims incurred in the ordinary course of the Debtors’
  affairs or business will be paid in the ordinary course of business. Fees and expenses owed to
  Estate Professionals are payable upon the Allowance of an appropriate fee application.

           A Priority Non-Tax Claim is a Claim, other than a Claim for an Administrative Expense,
  that is entitled to priority under section 507(a) of the Bankruptcy Code. A Priority Tax Claim is a
  Claim by a Governmental Unit of the kind specified in subsection 507(a)(8) of the Bankruptcy
  Code.




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                 a.     Treatment of Administrative Expense Claims

           The Reorganized Debtor shall pay, in accordance with the ordinary business terms
  applicable to each such expense or cost, the reasonable and ordinary expenses incurred in
  operating the Debtors’ businesses or administering the Estate before the Effective Date
  (“Ordinary Course Claims”). The remaining provisions of section 3.01 of the Plan shall not apply
  to the Ordinary Course Claims, except that if there is a dispute relating to any such Ordinary
  Course Claim, the Reorganized Debtor may move the Bankruptcy Court to apply the provisions
  of Article III of the Plan relating to Contested Claims and require the holder of the Contested
  Ordinary Course Claim to assert such Claim through the Chapter 11 Cases.

         Each holder of an Allowed Administrative Expense (other than Ordinary Course Claims
  and Administrative Expense Claims by Estate Professionals), shall receive (i) the amount of
  such holder's Allowed Administrative Expense in one Cash payment on the later of the Effective
  Date or the tenth (10th) Business Day after such Administrative Expense becomes an Allowed
  Administrative Expense, or (ii) such other treatment as may be agreed to in writing by such
  Administrative Expense Creditor and the Reorganized Debtor, or as otherwise ordered by the
  Bankruptcy Court.

          Unless the Bankruptcy Court orders to the contrary or the Reorganized Debtor agrees to
  the contrary in writing, the holder of a Claim for an Administrative Expense, other than such a
  Claim by an Estate Professional, an Ordinary Course Claim, or an Administrative Expense
  which is already Allowed, shall file with the Bankruptcy Court and serve upon the Reorganized
  Debtor and its counsel a written notice of such Claim for an Administrative Expense within thirty
  (30) days after the Effective Date. This deadline is the “Administrative Bar Date.” Such notice
  shall include at a minimum: (i) the name, address, telephone number and fax number (if
  applicable) or email address of the holder of such Claim, (ii) the amount of such Claim, and (iii)
  the basis of such Claim. Failure to timely and properly file and serve such notice by the
  Administrative Bar Date shall result in such Claim for an Administrative Expense being
  forever barred and discharged and the holder thereof shall be barred from receiving any
  Distribution from the Reorganized Debtor on account of such Claim for an Administrative
  Expense.

         A Claim for an Administrative Expense, for which a proper notice was filed and served
  under subsection 3.01(c) of the Plan, shall become an Allowed Administrative Expense if no
  Objection is filed within thirty (30) days of the filing and service of such notice. If a timely
  Objection is filed, the Claim shall become an Allowed Administrative Expense only to the extent
  allowed by a Final Order.

           The procedures contained in subsections 3.01(a), (c) and (d) of the Plan shall not apply
  to Administrative Expense Claims asserted by Estate Professionals, who shall each file and
  submit an appropriate final fee application to the Bankruptcy Court no later than sixty (60) days
  after the Effective Date. A Claim for an Administrative Expense by an Estate Professional in
  respect of which a final fee application has been properly filed and served shall become an
  Allowed Administrative Expense only to the extent Allowed by order of the Bankruptcy Court
  and, if so Allowed, shall be paid in accordance with subsection 3.01(b) of the Plan. Professional
  fees and expenses to any Estate Professional incurred on or after the Effective Date may be
  paid by the Reorganized Debtor without necessity of application to or order by the Bankruptcy
  Court.

         If the Reorganized Debtor asserts any Estate Claims as counterclaims or defenses to a


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  Claim for Administrative Expense, the Administrative Expense Claim shall be determined
  through an adversary proceeding before the Bankruptcy Court. The Bankruptcy Court shall
  have exclusive jurisdiction to adjudicate and Allow all Claims for any Administrative Expense.

                 b.      Treatment of Priority Non-Tax Claims

           Each holder of an Allowed Priority Non-Tax Claim shall receive (i) the amount of such
  holder's Allowed Priority Non-Tax Payment in one Cash payment on the later of the Effective
  Date or the tenth (10th) Business Day after such Priority Non-Tax Claim becomes an Allowed
  Priority Non-Tax Claim and a determination has been made that such Allowed Priority Non-Tax
  Claim is not subject to equitable subordination under section 510(c) of the Bankruptcy Code, or
  (ii) such other treatment as may be agreed to in writing by such Administrative Expense Creditor
  and the Reorganized Debtor, or as otherwise ordered by the Bankruptcy Court.

                 c.      Treatment of Priority Tax Claims

           Each holder of an Allowed Priority Tax Claim shall receive (a) one Cash payment in an
  amount equal to the principal amount of such Allowed Priority Tax Claim, plus interest at the
  rate and in the manner prescribed by applicable state law from the later of the Petition Date or
  the first day after the last day on which such Priority Tax Claim may be paid without penalty, no
  later than sixty (60) days after each such Claim becomes an Allowed Claim, or (b) such other
  treatment as may be agreed to in writing by the holder of the Priority Tax Claim and the
  Reorganized Debtor.

                 d.      Treatment of U.S. Trustee Fees

         The Reorganized Debtor shall pay the U.S. Trustee’s quarterly fees incurred pursuant to
  28 U.S.C. § 1930(a)(6) which are due as of the Confirmation Date in full on the Effective Date or
  as soon thereafter as is practicable. After the Confirmation Date, the Reorganized Debtor shall
  continue to pay quarterly fees as they accrue until a final decree is entered and the Chapter 11
  Cases are closed. The Reorganized Debtor shall file with the Bankruptcy Court and serve on
  the U.S. Trustee quarterly financial reports for each quarter, or portion thereof, that the Chapter
  11 Cases remain open.

         2.      Classified Claims and Interests

         Classified Claims and Interests shall receive the treatment as described in Article IV of
  the Plan, which treatment is summarized in the table set forth in Article I Section B of this
  Disclosure Statement above.

  B.     Acceptance or Rejection of the Plan

          Creditors in Classes 2 through 4 are entitled to vote and shall vote separately to accept or
  reject the Plan. Any unimpaired Class shall not be entitled to vote to accept or reject the Plan.
  Any unimpaired Class is deemed to have accepted the Plan under section 1126(f) of the
  Bankruptcy Code. A Class of Claims shall have accepted the Plan if it is accepted by at least
  two-thirds (2/3) in amount and more than one-half (1/2) in number of the Allowed Claims in such
  Class that have voted on the Plan. Section 5.03 of the Plan shall constitute the request by the
  Plan proponents, pursuant to section 1129(b) of the Bankruptcy Code, that the Bankruptcy Court
  confirm the Plan notwithstanding the fact that the requirements of section 1129(a)(8) of the
  Bankruptcy Code have not been met.



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  C.     Means of Implementing the Plan

         1.      Vesting of Assets

          As of the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code,
  all Assets, including the PMAs, all Cash, Estate Accounts Receivable, Estate Insurance, Estate
  Claims and Estate Defenses, shall be transferred from the Estate to, and vested in, the
  Reorganized Debtor, free and clear of all rights, title, interests, claims, liens, encumbrances and
  charges, except as expressly set forth in the Plan. On and after the Effective Date, the
  Reorganized Debtor may operate its business and may use, acquire or dispose of property
  without supervision or approval by the Bankruptcy Court and free of any restrictions of the
  Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the
  Plan or the Confirmation Order. Without limiting the foregoing, the Reorganized Debtor may
  pay the charges that it incurs on or after the Effective Date for all fees, disbursements,
  expenses or related support services of Professionals (including fees relating to the preparation
  of professional fee applications) without application to, or approval of, the Bankruptcy Court.

         2.      Continued Existence of the Debtors.

           The Debtors shall continue to exist after the Effective Date, with all the powers available
  to such legal entities, in accordance with applicable law and pursuant to their constituent
  documents. On or after the Effective Date, each Reorganized Debtor may, within its sole and
  exclusive discretion, take such action as permitted by applicable law and its constituent
  documents as it determines is reasonable and appropriate. In exchange for a one million dollar
  ($1,000,000.00) reduction in the amount of the Terry Partially Secured Claim, Terry shall
  receive one hundred percent (100%) of the equity interests in the Reorganized Debtor as of the
  Effective Date. The Chapter 11 Trustee anticipates that Terry will serve as an officer and/or
  director of the Reorganized Debtor and believes that such appointment will be consistent with
  the interests of creditors, equity security holders, and public policy. Terry’s former affiliation with
  the Debtors is described in Article V, supra, and aside from the fact that Brigade has agreed to
  provide shared services and sub-advisory services to the Reorganized Debtor, of which Terry
  will be the sole shareholder, Terry has no affiliation with Brigade.

         3.      Assumption of Obligations to Make Distributions

          The Reorganized Debtor shall be deemed to have assumed the obligations to make all
  Distributions pursuant to the Plan.

         4.      Actions by the Debtors and the Reorganized Debtor to Implement Plan

          The entry of the Confirmation Order shall constitute all necessary authorization for the
  Debtors and the Reorganized Debtor to take or cause to be taken all actions necessary or
  appropriate to consummate, implement or perform all provisions of the Plan on and after the
  Effective Date, and all such actions taken or caused to be taken shall be deemed to have been
  authorized and approved by the Bankruptcy Court without further approval, act or action under
  any applicable law, order, rule or regulation, including without limitation, (a) all transfers of
  Assets, including to the Reorganized Debtor, that are to occur pursuant to the Plan; (b) the
  cancellation of Interests and issuance of 100% of the equity interests in the Reorganized Debtor
  to Terry; (c) the performance of the terms of the Plan and the making of all Distributions
  required under the Plan; and (d) subject to the terms of the Plan, entering into any and all
  transactions, contracts, or arrangements permitted by applicable law, order, rule or regulation.


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         5.      Continued Portfolio Management by the Reorganized Debtor

          The PMAs and any other Executory Contracts and Unexpired Leases identified on
  Exhibit B to the Plan or in the Confirmation Order shall be assumed and the Reorganized
  Debtor shall, from an after the Effective Date, serve as the portfolio manager with respect to the
  Acis CLOs and the Other Acis-Managed Funds (and any reset Acis CLOs). Consistent with
  Section 15 of the PMAs, the Reorganized Debtor may only be removed as portfolio manager
  under the assumed PMAs for cause as set forth in the PMAs.

         6.      Termination of Highland as Shared Service Provider and Sub-Advisor

          The Bankruptcy Court authorized the Chapter 11 Trustee to terminate the Shared
  Services Agreement and Sub-Advisory Agreement and engage Brigade to perform the services
  previously provided by Highland. The Shared Services Agreement and Sub-Advisory
  Agreement were terminated by the Chapter 11 Trustee on or about August 1, 2018, and the
  services previously performed by Highland were transitioned to Brigade on an interim basis.
  Brigade has agreed to continue to provide shared services and sub-advisory services to the
  Reorganized Debtor with respect to the Acis CLOs and the Other Acis-Managed Funds (and
  any reset Acis CLOs) subject to a minimum two (2) year term unless otherwise agreed as
  between the Reorganized Debtor and Brigade. Consequently, any agreement between the
  Reorganized Debtor and Brigade shall provide that Brigade cannot be removed without cause
  for a period of two (2) years except as may be otherwise agreed as between the Reorganized
  Debtor and Brigade.

         7.      Reset of the Acis CLOs

          HCLOF has maintained that it desires to reset the Acis CLOs. The Reorganized Debtor,
  with the assistance of Brigade as its shared services provider and sub-advisor, is prepared to
  promptly seek to perform such reset transactions as set forth in section 6.08 of the Plan.
  HCLOF shall have the right to submit one or more notice(s) of Optional Redemption solely for
  the purpose of effectuating a reset of one or more of the Acis CLOs under section 6.08 of the
  Plan utilizing Refinancing Proceeds (a “Reset Optional Redemption”) for each of the Acis CLOs.
  If HCLOF requests a Reset Optional Redemption of an Acis CLO, the Reorganized Debtor, with
  the assistance of Brigade, shall thereafter seek to reset the Acis CLOs, either consecutively or
  simultaneously, in its good faith business judgment and consistent with then-prevailing market
  terms; provided, however, (i) the Management Fees to be charged by the Reorganized Debtor
  to any reset Acis CLOs shall remain the same going forward and shall not be increased, and no
  transaction fee shall be charged by the Reorganized Debtor (other than, for avoidance of doubt,
  transaction expense reimbursements consistent with market standards), and (ii) HCLOF shall
  be granted a right of first refusal for any funding of debt or equity required to effectuate a reset
  of each of the Acis CLOs. The terms of the Indentures shall control any Reset Optional
  Redemption. If HCLOF elects not to reset one or more of the Acis CLOs, then the Acis CLOs
  will continue to be managed in accordance with market standards.

         8.      Post-Effective Date Service List

          Pleadings filed by any party-in-interest with the Bankruptcy Court after the Effective Date
  shall be served on the following Persons (collectively the “Service List”): (a) any Person directly
  affected by the relief sought in the pleading, (b) the U.S. Trustee, (c) parties which have filed a
  Notice of Appearance in the Chapter 11 Cases, and (d) the Reorganized Debtor.




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         10.     Section 505 Powers

          All rights and powers pursuant to section 505 of the Bankruptcy Code shall be reserved
  to the Estate and shall be transferred to, and vested in, the Reorganized Debtor as of the
  Effective Date.

         11.     Section 510(c) Powers

          All rights and powers to seek or exercise any right or remedy of equitable subordination
  shall be reserved to the Estate and shall be transferred to, and vested in, the Reorganized
  Debtor as of the Effective Date as an Estate Defense.

         12.     Section 506(c) Powers

        The Estate hereby reserves all rights and powers pursuant to section 506(c) of the
  Bankruptcy Code, and all such rights shall be specifically transferred to, and vested in, the
  Reorganized Debtor.

         13.     Plan Injunction

         The Reorganized Debtor shall each have full power, standing and authority to enforce
  the Plan Injunction against any Person, either through an action before the Bankruptcy Court or
  any other tribunal having appropriate jurisdiction.

         14.     Cancellation of Interests

          Except as otherwise specifically provided in the Plan, upon the Effective Date of the
  Plan: (a) all Interests in the Debtors shall be cancelled; and (b) all obligations or debts of, or
  Claims against, the Debtors on account of, or based upon, the Interests shall be deemed as
  cancelled, released and discharged, including all obligations or duties by the Debtors relating to
  the Interests in any of their respective formation documents, including Acis LP’s limited
  partnership agreement and bylaws, Acis GP’s articles of formation and company agreement, or
  any similar formation or governing documents.

  D.     Provisions Governing Distribution

         1.      Distributions from Reorganized Debtor

         The Reorganized Debtor shall be responsible for making Distributions to holders of
  Allowed Claims only to the extent the Plan requires Distributions to be made by the
  Reorganized Debtor. The priority of Distributions from the Reorganized Debtor shall be in
  accordance with the terms of the Plan and the Confirmation Order as follows:

         (a)     First, to satisfy Allowed Class 1 Secured Tax Claims;

          (b)     Second, to satisfy Allowed Administrative Expenses and Allowed Priority Claims
  in accordance with Article III of the Plan, including all U.S. Trustee quarterly fees due and owing
  as of the Effective Date;

        (c)    Third, to make Distributions to holders of any Allowed Class 3 General
  Unsecured Claims and Allowed Subclass 4A Claims; and



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         (e)     Fourth, to make Distributions to holders of any Allowed Subclass 4B Claims

         2.      Reserves

          The Reorganized Debtor may estimate, create and set aside Reserves as may be
  necessary or appropriate, including without limitation, Reserves on account of Contested
  Claims. The Reorganized Debtor may, but shall not be required to, move the Bankruptcy Court
  to approve: (a) the amount of, and terms on which, such Reserves shall be held, maintained
  and disbursed, or (b) the amount and timing of any proposed interim Distribution to holders of
  Allowed Class 3 Claims and Allowed Subclass 4A Claims. The Reorganized Debtor may elect
  to seek approval by the Bankruptcy Court for the creation and amount of any Reserves or
  regarding the amount or timing of any Distribution on account of any Allowed Claims. Except as
  otherwise expressly provided in the Plan, the Reorganized Debtor, in the exercise of its good
  faith business judgment, may transfer funds out of any of the Reserves as necessary or
  appropriate. However, the Reorganized Debtor shall not be required to create separate
  accounts for such Reserves which may be created and memorialized by entries or other
  accounting methodologies, which may be revised from time-to-time, to enable the Reorganized
  Debtor to determine the amount of Cash available for Distributions under the Plan. Subject to
  any specific deadlines set forth in the Plan, the Reorganized Debtor, shall determine, from time-
  to-time, in the exercise of the Reorganized Debtor’s good faith business judgment: (x) the
  amount of Cash available for Distribution, (y) the timing of any Distributions, and (z) the amount
  and creation of any Reserves for Contested Claims. The Reorganized Debtor shall not be
  entitled to reserve for, and section 7.02 of the Plan does not apply to, Distributions to holders of
  Allowed Subclass 4B Claims.

         3.      Prosecution and Settlement of Estate Claims

          Upon the Effective Date, the Reorganized Debtor (a) shall automatically be substituted in
  place of the Chapter 11 Trustee as the party representing the Estate in respect of any pending
  lawsuit, motion or other pleading pending before the Bankruptcy Court or any other tribunal, and
  (b) shall be authorized to file a notice on the docket of each adversary proceeding or the
  Chapter 11 Cases regarding such substitution. The Reorganized Debtor shall have exclusive
  standing and authority to prosecute, settle or compromise Estate Claims for the benefit of the
  Estate in the manner set forth in the Plan.

         4.      Plan Injunction

          The Reorganized Debtor shall be entitled to the full protection and benefit of the Plan
  Injunction and shall have standing to bring any action or proceeding necessary to enforce the
  Plan Injunction against any Person.

         5.      Relief from the Bankruptcy Court

          The Reorganized Debtor shall be authorized to seek relief from the Bankruptcy Court or
  any other tribunal having jurisdiction as to any matter relating or pertaining to the
  consummation, administration or performance of the Plan, including without limitation seeking
  any relief from the Bankruptcy Court which the Reorganized Debtor deems necessary or
  appropriate to the performance of its duties or the administration of the Plan.




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  E.     Source of Distributions

         1.      Source of Distributions

         All Distributions under the Plan shall be made by the Reorganized Debtor in the manner
  provided in the Plan and the Confirmation Order.

         2.      Timing and Amount of Distributions

           No Distribution shall be made on account of any Claim until such Claim is Allowed,
  except as otherwise set forth in the Plan or otherwise ordered by the Bankruptcy Court. No
  Distribution shall be made on account of any Contested Claim until such Claim is Allowed.
  Except as expressly set forth in the Plan or in the Confirmation Order, the Reorganized Debtor
  shall, in the exercise of its good faith business judgment, determine the timing and amount of all
  Distributions which are required to be made under the Plan, consistent with the goal of making
  such Distributions as expeditiously as reasonably possible. The Reorganized Debtor may, but
  shall not be required to, seek approval of, or any other appropriate relief from, the Bankruptcy
  Court with respect to any of such Distributions. Any Unclaimed Property may be paid into the
  registry of the Bankruptcy Court or otherwise distributed in accordance with the orders of the
  Bankruptcy Court.

         3.      Means of Cash Payment

          Cash payments pursuant to the Plan shall be made by check drawn on, or by wire
  transfer from, a domestic bank, or by other means agreed to by the payor and payee.

         4.      Record Date for Distributions

          As of the close of business on the Effective Date (the “Distribution Record Date”), the
  register for Claims will be closed, and there shall be no further changes in the holders of record
  of any Claims. Although there is no prohibition against the transfer of any Claim by any
  Creditor, the Reorganized Debtor shall have no obligation to recognize any transfer of a Claim
  occurring after the Distribution Record Date, and the Reorganized Debtor shall instead be
  authorized and entitled to recognize and deal for all purposes under the Plan, including for the
  purpose of making all Distributions, with only those holders of Claims so reflected as of the
  Distribution Record Date. However, the Reorganized Debtor may, in the exercise of its good
  faith business judgment, agree to recognize transfers of Claims after the Distribution Record
  Date, but shall have no obligation to do so.

         5.      Delivery of Distributions

          All Distributions, deliveries and payments to the holders of any Allowed Claims shall be
  made to the addresses set forth on the respective proofs of Claim filed in the Chapter 11 Cases
  by such Claimants or, if the Distribution is to be made based on a Claim reflected as Allowed in
  the Schedules, at the address reflected in the Schedules. Any such Distribution, delivery or
  payment shall be deemed as made for all purposes relating to the Plan when deposited in the
  United States Mail, postage prepaid, addressed as required in the preceding sentence. If any
  Distribution is returned as undeliverable, no further Distribution shall be made on account of
  such Allowed Claim unless and until the Reorganized Debtor is notified of such holder's then
  current address, at which time all missed Distributions shall be made to the holder of such
  Allowed Claim. However, all notices to the Reorganized Debtor reflecting new or updated



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  addresses for undeliverable Distributions shall be made on or before one hundred twenty (120)
  days after the date of the attempted Distribution or such longer period as the Reorganized
  Debtor may fix in the exercise of its sole discretion. After such date, all Unclaimed Property
  shall revert to the Reorganized Debtor and the Claim of any holder with respect to such property
  shall be discharged and forever barred.

         6.      W-9 Forms.

          Each holder of an Allowed Claim must provide a W-9 form or other such necessary
  information to comply with any withholding requirements of any Governmental Unit (collectively
  the “W-9 Form”) to the Reorganized Debtor prior to receiving any Distribution from the
  Reorganized Debtor. In the event a holder of an Allowed Claim does not provide a W-9 Form to
  the Reorganized Debtor within thirty (30) days of the Effective Date, the Reorganized Debtor
  shall, at an appropriate time, issue a written request to each holder of an Allowed Claim that has
  not previously provided a W-9 Form to the Reorganized Debtor. The request shall be in writing
  and shall be delivered to the last address known to the Debtors or Reorganized Debtor, as
  appropriate. The request shall conspicuously advise and disclose that failure to provide a W-9
  Form to the Reorganized Debtor within thirty (30) days shall result in a waiver of any right or
  rights to a Distribution from the Reorganized Debtor. In the event any holder of an Allowed
  Claim fails to provide the Reorganized Debtor with a W-9 Form within thirty (30) days after the
  date of written request described in section 8.06 of the Plan, then the holder of such Allowed
  Claim shall be deemed to have waived the right to receive any Distribution whatsoever from the
  Reorganized Debtor.

         7.      Time Bar to Cash Payments

          Checks issued in respect of Allowed Claims shall be null and void if not cashed within
  ninety (90) days of the date of issuance thereof. Requests for reissuance of any check shall be
  made directly to the issuer of the check by the holder of the Allowed Claim with respect to which
  such check originally was issued. Any Claim in respect of such a voided check shall be made
  on or before one hundred twenty (120) days after the date of issuance of such check or such
  longer period as the Reorganized Debtor may fix. After such date, all Claims in respect of void
  checks shall be discharged and forever barred.

         8.      Cure Period

          Except as otherwise set forth in the Plan, the failure by the Reorganized Debtor to timely
  perform any term, provision or covenant contained in the Plan, or to make any payment or
  Distribution required by the Plan to any Creditor, or the failure to make any payment or perform
  any covenant on any note, instrument or document issued pursuant to the Plan, shall not
  constitute an event of default unless and until the Reorganized Debtor has been given thirty (30)
  days written notice of such alleged default in the manner provided in the Plan, and provided an
  opportunity to cure such alleged default. Until the expiration of such thirty (30) day cure period,
  the Reorganized Debtor shall not be in default, and performance during such thirty (30) day cure
  period shall be deemed as timely for all purposes. Such written notice and passage of the thirty
  (30) day cure period shall constitute conditions precedent to declaring or claiming any default
  under the Plan or bringing any action or legal proceeding by any Person to enforce any right
  granted under the Plan.




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         9.      Pre-Payment of Claims

         Unless the Plan expressly prohibits or conditions the pre-payment of an Allowed Claim,
  the Reorganized Debtor may pre-pay any Allowed Claim in whole or in part at any time and may
  do so without penalty.

         10.     Distributions after Substantial Consummation

         All Distributions of any kind made to any Creditor after Substantial Consummation and
  any and all other actions taken under the Plan after Substantial Consummation shall not be
  subject to relief, reversal or modification by any court unless the implementation of the
  Confirmation Order is stayed by an order granted under Bankruptcy Rule 8005.

  F.     Retention of Estate Claims and Estate Defenses

         1.      Retention of Estate Claims

          Except as otherwise specifically provided in the Plan, pursuant to section 1123(b)(3) of
  the Bankruptcy Code, all Estate Claims shall be transferred to, and vested in, the Reorganized
  Debtor, both for purposes of seeking an affirmative recovery against any Person and for the
  purposes of offset, recoupment or defense against any Claim asserted against the Estate or
  Reorganized Debtor. All Estate Claims shall be deemed to have been transferred to, and vested
  in, the Reorganized Debtor as of the Effective Date based on the entry of the Confirmation Order.

          Without limiting the effectiveness or generality of the foregoing reservation, out of an
  abundance of caution, the Debtors and the Estate hereby specifically reserves, retains, and
  preserves the Estate Claims reflected in Exhibit A to the Plan. The provisions of Article IX of the
  Plan, as well as the descriptions and disclosures relating to the Estate Claims in the Disclosure
  Statement, are provided in the interest of providing maximum disclosure of the Estate Claims of
  which Debtors are presently aware and shall not act as a limitation on the potential Estate
  Claims that may exist. It is the specific intention of the Plan that all Avoidance Actions and all
  associated remedies, and any other Estate Claims, whether arising before or after the Petition
  Date, and whether arising under the Bankruptcy Code or applicable state or federal non-
  bankruptcy laws, shall all be reserved, retained and preserved under the Plan to be transferred
  to, and vested in, the Reorganized Debtor. All Estate Claims are reserved, retained and
  preserved both as causes of action for an affirmative recovery and as counterclaims and for the
  purposes of offset or recoupment against any Claims asserted against the Estate.

         2.      Retention of Estate Defenses

          Except as otherwise specifically provided in the Plan, pursuant to section 1123(b)(3) of
  the Bankruptcy Code, all Estate Defenses shall be transferred to, and vested in, the
  Reorganized Debtor. For this purpose, all Estate Defenses shall be reserved, retained and
  preserved by the Debtors and the Estate, including without limitation all such Estate Defenses
  available to the Estate pursuant to section 558 of the Bankruptcy Code, and shall be deemed as
  transferred to, and vested in, the Reorganized Debtor as of the Effective Date based on the
  entry of the Confirmation Order.

         3.      Assertion of Estate Claims and Estate Defenses

         The Reorganized Debtor shall have, and be vested with, the exclusive right, authority



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  and standing to assert all Estate Claims and Estate Defenses for the benefit of the Reorganized
  Debtor.

  G.      Procedures for Resolving and Treating Contested and Contingent Claims

          1.      Claims Listed in Schedules as Disputed

         Any General Unsecured Claim which is listed in the Schedules as unliquidated,
  contingent or disputed, and for which no proof of Claim has been timely filed, shall be
  considered as Disallowed as of the Effective Date without the necessity of any further action by
  the Reorganized Debtor or further order of the Bankruptcy Court other than the entry of the
  Confirmation Order.

          2.      Responsibility for Objecting to Claims and Settlement of Claims

         The Reorganized Debtor shall have the exclusive standing and authority to either object
  to any Claim or settle and compromise any Objection to any Claim, including as follows:

         (a)     From and after the Effective Date, the Reorganized Debtor shall have the sole and
  exclusive right to (i) file, settle, or litigate to Final Order any Objections to any Claims; and (ii) seek
  to subordinate any Claim. Any Contested Claim may be litigated to Final Order by the
  Reorganized Debtor; and

         (b)    From and after the Effective Date, the Reorganized Debtor shall have the sole and
  exclusive right to settle, compromise or otherwise resolve any Contested Claim without the
  necessity of any further notice or approval of the Bankruptcy Court. Bankruptcy Rule 9019 shall
  not apply to any settlement or compromise of a Contested Claim after the Effective Date.

          3.      Objection Deadline

           All Objections to Claims shall be served and filed by the Objection Deadline; provided,
  however, the Objection Deadline shall not apply to Claims which are not reflected in the claims
  register, including any alleged informal proofs of Claim. The Reorganized Debtor may seek to
  extend the Objection Deadline pursuant to a motion filed on or before the then applicable
  Objection Deadline with respect to any Claim. Any such motion may be granted without notice
  or a hearing. In the event that the Reorganized Debtor files such a motion and the Bankruptcy
  Court denies such motion, the Objection Deadline shall nevertheless be automatically extended
  to that date which is ten (10) Business Days after the date of entry of the Bankruptcy Court’s
  order denying such motion. Any proof of Claim other than one based upon a Rejection Claim
  and which is filed more than thirty (30) days after the Effective Date shall be of no force and
  effect and need not be objected to by the Reorganized Debtor. Nothing contained in the Plan
  shall limit the right of the Reorganized Debtor to object to Claims, if any, filed or amended after
  the Objection Deadline.

          4.      Response to Claim Objection

           If the Reorganized Debtor files an Objection to any Claim, then the holder of such Claim
  shall file a written response to such Objection within twenty-four (24) days after the filing and
  service of the Objection upon the holder of the Contested Claim. Each such Objection shall
  contain appropriate negative notice advising the Creditor whose Claim is subject to the Objection
  of the requirement and time period to file a response to such Objection and that, if no response


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  is timely filed to the Objection, the Bankruptcy Court may enter an order that such Claim is
  Disallowed without further notice or hearing. The negative notice language in the Objection shall
  satisfy the notice requirement in section 3007(a) of the Bankruptcy Rules, and the Reorganized
  Debtor shall not be required to send a separate notice of the Objection to the Creditor whose
  Claim is subject to the Objection.

         5.      Distributions on Account of Contested Claims

          If a Claim is Contested, then the dates for any Distributions as to such Contested Claim
  shall be determined based upon its date of Allowance, and thereafter Distribution shall be made
  on account of such Allowed Claim pursuant to the provisions of the Plan. No Distribution shall
  be made on account of a Contested Claim until Allowed. Until such time as a contingent Claim
  becomes fixed and absolute by a Final Order Allowing such Claim, such Claim shall be treated
  as a Contested Claim for purposes of estimates, allocations, and Distributions under the Plan.
  Any contingent right to contribution or reimbursement shall continue to be subject to section
  502(e) of the Bankruptcy Code.

         6.      No Waiver of Right to Object

         Except as expressly provided in the Plan, nothing contained in the Disclosure Statement,
  the Plan, or the Confirmation Order shall waive, relinquish, release or impair the Reorganized
  Debtor’s right to object to any Claim.

         7.      Offsets and Defenses

         The Reorganized Debtor shall be vested with and retain all Estate Claims and Estate
  Defenses, including without limitation all rights of offset or recoupment and all counterclaims
  against any Claimant holding a Claim. Assertion of counterclaims by the Reorganized Debtor
  against any Claim asserted against the Estate or Reorganized Debtor shall constitute “core”
  proceedings.

         8.      Claims Paid or Reduced Prior to Effective Date

          Notwithstanding the contents of the Schedules, Claims listed therein as undisputed,
  liquidated and not contingent shall be reduced by the amount, if any, that was paid by the
  Debtors prior to the Effective Date, including pursuant to orders of the Bankruptcy Court. To the
  extent such payments are not reflected in the Schedules, such Schedules will be deemed
  amended and reduced to reflect that such payments were made. Nothing in the Plan shall
  preclude the Debtors or the Reorganized Debtor from paying Claims that the Debtors were
  authorized to pay pursuant to any Final Order entered by the Bankruptcy Court prior to the
  Confirmation Date.

  H.     Executory Contracts and Unexpired Leases

         1.      Assumption and Rejection of Executory Contracts

           All Executory Contracts and Unexpired Leases of the Debtors shall be deemed rejected
  by the Debtors upon the Effective Date unless an Executory Contract or Unexpired Lease (a)
  has been previously assumed or rejected pursuant to an order of the Bankruptcy Court, (b) is
  identified in Exhibit B to the Plan and/or the Confirmation Order to be (i) assumed or (ii)
  assumed and assigned, or (c) is the subject of a motion to assume filed on or before the



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  Confirmation Date. The Plan shall constitute a motion to reject all Executory Contracts and
  Unexpired Leases except as stated in section 11.01 of the Plan. However, the Debtors may file
  a separate motion for the assumption or rejection of any Executory Contract or Unexpired Lease
  at any time through the Confirmation Date.

         2.      Cure Payments

          All payments that may be required by section 365(b)(1) of the Bankruptcy Code to
  satisfy any Cure Claim shall be made by the Reorganized Debtor as soon as reasonably
  practical after the Effective Date or upon such terms as may be otherwise agreed between the
  Reorganized Debtor and the holder of such Cure Claim; provided, however, in the event of a
  dispute regarding the amount of any Cure Claim, the cure of any other defaults, or any other
  matter pertaining to assumption or assignment of an Executory Contract, the Reorganized
  Debtor shall make such cure payments and cure such other defaults, all as may be required by
  section 365(b)(1) of the Bankruptcy Code, following the entry of a Final Order by the Bankruptcy
  Court resolving such dispute.

         3.      Bar to Rejection Claims

          Except as otherwise ordered by the Bankruptcy Court, any Rejection Claim based on the
  rejection of an Executory Contract or Unexpired Lease shall be forever barred and shall not be
  enforceable against the Reorganized Debtor or the Reorganized Debtor’s assets unless a proof
  of Claim is filed with the Bankruptcy Court and served upon the Reorganized Debtor and its
  counsel by the earlier of thirty (30) days after the Effective Date or thirty (30) days after entry of
  the Final Order approving rejection of such Executory Contract or Unexpired Lease.

         4.      Rejection Claims

          Any Rejection Claim not barred by section Error! Reference source not found. of the
  Plan shall be classified as a Class 3 General Unsecured Claim subject to the provisions of
  sections 502(b)(6) and 502(g) of the Bankruptcy Code; provided, however, that any Rejection
  Claim by a lessor based upon the rejection of an unexpired lease of real property, either prior to
  the Confirmation Date, upon the entry of the Confirmation Order, or upon the Effective Date,
  shall be limited in accordance with section 502(b)(6) of the Bankruptcy Code and state law
  mitigation requirements. All Rejection Claims shall be deemed as Contested Claims until
  Allowed. Nothing contained in the Plan shall be deemed an admission by the Debtors or the
  Reorganized Debtor that such rejection gives rise to or results in a Claim or shall be deemed a
  waiver by the Debtors or the Reorganized Debtor of any objections or defenses to any such
  Rejection Claim if asserted.

         5.      Reservation of Rights

         Nothing contained in the Plan shall constitute an admission by the Debtors that any
  contract or lease is in fact an Executory Contract or Unexpired Lease or that the Debtors or the
  Reorganized Debtor have any liability thereunder. If there is a dispute regarding whether a
  contract or lease is or was executory or unexpired at the time of assumption or rejection, the
  Reorganized Debtor shall have thirty (30) days following entry of a Final Order resolving such
  dispute to alter the treatment of such contract or lease.




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  I.     Substantive Consolidation of the Debtors

          Pursuant to the Confirmation Order, the Bankruptcy Court shall approve the substantive
  consolidation of the Debtors for the sole purposes of implementing the Plan, including for
  purposes of voting and Distributions to be made under the Plan. Pursuant to such order: (a) all
  assets and liabilities of the Debtors will be deemed merged; (b) all guarantees by one Debtor of
  the obligations of the other Debtor will be deemed eliminated so that any Claim against any
  Debtor and any guarantee thereof executed by the other Debtor and any joint or several liability
  of the Debtors will be deemed to be one obligation of the consolidated Debtors; and (c) each
  and every Claim filed or to be filed in the Chapter 11 Case of either Debtor will be deemed filed
  against the consolidated Debtors and will be deemed one Claim against and a single obligation
  of the consolidated Debtors.

  J.     Conditions Precedent to Confirmation and Effectiveness of Plan

         1.      Conditions to Confirmation and Effectiveness of Plan

          The Plan shall not become effective until the following conditions shall have been
  satisfied and which may occur concurrently with the Effective Date: (a) the Confirmation Order
  shall have been entered, in form and substance acceptable to the Chapter 11 Trustee; (b) the
  necessary Plan Documents have been executed and delivered, and (c) all other conditions
  specified by the Chapter 11 Trustee have been satisfied. Any or all of the above conditions
  other than (a) may be waived at any time by the Chapter 11 Trustee.

         2.      Notice of the Effective Date

         On or as soon as reasonably practical after the occurrence of the Effective Date, the
  Reorganized Debtor shall cause a notice of the Effective Date to be filed with the Bankruptcy
  Court and served on all Creditors and parties-in-interest.

         3.      Revocation of Plan

          The Chapter 11 Trustee may revoke and withdraw the Plan at any time before the
  Effective Date. If the Chapter 11 Trustee revokes or withdraws the Plan, or if confirmation of the
  Plan does not occur, then the Plan shall be deemed null and void and nothing contained in the
  Plan shall be deemed to constitute a waiver or release of any Claims by or against the Debtors,
  as the case may be, or any other Person, or to prejudice in any manner the rights of the Debtors
  or any other Person in any further proceedings involving the Debtors.

  K.     Effect of the Plan on Claims and Interests

         1.      Compromise and Settlement

          (a)     Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019, and
  in consideration of the classification, potential Distributions and other benefits provided under
  the Plan, the provisions of the Plan shall constitute a good faith compromise and settlement of
  all Claims, Interests and controversies subject to, or dealt with, under the Plan, including,
  without limitation, all Claims against the Debtors or Estate arising prior to the Effective Date,
  whether known or unknown, foreseen or unforeseen, asserted or unasserted, fixed or
  contingent, arising out of, relating to or in connection with the business or affairs of, or
  transactions with, the Debtors or the Estate. The entry of the Confirmation Order shall



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  constitute the Bankruptcy Court’s approval of each of the foregoing compromises or settlements
  embodied in the Plan, and all other compromises and settlements provided for in the Plan, and
  the Bankruptcy Court’s findings shall constitute its determination that such compromises and
  settlements are in the best interest of the Debtors, the Estate, Creditors and other parties-in-
  interest, and are fair, equitable and within the range of reasonableness. The rights afforded in
  the Plan and the treatment of all Claims and Interests in the Plan shall be in exchange for, and
  in complete satisfaction and release of, all Claims and Interests of any nature whatsoever
  against and in the Debtors, the Estate, and the Assets. Except as otherwise provided in the
  Plan, all Persons shall be precluded and forever barred by the Plan Injunction from asserting
  against the Debtors and their affiliates, successors, assigns, the Reorganized Debtor or the
  Reorganized Debtor’s Assets, or the Estate, any event, occurrence, condition, thing, or other or
  further Claims or causes of action based upon any act, omission, transaction, or other activity of
  any kind or nature that occurred or came into existence prior to the Effective Date, whether or
  not the facts of or legal bases therefore were known or existed prior to the Effective Date.

           (b)   It is not the intent of the Plan that confirmation of the Plan shall in any manner
  alter or amend any settlement and compromise (including those contained in agreed orders)
  between the Debtors and any Person that has been previously approved by the Bankruptcy
  Court (each, a “Prior Settlement”). To the extent of any conflict between the terms of the Plan
  and the terms of any Prior Settlement, the terms of the Prior Settlement shall control and such
  Prior Settlement shall be enforceable according to its terms.

         2.      Discharge

         The Debtors and their successors in interest and assigns shall be deemed discharged
  and released pursuant to section 1141(d)(1) of the Bankruptcy Code from any and all Claims
  provided for in the Plan.

         3.      Plan Injunction

         SECTION 14.03 OF THE PLAN IS REFERRED TO AS THE “PLAN INJUNCTION.”

         SECTION 14.03 OF THE PLAN IS REFERRED TO AS THE “PLAN
         INJUNCTION.” EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE
         PLAN, AS OF THE EFFECTIVE DATE ALL HOLDERS OF CLAIMS AGAINST,
         OR INTERESTS IN, THE DEBTORS, THE ESTATE OR ANY OF THE ASSETS
         THAT AROSE PRIOR TO THE EFFECTIVE DATE ARE HEREBY
         PERMANENTLY ENJOINED AND PROHIBITED FROM THE FOLLOWING: (a)
         THE COMMENCING OR CONTINUATION IN ANY MANNER, DIRECTLY OR
         INDIRECTLY, OF ANY ACTION, CASE, LAWSUIT OR OTHER PROCEEDING
         OF ANY TYPE OR NATURE AGAINST THE DEBTORS, THE ESTATE, THE
         REORGANIZED DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS WITH
         RESPECT TO ANY SUCH CLAIM OR INTEREST ARISING OR ACCRUING
         BEFORE THE EFFECTIVE DATE, INCLUDING WITHOUT LIMITATION THE
         ENTRY OR ENFORCEMENT OF ANY JUDGMENT, OR ANY OTHER ACT FOR
         THE COLLECTION, EITHER DIRECTLY OR INDIRECTLY, OF ANY CLAIM OR
         INTEREST AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED
         DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS; (b) THE CREATION,
         PERFECTION OR ENFORCEMENT OF ANY LIEN, SECURITY INTEREST,
         ENCUMBRANCE, RIGHT OR BURDEN, EITHER DIRECTLY OR INDIRECTLY,
         AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR, OR


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        THE REORGANIZED DEBTOR’S ASSETS, OR (c) TAKING ANY ACTION IN
        RELATION TO THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR,
        OR THE REORGANIZED DEBTOR’S ASSETS, EITHER DIRECTLY OR
        INDIRECTLY, WHICH VIOLATES OR DOES NOT CONFORM OR COMPLY
        WITH THE PROVISIONS OF THE PLAN APPLICABLE TO SUCH CLAIM OR
        INTEREST. THE PLAN INJUNCTION SHALL ALSO BE INCORPORATED INTO
        THE CONFIRMATION ORDER.

        IN ADDITION TO THE FOREGOING, EXCEPT TO THE EXTENT NECESSARY
        TO ALLOW HCLOF, THE REORGANIZED DEBTOR AND BRIGADE TO
        EFFECTUATE THE RESET OF ONE OR MORE OF THE ACIS CLOS IN
        ACCORDANCE WITH SECTION 6.08 OF THE PLAN, PURSUANT TO
        SECTIONS 105(a), 1123(a)(5), 1123(b)(6), AND 1142(b) OF THE BANKRUPTCY
        CODE, THE ENJOINED PARTIES (DEFINED BELOW) ARE HEREBY
        ENJOINED FROM: (a) PROCEEDING WITH, EFFECTUATING, OR
        OTHERWISE TAKING (i) ANY ACTION IN FURTHERANCE OF ANY OPTIONAL
        REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS CLOS
        PREVIOUSLY OR CURRENTLY ISSUED BY ANY SUCH PARTIES, AND (ii)
        ANY OTHER ATTEMPT TO LIQUIDATE THE ACIS CLOS BY ANY MEANS, (b)
        TRADING ANY ACIS CLO COLLATERAL IN FURTHERANCE OF ANY
        OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS
        CLOS, (c) EXERCISING ANY RIGHTS TO ASK OR DIRECT THE ISSUERS, CO-
        ISSUERS OR INDENTURE TRUSTEE TO PERFORM ANY ACTION IN
        RELATION TO THE ACIS CLOS THAT THE ENJOINED PARTIES ARE
        PROHIBITED FROM TAKING UNDER THE TERMS OF THE PLAN
        INJUNCTION, (d) INTERFERING IN ANY WAY WITH THE CAPITAL MARKETS
        PROCESS OF RESETTING ANY ACIS CLO, AND (e) SENDING, MAILING, OR
        OTHERWISE DISTRIBUTING ANY NOTICE TO THE HOLDERS OF THE
        NOTES IN THE ACIS CLOS IN CONNECTION WITH THE EFFECTUATION OF
        ANY OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE
        ACIS CLOS, UNTIL THE EARLIER TO OCCUR OF: (w) THE DATE UPON
        WHICH A FINAL ORDER IS ENTERED RESOLVING THE ESTATE’S
        AVOIDANCE CLAIMS AGAINST ALL ENJOINED PARTIES RELATING TO
        ACIS LP’S RIGHTS UNDER THE ALF PMA; (x) THE DATE UPON WHICH ALL
        ALLOWED CLAIMS AGAINST THE DEBTORS HAVE BEEN PAID IN FULL, (y)
        THE ENTRY OF AN ORDER BY THE BANKRUPTCY COURT FINDING THAT A
        MATERIAL DEFAULT HAS OCCURRED UNDER THE TERMS OF THE PLAN,
        OR (z) THE ENTRY OF A SUBSEQUENT ORDER BY THE BANKRUPTCY
        COURT PROVIDING OTHERWISE WITH RESPECT TO ONE OR MORE OF
        THE ACIS CLOS. FOR PURPOSES OF THIS PARAGRAPH, THE TERM
        “ENJOINED PARTIES” SHALL INCLUDE HIGHLAND, HCLOF, CLO HOLDCO,
        NEUTRA, HIGHLAND HCF, HIGHLAND CLOM, ANY AFFILIATES OF
        HIGHLAND,     AND    THEIR      RESPECTIVE       EMPLOYEES,     AGENTS,
        REPRESENTATIVES, TRANSFEREES, ASSIGNS, AND SUCCESSORS. FOR
        PURPOSES OF CLARIFICATION AND AVOIDANCE OF DOUBT, NOTHING IN
        THIS PARAGRAPH SHALL PRECLUDE ORDINARY DAY-TO-DAY TRADING
        OF THE COLLATERAL IN THE ACIS CLOS BY THE REORGANIZED DEBTOR.

        Notwithstanding anything to the contrary in the Plan: (a) third-party professionals
        employed by the Reorganized Debtor shall not be released or exculpated from any
        losses, claims, damages, liabilities, or expenses arising from their duties and


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         services provided to the Reorganized Debtor; and (b) any third-party professionals
         employed by the Reorganized Debtor shall only be entitled to be indemnified by
         the Reorganized Debtor to the extent provided by applicable law.

         Notwithstanding anything to the contrary in the Plan or Confirmation Order, nothing
         in the Plan or in the Confirmation Order shall discharge, release, enjoin or
         otherwise bar (i) any liability of the Debtors, the Estate, the Reorganized Debtor,
         or the Reorganized Debtor’s assets (“Released Parties”) to a Governmental Unit
         arising on or after the Confirmation Date with respect to events occurring after the
         Confirmation Date, provided that the Released Parties reserve the right to assert
         that any such liability is a Claim that arose on or prior to the Confirmation Date and
         constitutes a Claim that is subject to the deadlines for filing proofs of claim, (ii) any
         liability to a Governmental Unit that is not a Claim subject to the deadlines for filing
         proofs of Claim, (iii) any valid right of setoff or recoupment of a Governmental Unit,
         and (iv) any police or regulatory action by a Governmental Unit. In addition,
         nothing in the Plan or Confirmation Order discharges, releases, precludes or
         enjoins any environmental liability to any Governmental Unit that any Person other
         than the Released Parties would be subject to as the owner or operator of the
         property after the Effective Date. For the avoidance of any doubt, nothing in this
         paragraph shall be construed to limit the application of the Plan Injunction to any
         Claim which was subject to any bar date applicable to such Claim.

         4.      Setoffs

          Except as otherwise expressly provided for in the Plan, pursuant to the Bankruptcy Code
  (including section 553 of the Bankruptcy Code), applicable nonbankruptcy law, or as may be
  agreed to by the holder of a Claim, the Reorganized Debtor may set off against any Allowed
  Claim and the Distributions to be made pursuant to the Plan on account of such Allowed Claim
  (before such Distribution is made), any Claims, rights, Estate Claims and Estate Defenses of
  any nature that the Debtors may hold against the holder of such Allowed Claim, to the extent
  such Claims, rights, Estate Claims and Estate Defenses against such holder have not been
  otherwise compromised or settled on or prior to the Effective Date (whether pursuant to the Plan
  or otherwise); provided, however, that neither the failure to effect such a setoff nor the
  allowance of any Claim or Interest pursuant to the Plan shall constitute a waiver or release of
  any such Claims, rights, Estate Claims and Estate Defenses that the Estate may possess
  against such Claimant. In no event shall any Claimant or Interest holder be entitled to setoff any
  Claim or Interest against any Claim, right, or Estate Claim of the Debtors without the consent of
  the Debtors or the Reorganized Debtor unless such holder files a motion with the Bankruptcy
  Court requesting the authority to perform such setoff notwithstanding any indication in any proof
  of Claim or otherwise that such holder asserts, has, or intends to preserve any right of setoff
  pursuant to section 553 of the Bankruptcy Code or otherwise.

         5.      Recoupment

          Except as otherwise expressly provided for in the Plan, in no event shall any holder of
  Claims or Interests be entitled to recoup any Claim or Interest against any Claim, right, account
  receivable, or Estate Claim of the Debtors or the Reorganized Debtor unless (a) such holder
  actually provides notice thereof in writing to the Debtors or the Reorganized Debtor of its intent
  to perform a recoupment; (b) such notice includes the amount to be recouped by the holder of
  the Claim or Interest and a specific description of the basis for the recoupment, and (c) the
  Debtors or the Reorganized Debtor have provided a written response to such Claim or Interest


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  holder, stating unequivocally that the Debtors or the Reorganized Debtor consents to the
  requested recoupment. The Debtors and the Reorganized Debtor shall have the right, but not
  the obligation, to seek an order of the Bankruptcy Court allowing any or all of the proposed
  recoupment. In the absence of a written response from the Debtors or the Reorganized Debtor
  consenting to a recoupment or an order of the Bankruptcy Court authorizing a recoupment, no
  recoupment by the holder of a Claim or Interest shall be allowed.

         6.      Turnover

         On the Effective Date, any rights of the Estate to compel turnover of Assets under
  applicable nonbankruptcy law and pursuant to section 542 or 543 of the Bankruptcy Code shall
  be deemed transferred to and vested in the Reorganized Debtor.

         7.      Automatic Stay

          The automatic stay pursuant to section 362 of the Bankruptcy Code, except as
  previously modified by the Bankruptcy Court, shall remain in effect until the Effective Date of the
  Plan as to the Debtors, the Estate and all Assets. As of the Effective Date, the automatic stay
  shall be replaced by the Plan Injunction.

  L.     Jurisdiction of Courts and Modifications to the Plan

         1.      Retention of Jurisdiction

      Pursuant to sections 1334 and 157 of title 28 of the United States Code, the Bankruptcy
  Court shall retain exclusive jurisdiction of all matters arising in, arising under, and related to the
  Chapter 11 Cases and the Plan, to the full extent allowed or permitted by applicable law,
  including without limitation for the purposes of invoking sections 105(a) and 1142 of the
  Bankruptcy Code, and for, among other things, the following purposes:

               (a)      To hear and determine any and all objections to, or applications or
  motions concerning, the allowance of Claims or the allowance, classification, priority,
  compromise, estimation, or payment of any Administrative Expense;

               (b)     To hear and determine any and all applications for payment of fees and
  expenses pursuant to the Plan to any Estate Professional pursuant to sections 330 or 503 of the
  Bankruptcy Code, or for payment of any other fees or expenses authorized to be paid or
  reimbursed under the Plan, and any and all objections thereto;

                (c)     To hear and determine pending applications for the rejection, assumption,
  or assumption and assignment of Executory Contracts and Unexpired Leases and the
  allowance of Claims resulting therefrom, and to determine the rights of any party in respect to
  the assumption or rejection of any Executory Contract or Unexpired Lease;

                (d)      To hear and determine any and all adversary proceedings, applications,
  or contested matters, including relating to the allowance of any Claim;

                 (e)     To hear and determine all controversies, disputes, and suits which may
  arise in connection with the execution, interpretation, implementation, consummation, or
  enforcement of the Plan or in connection with the enforcement of any remedies made available
  under the Plan, including without limitation, (i) adjudication of all rights, interests or disputes



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  relating to any of the Assets, (ii) the valuation of all Collateral, (iii) the determination of the
  validity of any Lien or claimed right of offset or recoupment; and (iv) determinations of
  Objections to Contested Claims;

                 (f)    To liquidate and administer any disputed, contingent, or unliquidated
  Claims, including the Allowance of all Contested Claims;

                  (g)     To administer Distributions to holders of Allowed Claims as provided in
  the Plan;

                 (h)   To enter and implement such orders as may be appropriate in the event
  the Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

                 (i)     To enable the Reorganized Debtor to prosecute any and all proceedings
  which may be brought to set aside transfers, Liens or encumbrances and to recover any
  transfers, Assets, properties or damages to which the Reorganized Debtor may be entitled
  under applicable provisions of the Bankruptcy Code or any other federal, state or local laws,
  including causes of action, controversies, disputes and conflicts between the Reorganized
  Debtor and any other party, including but not limited to, any causes of action or Objections to
  Claims, preferences or fraudulent transfers and obligations or equitable subordination;

                (j)     To consider any modification of the Plan pursuant to section 1127 of the
  Bankruptcy Code, to cure any defect or omission, or reconcile any inconsistency in any order of
  the Bankruptcy Court, including, without limitation the Confirmation Order;

                  (k)     To enforce the discharge and Plan Injunction against any Person;

                  (l)    To enter and implement all such orders as may be necessary or
  appropriate to execute, interpret, construe, implement, consummate, or enforce the terms and
  conditions of the Plan and the transactions required or contemplated pursuant thereto;

                 (m)     To hear and determine any motion or application which the Reorganized
  Debtor is required or allowed to commence before the Bankruptcy Court pursuant to the Plan;

                  (n)  To hear and determine any other matter not inconsistent with the
  Bankruptcy Code and title 28 of the United States Code that may arise in connection with or
  related to the Plan;

                  (o)     To determine proceedings pursuant to section 505 of the Bankruptcy
  Code;

                  (p)     To enter a final decree closing the Chapter 11 Cases; and

                (q)     To determine any other matter or dispute relating to the Estate, the Estate
  Claims, the Estate Defenses, the Assets, or the Distributions by the Reorganized Debtor.

          2.      Abstention and Other Courts

          If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
  otherwise without jurisdiction over any matter arising out of or relating to the Chapter 11 Cases,
  Article XV of the Plan shall have no effect upon and shall not control, prohibit or limit the



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  exercise of jurisdiction by any other court having competent jurisdiction with respect to such
  matter.

         3.      Non-Material Modifications

          The Reorganized Debtor may, with the approval of the Bankruptcy Court and without
  notice to all holders of Claims and Interests, correct any defect, omission, or inconsistency in
  the Plan in such manner and to such extent as may be necessary or desirable. The
  Reorganized Debtor may undertake such nonmaterial modification pursuant to section 15.03 of
  the Plan insofar as it does not adversely change the treatment of the Claim of any Creditor or
  the Interest of any Interest holder who has not accepted in writing the modification.

         4.      Material Modifications

          Modifications of the Plan may be proposed in writing by the Chapter 11 Trustee at any
  time before confirmation, provided that the Plan, as modified, meets the requirements of
  sections 1122 and 1123 of the Bankruptcy Code, and the Chapter 11 Trustee shall have
  complied with section 1125 of the Bankruptcy Code. The Plan may be modified at any time
  after confirmation and before its Substantial Consummation, provided that the Plan, as modified,
  meets the requirements of sections 1122 and 1123 of the Bankruptcy Code, and the Bankruptcy
  Court, after notice and a hearing, confirms the Plan, as modified, under section 1129 of the
  Bankruptcy Code, and the circumstances warrant such modification. A holder of a Claim or
  Interest that has accepted or rejected the Plan shall be deemed to have accepted or rejected,
  as the case may be, such Plan as modified, unless, within the time fixed by the Bankruptcy
  Court, such holder changes its previous acceptance or rejection.

  M.     Miscellaneous Provisions

         1.      Severability

           Should the Bankruptcy Court determine any provision of the Plan is unenforceable either
  on its face or as applied to any Claim or Interest or transaction, the Reorganized Debtor may
  modify the Plan so that any such provision shall not be applicable to the holder of any Claim or
  Interest. Such a determination of unenforceability shall not (a) limit or affect the enforceability
  and operative effect of any other provision of the Plan or (b) require the resolicitation of any
  acceptance or rejection of the Plan.

         2.      Oral Agreements; Modification of Plan; Oral Representations or
                 Inducements

          The terms of the Plan, Disclosure Statement and Confirmation Order may only be
  amended in writing and may not be changed, contradicted or varied by any oral statement,
  agreement, warranty or representation. None of the Debtors, any representative of the Estate,
  including Robin Phelan in his capacity as Chapter 11 Trustee, nor their attorneys have made
  any representation, warranty, promise or inducement relating to the Plan or its confirmation
  except as expressly set forth in the Plan, the Disclosure Statement, or the Confirmation Order or
  other order of the Bankruptcy Court.

         3.      Waiver

         The Reorganized Debtor shall not be deemed to have waived any right, power or



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  privilege pursuant to the Plan unless the waiver is in writing and signed by the Reorganized
  Debtor. There shall be no waiver by implication, course of conduct or dealing, or through any
  delay or inaction by the Reorganized Debtor, of any right pursuant to the Plan, including the
  provisions of section 16.03 of the Plan. The waiver of any right under the Plan shall not act as a
  waiver of any other or subsequent right, power or privilege.

         4.      Notice

         Any notice or communication required or permitted by the Plan shall be given, made or
  sent as follows:

          (a)   If to a Creditor, notice may be given as follows: (i) if the Creditor has not filed a
  proof of Claim, then to the address reflected in the Schedules, or (ii) if the Creditor has filed a
  proof of Claim, then to the address reflected in the proof of Claim.

         (b)     If to the Reorganized Debtor, notice shall be sent to the following addresses:

                   Jeff P. Prostok                             Josh Terry
                   Suzanne K. Rosen                            c/o Brian P. Shaw
                   Forshey Prostok LLP                         Rogge Dunn Group, PC
                   777 Main Street, Suite 1290                 1201 Elm Street, Suite 5200
                   Fort Worth, Texas 76102                     Dallas, Texas 75270

          (c)    Any Creditor desiring to change its address for the purpose of notice may do so by
  giving notice to the Reorganized Debtor of its new address in accordance with the terms of section
  16.04 of the Plan.

          Any notice given, made or sent as set forth above shall be effective upon being (i)
  deposited in the United States Mail, postage prepaid, addressed to the addressee at the address
  as set forth above; (ii) delivered by hand or messenger to the addressee at the address set forth
  above; (iii) telecopied to the addressee as set forth above, with a hard confirmation copy being
  immediately sent through the United States Mail; or (iv) delivered for transmission to an expedited
  or overnight delivery service such as FedEx.

         5.      Compliance with All Applicable Laws

          If notified by any governmental authority that it is in violation of any applicable law, rule,
  regulation, or order of such governmental authority relating to its business, the Reorganized
  Debtor shall comply with such law, rule, regulation, or order; provided, however, that nothing
  contained in the Plan shall require such compliance if the legality or applicability of any such
  requirement is being contested in good faith in appropriate proceedings and, if appropriate, an
  adequate Reserve has been set aside on the books of the Reorganized Debtor.

         6.      Duties to Creditors; Exculpation

          Neither the Chapter 11 Trustee nor any agent, representative, accountant, financial
  advisor, attorney, shareholder, officer, affiliate, member or employee of the Chapter 11 Trustee
  or the Debtors, including but not limited to Estate Professionals (collectively, the “Exculpated
  Parties”), shall ever owe any duty to any Person (including any Creditor) other than the duties
  owed to the Debtors’ bankruptcy Estate, for any act, omission, or event in connection with, or
  arising out of, or relating to, any of the following: (a) the Debtors’ Chapter 11 Cases, including



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  all matters or actions in connection with or relating to the administration of the Estate, (b) the
  Plan, including the proposal, negotiation, confirmation and consummation of the Plan, or (c) any
  act or omission relating to the administration of the Plan after the Effective Date. All such
  Exculpated Parties shall be fully exculpated and released from any and all claims and causes of
  action by any Person, known or unknown, in connection with, or arising out of, or relating to, any
  of the following: (x) the Debtors’ Chapter 11 Cases, including all matters or actions in
  connection with or relating to the administration of the Estate, (y) the Plan, including the
  proposal, negotiation, confirmation and consummation of the Plan, or (z) any act or omission
  relating to the administration of the Plan after the Effective Date, except for claims and causes
  of action arising out of such Exculpated Party’s gross negligence or willful misconduct.

         7.      Binding Effect

         The Plan shall be binding upon, and shall inure to the benefit of, the Reorganized
  Debtor, the holders of the Claims or Liens, and their respective successors-in-interest and
  assigns.

         8.      Governing Law, Interpretation

          Unless a rule of law or procedure supplied by federal law (including the Bankruptcy
  Code and Bankruptcy Rules) is applicable, the internal laws of the State of Texas shall govern
  the construction and implementation of the Plan and any Plan Documents without regard to
  conflicts of law. The Plan shall control any inconsistent term or provision of any other Plan
  Documents.

         9.      Payment of Statutory Fees

         All accrued U.S. Trustee Fees as of the Confirmation Date shall be paid by the
  Reorganized Debtor on or as soon as practicable after the Effective Date, and thereafter shall
  be paid by the Reorganized Debtor as such statutory fees become due and payable.

         10.     Filing of Additional Documents

          On or before Substantial Consummation of the Plan, the Reorganized Debtor may file
  with the Bankruptcy Court such agreements and other documents as may be necessary or
  appropriate to effectuate and further evidence the terms and conditions of the Plan.

         11.     Computation of Time

          Bankruptcy Rule 9006 shall apply to the calculation of all time periods pursuant to the
  Plan. If the final day for any Distribution, performance, act or event under the Plan is not a
  Business Day, then the time for making or performing such Distribution, performance, act or
  event shall be extended to the next Business Day. Any payment or Distribution required to be
  made under the Plan on a day other than a Business Day shall be due and payable on the next
  succeeding Business Day.

         12.     Elections by the Reorganized Debtor

         Any right of election or choice granted to the Reorganized Debtor under the Plan may be
  exercised, at the Reorganized Debtor’s election, separately as to each Claim, Creditor or
  Person.



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         13.     Release of Liens

          Except as otherwise expressly provided in the Plan or the Confirmation Order, all Liens
  against any of the Assets transferred to and vested in the Reorganized Debtor shall be deemed
  to be released, terminated and nullified without the necessity of any order by the Bankruptcy
  Court other than the Confirmation Order.

         14.     Rates

        The Plan does not provide for the change of any rate that is within the jurisdiction of any
  governmental regulatory commission after the occurrence of the Effective Date.

         15.     Compliance with Tax Requirements

          In connection with the Plan, the Reorganized Debtor shall comply with all withholding
  and reporting requirements imposed by federal, state and local Taxing Authorities and all
  Distributions under the Plan shall be subject to such withholding and reporting requirements.
  Notwithstanding the above, each holder of an Allowed Claim or Interest that is to receive a
  Distribution under the Plan shall have the sole and exclusive responsibility for the satisfaction
  and payment of any tax obligations imposed by any governmental unit, including income,
  withholding and other tax obligations, on account of such Distribution under the Plan.

         16.     Notice of Occurrence of the Effective Date

          Promptly after occurrence of the Effective Date, the Reorganized Debtor, as directed by
  the Bankruptcy Court, shall serve on all known parties-in-interest and holders of Claims and
  Interests, notice of the occurrence of the Effective Date.

         17.     Notice of Entry of Confirmation Order

         Promptly after entry of the Confirmation Order, the Chapter 11 Trustee, as directed by
  the Bankruptcy Court in the Confirmation Order, shall serve on all known parties-in-interest and
  holders of Claims and Interests, notice of entry of the Confirmation Order.

           VIII. CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        THE PLAN AND ITS RELATED TAX CONSEQUENCES ARE COMPLEX. MOREOVER,
  MANY OF THE INTERNAL REVENUE CODE PROVISIONS DEALING WITH THE FEDERAL
  INCOME TAX ISSUES ARISING FROM THE PLAN HAVE BEEN THE SUBJECT OF RECENT
  LEGISLATION AND, AS A RESULT, MAY BE SUBJECT TO AS YET UNKNOWN
  ADMINISTRATIVE OR JUDICIAL INTERPRETATIONS.    THE DEBTORS HAVE     NOT
  REQUESTED A RULING FROM THE INTERNAL REVENUE SERVICE (THE “IRS”) OR AN
  OPINION OF COUNSEL WITH RESPECT TO THESE MATTERS. ACCORDINGLY, NO
  ASSURANCE CAN BE GIVEN AS TO THE INTERPRETATION THAT THE IRS WILL ADOPT.
  THERE ALSO MAY BE STATE, LOCAL OR OTHER TAX CONSIDERATIONS APPLICABLE TO
  EACH CREDITOR. CREDITORS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS
  AS TO THE CONSEQUENCES OF THE PLAN TO THEM UNDER FEDERAL AND APPLICABLE
  STATE, LOCAL AND OTHER TAX LAWS.

                                IX. CONFIRMATION OF THE PLAN




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  A.     Solicitation of Votes; Voting Procedures

         1.      Ballots and Voting Deadlines

          A Ballot to be used for voting to accept or reject the Plan, together with a postage-paid
  return envelope, is enclosed with all copies of this Disclosure Statement mailed to all holders of
  Claims and Interests entitled to vote. BEFORE COMPLETING YOUR BALLOT, PLEASE READ
  CAREFULLY THE INSTRUCTION SHEET THAT ACCOMPANIES THE BALLOT.

          The Bankruptcy Court has directed that, in order to be counted for voting purposes,
  Ballots for the acceptance or rejection of the Plan must be received by no later November 26,
  2018 at the following address:

                                    Forshey & Prostok, L.L.P.
                                    777 Main Street, Suite 1290
                                    Fort Worth, Texas 76102
                                    Attn: Linda Breedlove

       YOUR BALLOT MAY NOT BE COUNTED IF IT IS RECEIVED AT THE ABOVE
  ADDRESS AFTER November 26, 2018.

         2.      Parties-in-Interest Entitled to Vote

          The holder of a Claim or Interest may vote to accept or reject the Plan only if the Plan
  impairs the Class in which such Claim or Interest is classified. Under the Plan, Class 1 is
  unimpaired and is deemed to have accepted the Plan. Classes 2, 3, and Subclass 4A and
  Subclass 4B are Impaired and holders of Claims in Classes 2, 3, and Subclass 4A and
  Subclass 4B shall be entitled to vote on the Plan, although Subclass 4B is currently an empty
  class. Class 5 Interests are also Impaired, but all Interests in the Debtors shall be cancelled as
  of the Effective Date and holders of Class 5 Interests will receive no Distributions under the
  Plan. Therefore, Class 5 is deemed to have rejected the Plan.

          Any Claim or Interest as to which an Objection has been filed is not entitled to vote
  unless the Bankruptcy Court, upon application of the holder to whose Claim or Interest an
  Objection has been made, temporarily allows such Claim or Interest in an amount that it deems
  proper for the purpose of accepting or rejecting the Plan. Any such application must be heard
  and determined by the Bankruptcy Court on or before commencement of the Confirmation
  Hearing. A vote may be disregarded if the Bankruptcy Court determines, after notice and a
  hearing, that such vote was not solicited or procured in good faith or in accordance with the
  provisions of the Bankruptcy Code.

       IF YOU HAVE ANY QUESTIONS REGARDING THE PROCEDURES FOR VOTING ON
  THE PLAN, PLEASE CONTACT COUNSEL FOR THE CHAPTER 11 TRUSTEE AT THE
  FOLLOWING ADDRESS:




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                                    Jeff P. Prostok
                                    Suzanne K. Rosen
                                    Forshey & Prostok, L.L.P.
                                    777 Main Street, Suite 1290
                                    Fort Worth, Texas 76102
                                    (817) 877-8855 Telephone
                                    (817) 877-4151 Fax
                                    Email: jprostok@forsheyprostok.com
                                    Email: srosen@forsheyprostok.com


         3.      Vote Required for Class Acceptance

         The Bankruptcy Code defines acceptance of a plan by a class of claims as acceptance
  by holders of at least two-thirds in dollar amount, and more than one-half in number, of the
  claims of that class which actually cast ballots for acceptance or rejection of the plan. Thus,
  class acceptance takes place only if at least two-thirds in amount and a majority in number of
  the holders of claims voting cast their ballots in favor of acceptance.

          The Bankruptcy Code defines acceptance of a plan by a class of interests as
  acceptance by holders of at least two-thirds in amount of the interests of that class that actually
  cast ballots for acceptance or rejection of the plan. Thus, class acceptance takes place only if
  at least two-thirds in amount of the holders of interests voting cast their ballots in favor of
  acceptance.

  B.     Confirmation Hearing

          Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
  hold a hearing on confirmation of the Plan. Pursuant to the Solicitation Order, the Confirmation
  Hearing has been scheduled for December 11, 2018, at 9:30 a.m. Central Time, in the United
  States Bankruptcy Court for the Northern District of Texas, Dallas Division. In addition to
  considering confirmation of the Plan, the Bankruptcy Court will consider final approval of this
  Disclosure Statement at such hearing. The Confirmation Hearing may be adjourned from time
  to time by the Bankruptcy Court without further notice except for an announcement made at the
  Confirmation Hearing or any adjournment thereof.

          Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
  confirmation of a plan. Any objection to confirmation of the Plan and/or final approval of this
  Disclosure Statement must be made in writing and filed with the Clerk of the Bankruptcy Court
  by no later than November 26, 2018, at the following address:

                                         Office of the Clerk
                                       U.S. Bankruptcy Court
                                    Earle Cabell Federal Building
                                   1100 Commerce St., Rm. 1254
                                      Dallas, TX 75242-1496

         Concurrently upon filing, any Plan/Disclosure Statement Objections must be served,
  together with proof of service, upon (a) on any parties who have filed notices of appearance and
  requests for notice in the Chapter 11 Cases and (b) the following parties:




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   Jeff P. Prostok                                     Rakhee V. Patel
   Suzanne K. Rosen                                    Phillip Lamberson
   Forshey & Prostok, L.L.P.                           Joe Wielebinski
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                                                       Dallas, Texas 75201
                                                       Email: rpatel@winstead.com
   United States Trustee                               Email: plamberson@winstead.com
   Attn: Lisa L. Lambert, Asst. U.S. Trustee           Email: jwielebinski@winstead.com
   1100 Commerce Street, Room 976                      Email: achiarello@winstead.com
   Dallas, TX 75242
   Email: Lisa.L.Lambert@usdoj.gov

       Objections to confirmation of the Plan are governed by Bankruptcy Rule 9014. UNLESS
  AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT WILL NOT BE
  CONSIDERED BY THE BANKRUPTCY COURT.

  C.      Requirements for Confirmation of the Plan

         At the Confirmation Hearing, the Bankruptcy Court must determine whether the
  Bankruptcy Code’s requirements for confirmation of the Plan have been satisfied, in which event
  the Bankruptcy Court will enter an order confirming the Plan. As set forth in section 1129 of the
  Bankruptcy Code, these requirements are as follows:

          1.      The Plan complies with the applicable provisions of the Bankruptcy Code.

        2.     The proponent of the Plan complied with the applicable provisions of the
  Bankruptcy Code.

          3.      The Plan has been proposed in good faith and not by any means forbidden by
  law.

         4.     Any payment made or promised by the Debtors, by the Plan proponent, or by a
  person issuing securities or acquiring property under the Plan, for services or for costs and
  expenses in, or in connection with, the case, or in connection with the Plan and incident to the
  case, has been approved by, or is subject to the approval of the Bankruptcy Court as
  reasonable.

            5.     (a)     (i)     The proponent of the Plan has disclosed the identity and
  affiliations of any individual proposed to serve, after confirmation of the Plan, as a director,
  officer, or voting trustee of the Debtors, an affiliate of the Debtors participating in a joint plan
  with the Debtors, or a successor to the Debtors under the Plan; and

                          (ii)    the appointment to, or continuance in, such office of such
  individual, is consistent with the interests of creditors and equity security holders and with public
  policy; and

               (b)     the proponent of the Plan has disclosed the identity of any Insider that will
  be employed or retained by the Reorganized Debtor and the nature of any compensation for



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  such Insider.

         6.      Any governmental regulatory commission with jurisdiction, after confirmation of
  the Plan, over the rates of the Debtors have approved any rate change provided for in the Plan,
  or such rate change is expressly conditioned on such approval.

         7.       With respect to each Impaired Class of Claims or Interests:

                   (a)     each holder of a Claim or Interest of such Class has accepted the Plan or
  will receive or retain under the Plan on account of such Claim or Interest property of a value, as
  of the Effective Date of the Plan, that is not less than the amount that such holder would so
  receive or retain if the Debtors were liquidated under chapter 7 of the Bankruptcy Code on such
  date; or

                 (b)     if section 1111(b)(2) of the Bankruptcy Code applies to the Claims of such
  Class, the holder of a Claim of such Class will receive or retain under the Plan on account of
  such Claim property of a value, as of the Effective Date of the Plan, that is not less than the
  value of such holder’s Interest in the Estate’s Interest in the property that secures such Claim.

         8.       With respect to each Class of Claims or Interests:

                  (a)    such Class has accepted the Plan; or

                  (b)    such Class is not Impaired under the Plan.

         9.      Except to the extent that the holder of a particular Claim has agreed to a different
  treatment of such Claim, the Plan provides that:

                  (a)   with respect to a Claim of a kind specified in section 507(a)(2) or
  507(a)(3) of the Bankruptcy Code, on the Effective Date of the Plan, the holder of such Claim
  will receive on account of such Claim cash equal to the Allowed amount of such Claim;

                 (b)     with respect to a Class of Claims of a kind specified in section 507(a)(1),
  507(a)(4), 507(a)(5), 507(a)(6) or 507(a)(7) of the Bankruptcy Code, each holder of a Claim of
  such Class will receive:

                          (i)    if such Class has accepted the Plan, deferred cash payments of a
  value, as of the Effective Date of the Plan, equal to the Allowed amount of such Claim; or

                        (ii)    if such Class has not accepted the Plan, Cash on the Effective
  Date of the Plan equal to the Allowed amount of such Claim; and

                 (c)    with respect to a Claim of a kind specified in section 507(a)(8) of the
  Bankruptcy Code, the holder of such Claim will receive on account of such Claim regular
  installment payments in Cash:

                       (i)    of a total value, as of the Effective Date of the Plan, equal to the
  Allowed amount of such Claim;

                          (ii)    over a period ending not later than 5 years after the date of the
  order for relief under section 301, 302, or 303; and



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                        (iii)  in a manner not less favorable than the most favored nonpriority
  unsecured claim provided for by the Plan (other than Cash payments made to a Class of
  Creditors under section 1122(b) of the Bankruptcy Code); and

                  (d)   with respect to a Secured Claim which would otherwise meet the
  description of an unsecured Claim of a Governmental Unit under section 507(a)(8) of the
  Bankruptcy Code, but for the secured status of that Claim, the holder of that Claim will receive
  on account of that Claim, Cash payments, in the same manner and over the same period, as
  prescribed in 9(c) above.

         10.     If a Class of Claims is Impaired under the Plan, at least one Class of Claims that
  is Impaired has accepted the Plan, determined without including any acceptance of the Plan by
  any Insider holding a Claim of such Class.

           11.     Confirmation of the Plan is not likely to be followed by the liquidation, or the need
  for further financial reorganization, of the Debtors or any successor to the Debtors under the
  Plan, unless such liquidation or reorganization is proposed in the Plan.

         12.     All fees payable under 28 U.S.C. section 1930, as determined by the Bankruptcy
  Court at the hearing on confirmation of the Plan, have been paid or the Plan provides for the
  payments of all such fees on the Effective Date of the Plan.

          13.     The Plan provides for the continuation after its Effective Date of payment of all
  retiree benefits, as that term is defined in section 1114 of the Bankruptcy Code, at the level
  established pursuant to subsection (e)(1)(B) or (g) of section 1114, at any time prior to
  confirmation of the Plan, for the duration of the period the Debtors have obligated themselves to
  provide such benefits.

          14.    If the Debtors are required by a judicial or administrative order, or by statute, to
  pay a domestic support obligation, the Debtors have paid all amounts payable under such order
  or such statute for such obligation that first become payable after the date of the filing of the
  petition.

         15.   In a case in which a Debtors is an individual and in which the holder of an
  Allowed unsecured Claim objects to the confirmation of the Plan:

                 (a)     the value, as of the Effective Date of the Plan, of the property to be
  distributed under the Plan on account of such Claim is not less than the amount of such Claim;
  or

                 (b)    the value of the property to be distributed under the Plan is not less than
  the projected disposable income of such Debtor (as defined in section 1325(b)(2) of the
  Bankruptcy Code) to be received during the five-year period beginning on the date that the first
  payment is due under the Plan, or during the period for which the Plan provides payments,
  whichever is longer.

           16.     All transfers of property under the Plan shall be made in accordance with any
  applicable provisions of nonbankruptcy law that govern the transfer of property by a corporation
  or trust that is not a moneyed, business, or commercial corporation or trust.

         The Chapter 11 Trustee believes that the Plan satisfies all the statutory requirements of



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  chapter 11 of the Bankruptcy Code, that the Chapter 11 Trustee has complied or will have
  complied with all the requirements of chapter 11, and that the Plan is proposed in good faith.

          The Chapter 11 Trustee believes that holders of all Allowed Claims and Interests
  Impaired under the Plan will receive payments under the Plan having a present value, as of the
  Effective Date, not less than the amounts likely to be received if the Debtors were liquidated in a
  case under chapter 7 of the Bankruptcy Code. At the Confirmation Hearing, the Bankruptcy
  Court will determine whether holders of Allowed Claims or Allowed Interests would receive
  greater Distributions under the Plan than they would receive in a liquidation under chapter 7.

         These facts and others demonstrating the confirmability of the Plan will be shown at the
  Confirmation Hearing.

  D.     Cramdown

          In the event that any Impaired Class of Claims or Interests does not accept the Plan, the
  Bankruptcy Court may still confirm the Plan at the request of the Plan proponent if, as to each
  impaired Class which has not accepted the Plan, the Bankruptcy Court determines that the Plan
  “does not discriminate unfairly” and is “fair and equitable” with respect to that Class. A plan of
  reorganization “does not discriminate unfairly” within the meaning of the Bankruptcy Code if no
  class receives more than it is legally entitled to receive for their claims or interests.

          “Fair and equitable” has different meanings with respect to the treatment of secured and
  unsecured claims. As set forth in section 1129(b)(2) of the Bankruptcy Code, those meanings
  are as follows:

         1.        With respect to a class of secured claims, the plan provides:

                 (a)     (i)     that the holders of such claims retain the liens securing such
         claims, whether the property subject to such liens is retained by the debtor or transferred
         to another entity, to the extent of the allowed amount of such claims; and

                         (ii)    that each holder of a claim of such class receive on account of
         such claim deferred cash payments totaling at least the allowed amount of such claim, of
         a value, as of the effective date of the plan, of at least the value of such holder’s interest
         in the estate’s interest in such property;

                (b)      for the sale, subject to section 363(k) of the Bankruptcy Code, of any
         property that is subject to the liens securing such claims, free and clear of such liens,
         with such liens to attach to the proceeds of such sale, and the treatment of such liens on
         proceeds under clause (a) and (b) of this subparagraph; or

                   (c)    the realization by such holders of the “indubitable equivalent” of such
         claims.

         2.        With respect to a class of unsecured claims, the plan provides:

                 (a)    that each holder of a claim of such class receive or retain on account of
  such claim property of a value, as of the effective date of the plan, equal to the allowed amount
  of such claim; or




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                  (b)     the holder of any claim or interest that is junior to the claims of such class
  will not receive or retain under the plan on account of such junior claim or interest any property,
  except that in a case in which the debtor is an individual, the debtor may retain property
  included in the estate under section 1115 of the Bankruptcy Code, subject to the requirements
  of section 1129(a)(14) of the Bankruptcy Code.

         3.      With respect to a class of interests, the plan provides:

                 (a)     that each holder of an interest of such class receive or retain on account
  of such interest property of a value, as of the effective date of the plan, equal to the greatest of
  the allowed amount of any fixed liquidation preference to which such holder is entitled, any fixed
  redemption price to which such holder is entitled or the value of such interest; or

                  (b)     that the holder of any interest that is junior to the interests of such class
  will not receive or retain under the plan on account of such junior interest any property.

         In the event that one or more Classes of impaired Claims or Interests reject the Plan, the
  Bankruptcy Court will determine at the Confirmation Hearing whether the Plan is fair and
  equitable with respect to, and does not discriminate unfairly against, any rejecting impaired
  Class of Claims or Interests. For the reasons set forth above, the Chapter 11 Trustee believes
  the Plan does not discriminate unfairly against, and is fair and equitable with respect to, each
  impaired Class of Claims or Interests.

                                          X. RISK FACTORS

          The following is intended as a summary of certain risks associated with the Plan, but it is
  not exhaustive and must be supplemented by the analysis and evaluation made by each holder
  of a Claim or Interest of the Plan and this Disclosure Statement as a whole with such holder’s
  own advisors.

  A.     Insufficient Acceptances

           For the Plan to be confirmed, each impaired Class of Claims is given the opportunity to
  vote to accept or reject the Plan separately under the Plan. With regard to such Impaired voting
  Classes, the Plan will be deemed accepted by a Class of Impaired Claims if the Plan is
  accepted by Claimants of such Class actually voting on the Plan who hold at least two-thirds
  (2/3) in amount and more than one-half (1/2) in number of the total Allowed Claims of the Class
  voted. Only those members of a Class who vote to accept or reject the Plan will be counted for
  voting purposes. The Plan proponent reserves the right to request confirmation pursuant to the
  cramdown provisions in section 1129(b) of the Bankruptcy Code, which will allow confirmation of
  the Plan regardless of the fact that a particular Class of Claims has not accepted the Plan.
  However, there can be no assurance that any Impaired Class of Claims under the Plan will
  accept the Plan or that the Plan proponent would be able to use the cramdown provisions of the
  Bankruptcy Code for confirmation of the Plan.

  B.     Confirmation Risks

         The following specific risks exist with respect to confirmation of the Plan:

                  (a)    Any objection to confirmation of the Plan can either prevent confirmation
  of the Plan, or delay such confirmation for a significant period of time.



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                  (b)    Since the Plan proponent may be seeking to obtain approval of the Plan
  over the rejection of one or more Impaired Classes of Claims, the cramdown process could
  delay confirmation.

  C.     Estimated Distributions under the Plan

          In preparing the Plan Projections and Liquidation Analysis under the Plan attached
  hereto as “Exhibit 3” and “Exhibit 4”, respectively, the Financial Advisors have made certain
  estimates regarding projected cash on hand at confirmation. The accuracy of such estimates
  cannot be guaranteed. Furthermore, the accuracy of the analysis is dependent upon several
  variables, including (i) the aggregate amount of Allowed Claims, (ii) the amount, if any, for which
  certain Administrative Expense Claims are Allowed, (iii) the collectability of the Estate Accounts
  Receivable, and (iv) the amount of the expenses and fees of Estate Professionals.

  D.     Operational Risks

          Under the Plan, the Reorganized Debtor will continue the business of the Debtors and
  will have the obligation to make certain Distributions to holders of Allowed Claims as specifically
  set forth in the Plan. No guarantees can be made with respect to the success or outcome of the
  Reorganized Debtor’s operations from and after the Effective Date and, in turn, the Reorganized
  Debtor’s ability to fulfill all of its obligations under the Plan. For example, if the Reorganized
  Debtor is removed as the portfolio manager with respect to the Acis CLOs or the Other Acis-
  Managed Funds (or any reset Acis CLOs) for cause after the Effective Date, the Reorganized
  Debtor may thereby lose the source of income necessary to fulfill its obligations under the Plan.
  Likewise, there is no guarantee that the Reorganized Debtor will receive sufficient cash flows
  from the PMAs to pay all Unsecured Cash Flow Notes and Subordinated Unsecured Cash Flow
  Notes in full.

        XI. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

  A.     Continuation of the Chapter 11 Cases

         The Chapter 11 Trustee believes that the Plan provides the Claimants with the greatest
  and earliest possible return that can be realized on their respective Claims. The Plan is
  proposed as an alternative to a chapter 7 liquidation. If the Plan is not confirmed, the Chapter
  11 Trustee may continue to operate the Debtors’ businesses and the Estate may continue to be
  administered through the Chapter 11 Cases. The Chapter 11 Trustee believes that confirmation
  and performance of the Plan is a superior alternative to continuing to operate the Debtors’
  businesses for an undetermined length of time during the Chapter 11 Cases, as continuation of
  the Chapter 11 Cases could prove lengthy and result in substantial additional costs of
  administration of the Estate.

  B.     Alternative Plan of Reorganization

           Other parties-in-interest are free to file an alternative plan of reorganization at any time.
  At this time, the Plan is the only plan that has been proposed and filed in the Chapter 11 Cases.
  If the Plan is not confirmed, an alternative plan filed by another party-in-interest, or an amended
  Plan filed by the Chapter 11 Trustee, might ultimately be confirmed by the Bankruptcy Court.




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  C.     Chapter 7 Liquidation

           If the Plan is not confirmed, the Chapter 11 Cases may potentially be converted to cases
  under chapter 7 of the Bankruptcy Code at a later date if such a request is made and granted by
  the Bankruptcy Court. The Chapter 11 Trustee believes that liquidation of the Estate under
  chapter 7 would diminish the value to be realized by holders of Allowed Claims because of
  additional administrative expenses involved in the appointment of a chapter 7 trustee or
  trustees, attorneys, accountants, and other professionals to assist such trustee(s) in the case of
  chapter 7 proceedings. The Chapter 11 Trustee believes that liquidation under chapter 7 could
  result in delay of distributions to holders of Allowed Claims as compared to the anticipated
  timetable for distributions provided for under the Plan. Furthermore, the Chapter 11 Trustee
  believes that holders of Allowed Claims against the Debtors stand to receiver superior
  recoveries under the Plan than they would likely receive if the Estate is liquidated under chapter
  7 of the Bankruptcy Code.

                                        XII. CONCLUSION

         The Chapter 11 Trustee urges holders of Claims in impaired Classes to vote to ACCEPT
  the Plan and to evidence such acceptance by returning their Ballots so that they will be received
  on or before November 26, 2018.

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  Dated: October 25, 2018.
                                                       Respectfully submitted,

                                                       ACIS CAPITAL MANAGEMENT, L.P.


                                                       By: /s/ Robin Phelan
                                                           Robin Phelan
                                                           Chapter 11 Trustee


                                                       ACIS CAPITAL MANAGMENET GP, LLC


                                                       By: /s/ Robin Phelan
                                                           Robin Phelan
                                                           Chapter 11 Trustee




   APPROVED:                                                             APPROVED:

   /s/ Jeff P. Prostok                                                   /s/ Rahkee V. Patel
   Jeff P. Prostok – State Bar No. 16352500                              Rakhee V. Patel – State Bar No. 00797213
   J. Robert Forshey – State Bar No. 07264200                            Phillip Lamberson – State Bar No. 00794134
   Suzanne K. Rosen – State Bar No. 00798518                             Joe Wielebinski – State Bar No. 21432400
   Matthew G. Maben – State Bar No. 24037008                             Annmarie Chiarello – State Bar No. 24097496
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                                                                         achiarello@winstead.com
   COUNSEL FOR ROBIN PHELAN,
   CHAPTER 11 TRUSTEE                                                    SPECIAL COUNSEL FOR ROBIN PHELAN,
                                                                         CHAPTER 11 TRUSTEE




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               EXHIBIT “1”
       TO DISCLOSURE STATEMENT

             [Third Amended Joint Plan]
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


   IN RE:                                        §         Case No. 18-30264-SGJ-11
                                                 §         Case No. 18-30265-SGJ-11
   ACIS CAPITAL MANAGEMENT, L.P.,                §
   ACIS CAPITAL MANAGEMENT GP, LLC,              §         (Jointly Administered Under Case
                                                 §         No. 18-30264-SGJ-11)
                 DEBTORS.                        §
                                                 §         Chapter 11

        THIRD AMENDED JOINT PLAN FOR ACIS CAPITAL MANAGEMENT, L.P. AND
                      ACIS CAPITAL MANAGEMENT GP, LLC




   Jeff P. Prostok – State Bar No. 16352500           Rakhee V. Patel – State Bar No. 00797213
   J. Robert Forshey – State Bar No. 07264200         Phillip Lamberson – State Bar No. 00794134
   Suzanne K. Rosen – State Bar No. 00798518          Joe Wielebinski – State Bar No. 21432400
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                                                      achiarello@winstead.com
   COUNSEL FOR ROBIN PHELAN,
   CHAPTER 11 TRUSTEE                                 SPECIAL COUNSEL FOR ROBIN PHELAN,
                                                      CHAPTER 11 TRUSTEE




  DATED:        October 25, 2018
                Dallas, Texas
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                                              ARTICLE I.
                                             DEFINITIONS

         A.       Defined Terms. In addition to such other terms as are defined in other sections of
  the Plan, the following terms shall have the meanings set forth below (such meanings to be
  equally applicable to both the singular and plural, masculine and feminine forms of the terms
  defined).

  1.01.   “Acis CLOs” refers collectively to CLO-3, CLO-4, CLO-5, and CLO-6.

  1.02. “Acis GP” means Acis Capital Management, GP, LLC, one of the Debtors in the above-
  referenced Chapter 11 Cases.

  1.03. “Acis LP” means Acis Capital Management, LP, one of the Debtors in the above-
  referenced Chapter 11 Cases.

  1.04. “Administrative Bar Date” means the deadline to file Claims for Allowance as an
  Administrative Expense set forth in section 3.01(c) of the Plan.

  1.05. “Administrative Expense” means any cost or expense of administration of the Chapter 11
  Cases allowed under subsections 503(b) and 507(a)(1) of the Bankruptcy Code, including,
  without limitation, any actual and necessary expenses of preserving the Estate of the Debtors,
  any actual and necessary expenses of operating the business of the Debtors, all compensation
  or reimbursement of expenses to the extent allowed by the Bankruptcy Court under section 330
  or 503 of the Bankruptcy Code, and any fees or charges assessed against the estates of the
  Debtors under section 1930, chapter 123 of title 28 of the United States Code.

  1.06. “Affiliate” has the meaning ascribed to such term in section 101(2) of the Bankruptcy
  Code.

  1.07. “ALF PMA” means that certain Portfolio Management Agreement by and between Acis
  LP and Acis Loan Funding, Ltd. dated December 22, 2016.

  1.08. “Allowed,” when used with respect to a Claim (other than an Administrative Expense),
  means a Claim (a) to the extent it is not Contested; or (b) a Contested Claim, proof of which was
  filed timely with the Bankruptcy Court, and (i) as to which no Objection was filed by the
  Objection Deadline, or (ii) as to which an Objection was filed by the Objection Deadline, to the
  extent, if any, such Claim is ultimately allowed by a Final Order; provided, however, if a Claim is
  to be determined in a forum other than the Bankruptcy Court, such Claim shall not become
  Allowed until determined by Final Order of such other forum and allowed by Final Order of the
  Bankruptcy Court. “Allowed,” when used with respect to an Administrative Expense, shall mean
  an Administrative Expense approved by application to the Bankruptcy Court.

  1.09. “Assets” includes all right, title, and interest in and to all property of every type or nature
  owned or claimed by the Debtors as of the Petition Date, together with all such property of every
  type or nature subsequently acquired by the Debtors through the Effective Date, whether real or
  personal, tangible or intangible, and wherever located, and including, but not limited to, property
  as defined in section 541 of the Bankruptcy Code. Without limiting the foregoing, this shall
  include all



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  1.10. “Available Cash” means any Cash over and above the amount needed for the
  Reorganized Debtor to maintain business operations and pursue the Estate Claims, as
  determined in the sole discretion of the Reorganized Debtor.

  1.11. “Avoidance Action” means a cause of action assertable by the Debtors pursuant to
  Chapter 5 of the Bankruptcy Code, including without limitation, actions brought or which may be
  brought under sections 542, 543, 544, 545, 547, 548, 549, 550, or 553 of the Bankruptcy Code.
  Such causes of action may be asserted to recover, among other things, the transfers listed in
  the Debtors’ respective Schedules, including in response to Question 3 of the statements of
  financial affairs.

  1.12. “Ballot” means the form of ballot provided to holders of Claims or Interests entitled to
  vote pursuant to Bankruptcy Rule 3017(d), by which each such holder may accept or reject the
  Plan.

  1.13. “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended and codified
  at Title 11 of the United States Code.

  1.14. “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District
  of Texas, Dallas Division, or such other court having jurisdiction over all or any part of the
  Chapter 11 Cases.

  1.15. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as amended
  from time to time, as applicable to the Chapter 11 Cases, including applicable local rules of the
  Bankruptcy Court.

  1.16.   “Brigade” means Brigade Capital Management, LP.

  1.17. “Business Day” means any day other than Saturday, Sunday, a legal holiday, or a day
  on which national banking institutions in Texas are authorized or obligated by law or executive
  order to close.

  1.18. “Cash” means legal tender of the United States of America, cash equivalents and other
  readily marketable securities or instruments, including, but not limited to, readily marketable
  direct obligations of the United States of America, certificates of deposit issued by banks or
  commercial paper.

  1.19. “Chapter 11 Cases” refers collectively to the Acis LP bankruptcy case, Case No. 18-
  30264-sgj11, and the Acis GP bankruptcy case, Case No. 18-30265-sgj11, which are being
  jointly administered under Case No. 18-30264-sgj11.

  1.20.   “Chapter 11 Trustee” refers to Robin Phelan, the chapter 11 trustee for the Debtors.

  1.21. “Claim” means (a) a right to payment, whether or not such right is reduced to judgment,
  liquidated, unliquidated, fixed, contingent, matured, unmatured (including potential and
  unmatured tort and contract claims), disputed, undisputed, legal, equitable, secured or
  unsecured, or (b) a right to an equitable remedy for breach of performance if such breach gives
  rise to a right of payment, whether or not such right to an equitable remedy is reduced to
  judgment, fixed, contingent, matured, unmatured (including potential and unmatured tort and
  contract claims), disputed, undisputed, secured or unsecured.


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  1.22.   “Claimant” means the holder of a Claim.

  1.23.   “Class” means a class of Claims or Interests as described in the Plan.

  1.24.   “CLO” means collateralized loan obligations.

  1.25.   “CLO-1” means Acis CLO 2013-1 LTD.

  1.26. “CLO-1 Indenture” means that certain Indenture, dated as of March 18, 2013, issued by
  CLO-1, as issuer, Acis CLO 2013-1 LLC, as co-Issuer and US Bank, as Indenture Trustee.

  1.27. “CLO-1 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-1, dated March 18, 2013.

  1.28.   “CLO-3” means Acis CLO 2014-3 LTD.

  1.29. “CLO-3 Indenture” means that certain Indenture, dated as of February 25, 2014, issued
  by CLO-3, as issuer, Acis CLO 2014-3 LLC, as co-Issuer and US Bank, as Indenture Trustee

  1.30. “CLO-3 PMA” means that certain Portfolio Management Agreement by and between Acis
  LP and CLO-3, dated February 25, 2014.

  1.31.   “CLO-4” means Acis CLO 2014-4 LTD.

  1.32. “CLO-4 Indenture” means that certain Indenture, dated as of June 5, 2014, issued by
  CLO-4, as issuer, Acis CLO 2014-4 LLC, as co-Issuer and US Bank, as Indenture Trustee.

  1.33. “CLO-4 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-4, dated June 5, 2014.

  1.34.   “CLO-5” means Acis CLO 2014-5 LTD.

  1.35. “CLO-5 Indenture” means that certain Indenture, dated as of November 18, 2014,
  issued by CLO-5, as issuer, Acis CLO 2014-5 LLC, as co-Issuer and US Bank, as Indenture
  Trustee.

  1.36. “CLO-5 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-5, dated November 18, 2014.

  1.37.   “CLO-6” means Acis CLO 2015-6 LTD.

  1.38. “CLO-6 Indenture” means that certain Indenture, dated as of April 16, 2015, issued by
  CLO-6, as issuer, Acis CLO 2015-6 LLC, as co-Issuer and US Bank, as Indenture Trustee.

  1.39. “CLO-6 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-6, dated April 16, 2015.

  1.40.   “CLO Holdco” means CLO Holdco, Ltd.

  1.41. “Collateral” means any Asset subject to a valid and enforceable Lien to secure payment
  of a Claim.

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  1.42.   “Confirmation Date” means the date of entry of the Confirmation Order.

  1.43. “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court pursuant
  to section 1128 of the Bankruptcy Code and Bankruptcy Rule 3020(b) to consider confirmation
  of the Plan, as such hearing may be continued from time to time.

  1.44. “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan in
  accordance with the provisions of Chapter 11 of the Bankruptcy Code.

  1.45. “Contested,” when used with respect to a Claim, means a Claim against the Debtors that
  is listed in the Debtors’ Schedules as disputed, contingent, or unliquidated; that is listed in the
  Debtors’ Schedules as undisputed, liquidated, and not contingent and as to which a proof of
  Claim has been filed with the Bankruptcy Court, to the extent the proof of Claim amount
  exceeds the scheduled amount; that is not listed in the Debtors’ Schedules, but as to which a
  proof of Claim has been filed with the Bankruptcy Court; or as to which an objection has been or
  may be timely filed and has not been denied by Final Order. To the extent an objection relates
  to the allowance of only a part of a Claim, such Claim shall be a Contested Claim only to the
  extent of the objection.

  1.46.   “Creditor” means a “creditor,” as defined in section 101(10) of the Bankruptcy Code.

  1.47. “Cure Claim” means the payment or other performance required to cure any existing
  default under an Executory Contract or Unexpired Lease.

  1.48. “Debtors” means, collectively, Acis GP and Acis LP, the debtors in the above-captioned
  Chapter 11 Cases.

  1.49. “Disallowed,” when used with respect to all or any part of a Claim or Interest, means that
  portion of a Claim or Interest to which an objection or motion to disallow has been sustained by
  a Final Order.

  1.50. “Disclosure Statement” means the Disclosure Statement filed with respect to the Plan,
  as it may be amended, modified, or supplemented from time to time.

  1.51. “Distribution” means any payment or other disbursement of property pursuant to the
  Plan.

  1.52. “Effective Date” means the first Business Day which is fourteen (14) days after the
  Confirmation Date if the Confirmation Order is not stayed or, if the Confirmation Order is stayed,
  the first Business Day following the lifting, dissolution, or removal of such stay which is at least
  fourteen (14) Business Days after the Confirmation Date, and upon which all conditions to the
  effectiveness of the Plan set forth in Article XIII below are satisfied.

  1.53. “Estate” shall collectively refer to the bankruptcy estates of the Debtors in the Chapter 11
  Cases.

  1.54. “Estate Accounts Receivable” shall include all accounts receivable of the Estate,
  including from all sums payable to the Debtors on account of goods or services provided by the
  Debtors.



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  1.55. “Estate Claims” shall include all claims and causes of action held by the Debtors’ Estate,
  including, without limitation, the Estate Claims listed on the attached Exhibit A and all
  Avoidance Actions.

  1.56. ““Estate Defenses” means all defenses, affirmative defenses, counterclaims, or offsets
  by the Debtors’ Estate against any Person, including but not limited to any Creditor.

  1.57. “Estate Insurance” means any insurance policy or interest in an insurance policy in
  which the Estate has an interest or rights.

  1.58. “Estate Professionals” means those Persons employed pursuant to an order of the
  Bankruptcy Court in accordance with sections 327, 328, and 1103 of the Bankruptcy Code or
  who are entitled to compensation or reimbursement pursuant to sections 503(b)(3)(D) or 506(b)
  of the Bankruptcy Code.

  1.59. “Executory Contract” means any executory contract which is subject to section 365 of
  the Bankruptcy Code and which is not an Unexpired Lease.

  1.60. “Final Order” means an order or judgment of the Bankruptcy Court or any other court or
  adjudicative body, as to which the time to appeal or seek rehearing or petition for certiorari shall
  have expired or which order or judgment shall no longer be subject to appeal, rehearing, or
  certiorari proceeding and with respect to which no appeal, motion for rehearing, or certiorari
  proceeding or stay shall then be pending.

  1.61. “General Unsecured Claim” means any Claim against the Debtors that is not an
  Administrative Expense, Priority Tax Claim, Priority Non-Tax Claim, Secured Tax Claim,
  Secured Claim, or Insider Claim, but includes any Rejection Claims pursuant to section 502(g)
  of the Bankruptcy Code.

  1.62. “Governmental Unit” means a “governmental unit” as such term is defined in section
  101(27) of the Bankruptcy Code.

  1.63.   “HCLOF” means Highland CLO Funding, Ltd.

  1.64.   “Highland” means Highland Capital Management, L.P.

  1.65.   “Highland Adversary” means Adversary Proceeding No. 18-03078-sgj.

  1.66. “Highland Claim” means all Claims asserted by Highland or any Affiliates of Highland
  against the Debtors, including any Claim resulting from the termination of the Sub-Advisory
  Agreement and Shared Services Agreement.

  1.67.   “Highland CLOM” means Highland CLO Management, Ltd.

  1.68.   “Highland HCF” means Highland HCF Advisors, Ltd.

  1.69. “Impaired” means, when used with reference to a Claim or Interest, a Claim or Interest
  that is impaired within the meaning of section 1124 of the Bankruptcy Code.

  1.70. “Indentures” refers collectively to the CLO-1 Indenture, the CLO-3 Indenture, the CLO-4
  Indenture, the CLO-5 Indenture, and the CLO-6 Indenture.

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  1.71. “Indenture Trustee” refers to US Bank solely in its capacity as Indenture Trustee under
  the CLO-1 Indenture, the CLO-3 Indenture, the CLO-4 Indenture, the CLO-5 Indenture and the
  CLO-6 Indenture, as applicable

  1.72. “Initial Distribution Date,” when used with respect to any Contested Claim or Rejection
  Claim, shall mean the later of (i) the first Business Day at least thirty (30) days after the date on
  which any such Contested Claim or Rejection Claim becomes an Allowed Claim, or (ii) if the
  payment terms of Article IV of this Plan applicable to each such Claim specify a different date,
  then the date as calculated pursuant to the terms of Article IV of this Plan applicable to each
  such Claim. The Initial Distribution Date shall be separately determined with respect to each
  Contested Claim or Rejection Claim based upon the date each such Claim becomes an Allowed
  Claim.

  1.73.   “Insider" means a Person described in section 101(31) of the Bankruptcy Code.

  1.74. “Insider Claim” means any Claim asserted by Insiders of the Debtors, including but not
  limited to any Claim asserted by Highland or any Affiliate thereof, unless otherwise indicated in
  the Plan.

  1.75.   “Interests” means any equity or stock ownership interest in the Debtors.

  1.76. “Issuers and Co-Issuers” means CLO-1, CLO-3, CLO-4, CLO-5, CLO-6, Acis CLO 2013-
  1, Acis CLO-2014-3, LLC, Acis CLO 2014-4, LLC, Acis CLO 2014-5, LLC, and Acis 2015-6,
  LLC.

  1.77. “Lien” means any mortgage, lien, charge, security interest, encumbrance, or other
  security device of any kind affecting any asset or property of the Debtors contemplated by
  section 101(37) of the Bankruptcy Code.

  1.78. “Management Fees” shall, when used in relation to any of the Acis CLOs, have the
  meaning set forth in the applicable Indenture.

  1.79.   “Neutra” means Neutra, Ltd.

  1.80. “Objection” means (a) an objection to the allowance of a Claim interposed by any party
  entitled to do so within the applicable period of limitation fixed by the Plan, the Bankruptcy
  Code, the Bankruptcy Rules, or the Bankruptcy Court, and (b) as to any Taxing Authority, a
  proceeding commenced under section 505 of the Bankruptcy Code to determine the legality or
  amount of any tax.

  1.81. “Objection Deadline” shall mean the later of (a) ninety (90) days following the Effective
  Date, unless otherwise extended by order of the Bankruptcy Court, or (b) as to any Rejection
  Claim filed after the Effective Date, ninety (90) days after the date on which the proof of Claim
  reflecting the Rejection Claim is filed.

  1.82. “Optional Redemption” shall, when used in relation to any of the Acis CLOs, have the
  meaning set forth in the applicable Indenture.

  1.83. “Person” means any individual, corporation, general partnership, limited partnership,
  association, joint stock company, joint venture, estate, trust, unincorporated organization,
  government, or any political subdivision thereof or other entity.

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  1.84.   “Petition Date” means January 30, 2018.

  1.85. “Plan” means this Third Amended Joint Chapter 11 plan, either in its present form or as it
  may be altered, amended, or modified from time to time.

  1.86. “Plan Documents” means the documents that aid in effectuating the Plan as specifically
  identified as such herein and filed with the Bankruptcy Court.

  1.87.   “Plan Rate” means a rate of interest of five percent (5%) per annum.

  1.88. “PMAs” refers collectively to the CLO-1 PMA, CLO-3 PMA, CLO-4 PMA, CLO-5 PMA,
  and CLO-6 PMA.

  1.89. “Priority Claim” means a Claim (other than a Claim for an Administrative Expense) to the
  extent that it is entitled to priority in payment under section 507(a) of the Bankruptcy Code.

  1.90.   “Priority Non-Tax Claim” means a Priority Claim other than a Priority Tax Claim.

  1.91. “Priority Tax Claim” means a Claim of a Governmental Unit of the kind specified in
  subsection 507(a)(8) of the Bankruptcy Code.

  1.92. “Professional” means those persons retained pursuant to an order of the Bankruptcy
  Court in accordance with sections 327 and 1103 of the Bankruptcy Code.

  1.93. “Pro Rata Distribution” means an optional Distribution made in accordance with section
  4.03(c), 4.04(e), or 4.04(i) of the Plan. Each Creditor entitled to receive a portion of a Pro Rata
  Distribution shall receive such Creditor’s Pro Rata Share of such Distribution.

  1.94. “Pro Rata Share’ means, as to the holder of a specific Claim, the ratio that the amount of
  such holder’s Claim bears to the aggregate amount of all Claims included in the particular Class
  or category in which such holder’s Claim is included.

  1.95. “Refinancing Proceeds” shall, when used in relation to any of the Acis CLOs, have the
  meaning set forth in the applicable Indenture.

  1.96. “Rejection Claim” means a Claim arising under section 502(g) of the Bankruptcy Code
  as a consequence of the rejection of any Executory Contract or Unexpired Lease.

  1.97. “Reorganized Debtor” refers collectively to the Debtors, as reorganized, acting from and
  after the Effective Date if the Plan is confirmed based on the terms and provisions herein.

  1.98. “Reserve” or “Reserves” means any reserves set aside by the Reorganized Debtor
  pursuant to this Plan, including reserves set aside to fund any Distributions, make payments
  pursuant to the Plan, or pursue the Estate Claims.

  1.99. “Schedules” means the schedules of assets and liabilities and the statements of financial
  affairs filed by the Debtors as required by section 521 of the Bankruptcy Code and Bankruptcy
  Rule 1007, as such schedules or statements have been or may be subsequently amended.

  1.100. “Secured Claim” means (a) a Claim secured by a lien on any Assets, which lien is valid,
  perfected, and enforceable under applicable law and is not subject to avoidance under the
  Bankruptcy Code or applicable nonbankruptcy law, and which is duly Allowed, but only to the
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  extent of the value of the holder’s interest in the Collateral that secures payment of the Claim;
  (b) a Claim against the Debtors that is subject to a valid right of recoupment or setoff under
  section 553 of the Bankruptcy Code, but only to the extent of the Allowed amount subject to
  recoupment or setoff as provided in section 506(a) of the Bankruptcy Code; and (c) a Claim
  deemed or treated under the Plan as a Secured Claim; provided, that, to the extent that the
  value of such interest is less than the amount of the Claim which has the benefit of such
  security, the unsecured portion of such Claim shall be treated as a General Unsecured Claim
  unless, in any such case the Class of which the Claim is a part makes a valid and timely
  election in accordance with section 1111(b) of the Bankruptcy Code to have such Claim treated
  as a Secured Claim to the extent Allowed.

  1.101. “Secured Tax Claim” means any ad valorem tax Claim that arises or is deemed to have
  arisen on or before the Petition Date, irrespective of the date on which such Claim is assessed
  or due.

  1.102. “Shared Services Agreement” means that certain Fourth Amended and Restated Shared
  Services Agreement by and between Acis LP and Highland dated March 17, 2017.

  1.103. “Sub-Advisory Agreement” means that certain Third Amended and Restated Sub-
  Advisory Agreement by and between Acis LP and Highland dated March 17, 2017

  1.104. “Subordinated Notes” means the subordinated notes in the Acis CLOs held by HCLOF,
  and expressly does not include any subordinated notes in the Acis CLOs held by any other
  party.

  1.105. “Substantial Consummation” means the day on which a Creditor first receives a
  Distribution of any kind under the terms and provisions of the Plan.

  1.106. “Taxing Authority” shall include the State of Texas or any subdivision thereof, including
  without limitation any political subdivision of the State of Texas assessing ad valorem taxes
  against any of the Assets.

  1.107. “Terry” means Joshua N. Terry.

  1.108. “Terry Partially Secured Claim” means any Claim asserted against the Debtors by Terry,
  including as asserted in Proof of Claim No. 1 in both Chapter 11 Cases and Proof of Claim No.
  26 against Acis LP.

  1.109. “Unclaimed Property” means any cash, Distribution, or any other property of the Debtors
  unclaimed for a period of one (1) year after the applicable Initial Distribution Date.

  1.110. “Unexpired Lease” means any unexpired lease or agreement which is subject to section
  365 of the Bankruptcy Code and which is not an Executory Contract.

  1.111. “US Bank” means U.S. Bank National Association.

  1.112. “Other Acis-Managed Funds” refers collectively to CLO-1, Acis CLO 2013-2, Ltd.,
  Hewitt’s Island CLO 1-R, Ltd, and BayVK R2 Lux S.A., SICAV-FIS.

         B.      Interpretation. Unless otherwise specified, all section, article and exhibit
  references in the Plan are to the respective section in, article of, or exhibit to, the Plan, as the

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  same may be amended, waived, or modified from time to time. The headings in the Plan are for
  convenience and reference only and shall not limit or otherwise affect the provisions hereof. The
  rules of construction set forth in section 102 of the Bankruptcy Code, other than section 102(5)
  of the Bankruptcy Code, apply to construction of the Plan. For the purposes of construction of
  the Plan, “or” is disjunctive.

           C.      Other Terms. The words “herein,” “hereof,” “hereto,” “hereunder,” and others of
  similar import refer to the Plan as a whole and not to any particular section, subsection, or
  clause contained in the Plan. References herein to “after notice and hearing” or other similar
  language shall have the same meaning as in section 102(1) of the Bankruptcy Code. Otherwise,
  a term used herein that is not specifically defined herein shall have the meaning ascribed to that
  term, if any, in the Bankruptcy Code.

          D.     Exhibits and Plan Documents. All Exhibits to the Plan and all Plan Documents
  are incorporated into the Plan by this reference and are a part of the Plan as if set forth in full
  herein. Any Plan Documents may be filed with the Clerk of the Bankruptcy Court prior to the
  commencement of the Confirmation Hearing. Holders of Claims and Interests may obtain a copy
  of the Plan Documents, once filed, by a written request sent to the following address: Forshey &
  Prostok, LLP, 777 Main Street, Suite 1290, Fort Worth, Texas 76102, Attention: Linda
  Breedlove; Fax number (817) 877-4151; email: lbreedlove@forsheyprostok.com.

                                        ARTICLE II.
                          CLASSIFICATION OF CLAIMS AND INTERESTS

  2.01. The following is a designation of the Classes of Claims and Interests under the Plan.
  Administrative Expenses, Priority Claims of the kinds specified in sections 507(a)(2) and
  507(a)(3) of the Bankruptcy Code and Priority Tax Claims have not been classified, are
  excluded from the following Classes in accordance with section 1123(a)(1) of the Bankruptcy
  Code, and their treatment is set forth in Article III of the Plan. A Claim shall be deemed
  classified in a particular Class only to the extent that the Claim qualifies within the description of
  that Class. A Claim is included in a particular Class only to the extent that the Claim is an
  Allowed Claim in that Class.

                             Class 1 – Secured Tax Claims
                             Class 2 – Terry Partially Secured Claim
                             Class 3 – General Unsecured Claims
                             Class 4 – Insider Claims
                             Class 5 – Interests

  2.02. Impaired Classes of Claims and Interests. Class 1 is unimpaired. Classes 2 through 5
  are Impaired.

  2.03. Impairment or Classification Controversies. If a controversy arises as to the classification
  of any Claim or Interest, or as to whether any Class of Claims or Interests is Impaired under the
  Plan, the Bankruptcy Court shall determine such controversy as a part of the confirmation
  process.

                                        ARTICLE III.
                             TREATMENT OF UNCLASSIFIED CLAIMS

  3.01.   Administrative Expenses

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           (a)     The Reorganized Debtor shall pay, in accordance with the ordinary business
  terms applicable to each such expense or cost, the reasonable and ordinary expenses incurred
  in operating the Debtors’ businesses or administering the Estate before the Effective Date
  (“Ordinary Course Claims”). The remaining provisions of this section 3.01 shall not apply to the
  Ordinary Course Claims, except that if there is a dispute relating to any such Ordinary Course
  Claim, the Reorganized Debtor may move the Bankruptcy Court to apply the provisions of
  Article III below relating to Contested Claims and require the holder of the Contested Ordinary
  Course Claim to assert such Claim through the Chapter 11 Cases.

          (b)    Each holder of an Allowed Administrative Expense (other than Ordinary Course
  Claims and Administrative Expense Claims by Estate Professionals), shall receive (i) the
  amount of such holder's Allowed Administrative Expense in one Cash payment on the later of
  the Effective Date or the tenth (10th) Business Day after such Administrative Expense becomes
  an Allowed Administrative Expense, or (ii) such other treatment as may be agreed to in writing
  by such Administrative Expense Creditor and the Reorganized Debtor, or as otherwise ordered
  by the Bankruptcy Court.

         (c)       Unless the Bankruptcy Court orders to the contrary or the Reorganized Debtor
  agrees to the contrary in writing, the holder of a Claim for an Administrative Expense, other than
  such a Claim by an Estate Professional, an Ordinary Course Claim, or an Administrative
  Expense which is already Allowed, shall file with the Bankruptcy Court and serve upon the
  Reorganized Debtor and its counsel a written notice of such Claim for an Administrative
  Expense within thirty (30) days after the Effective Date. This deadline is the “Administrative Bar
  Date.” Such notice shall include at a minimum: (i) the name, address, telephone number and
  fax number (if applicable) or email address of the holder of such Claim, (ii) the amount of such
  Claim, and (iii) the basis of such Claim. Failure to timely and properly file and serve such
  notice by the Administrative Bar Date shall result in such Claim for an Administrative
  Expense being forever barred and discharged and the holder thereof shall be barred from
  receiving any Distribution from the Reorganized Debtor on account of such Claim for an
  Administrative Expense.

         (d)       A Claim for an Administrative Expense, for which a proper notice was filed and
  served under subsection 3.01(c) above, shall become an Allowed Administrative Expense if no
  Objection is filed within thirty (30) days of the filing and service of such notice. If a timely
  Objection is filed, the Claim shall become an Allowed Administrative Expense only to the extent
  allowed by a Final Order.

           (e)    The procedures contained in subsections 3.01(a), (c) and (d) above shall not
  apply to Administrative Expense Claims asserted by Estate Professionals, who shall each file
  and submit an appropriate final fee application to the Bankruptcy Court no later than sixty (60)
  days after the Effective Date. A Claim for an Administrative Expense by an Estate Professional
  in respect of which a final fee application has been properly filed and served shall become an
  Allowed Administrative Expense only to the extent Allowed by order of the Bankruptcy Court
  and, if so Allowed, shall be paid in accordance with subsection 3.01(b) above. Professional
  fees and expenses to any Estate Professional incurred on or after the Effective Date may be
  paid by the Reorganized Debtor without necessity of application to or order by the Bankruptcy
  Court.

         (f)    If the Reorganized Debtor asserts any Estate Claims as counterclaims or
  defenses to a Claim for Administrative Expense, the Administrative Expense Claim shall be
  determined through an adversary proceeding before the Bankruptcy Court. The Bankruptcy

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  Court shall have exclusive jurisdiction to adjudicate and Allow all Claims for any Administrative
  Expense.

  3.02. Priority Non-Tax Claims. Each holder of an Allowed Priority Non-Tax Claim shall receive
  (i) the amount of such holder's Allowed Priority Non-Tax Payment in one Cash payment on the
  later of the Effective Date or the tenth (10th) Business Day after such Priority Non-Tax Claim
  becomes an Allowed Priority Non-Tax Claim and a determination has been made that such
  Allowed Priority Non-Tax Claim is not subject to equitable subordination under section 510(c) of
  the Bankruptcy Code, or (ii) such other treatment as may be agreed to in writing by such
  Administrative Expense Creditor and the Reorganized Debtor, or as otherwise ordered by the
  Bankruptcy Court.

  3.03. Priority Tax Claims. Each holder of an Allowed Priority Tax Claim shall receive (a) one
  Cash payment in an amount equal to the principal amount of such Allowed Priority Tax Claim,
  plus interest at the rate and in the manner prescribed by applicable state law from the later of
  the Petition Date or the first day after the last day on which such Priority Tax Claim may be paid
  without penalty, no later than sixty (60) days after each such Claim becomes an Allowed Claim,
  or (b) such other treatment as may be agreed to in writing by the holder of the Priority Tax Claim
  and the Reorganized Debtor.

  3.04. U.S. Trustee’s Fees. The Reorganized Debtor shall pay the U.S. Trustee’s quarterly fees
  incurred pursuant to 28 U.S.C. § 1930(a)(6) which are due as of the Confirmation Date in full on
  the Effective Date or as soon thereafter as is practicable. After the Confirmation Date, the
  Reorganized Debtor shall continue to pay quarterly fees as they accrue until a final decree is
  entered and the Chapter 11 Cases are closed. The Reorganized Debtor shall file with the
  Bankruptcy Court and serve on the U.S. Trustee quarterly financial reports for each quarter, or
  portion thereof, that the Chapter 11 Cases remain open.

                                    ARTICLE IV.
                    TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

  4.01. Class 1 – Secured Tax Claims. Each holder of an Allowed Secured Tax Claim shall
  receive (a) one Cash payment in an amount equal to the principal amount of such Allowed
  Secured Tax Claim, plus interest at the rate and in the manner prescribed by applicable state
  law from the later of the Petition Date or the first day after the last day on which such Secured
  Tax Claim may be paid without penalty, on the Initial Distribution Date, or (b) such other
  treatment as may be agreed to in writing by the holder of the Secured Tax Claim and the
  Reorganized Debtor. The Liens securing such Secured Tax Claims shall remain unimpaired
  and unaffected until each such Class 1 Claim is paid in full. All Distributions on account of
  Allowed Class 1 Claims shall be made by the Reorganized Debtor. Class 1 is unimpaired.
  Holders of Class 1 Claims are conclusively presumed to have accepted the Plan and,
  accordingly, are not entitled to vote on the Plan.

  4.02. Class 2 – Terry Partially Secured Claim. In exchange for a one million dollar
  ($1,000,000.00) reduction in the amount of the Terry Partially Secured Claim, Terry shall
  receive one hundred percent (100%) of the equity interests in the Reorganized Debtor as of the
  Effective Date. The remaining balance of any Allowed Terry Partially Secured Claim shall be
  treated and paid as a Class 3 General Unsecured Claim. Class 2 is Impaired. The Holder of
  the Class 2 Terry Partially Secured Claim is entitled to vote on the Plan.

  4.03.   Class 3 – General Unsecured Claims.

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          (a)     Each holder of an Allowed General Unsecured Claim shall receive a promissory
  note issued by the Reorganized Debtor (each an “Unsecured Cash Flow Note”) on the later of
  (a) that date that is as soon as practicable after the Effective Date, or (b) that date that is as
  soon as practicable after such holder’s General Unsecured Claim becomes an Allowed Class 3
  Claim. Each Unsecured Cash Flow Note shall be dated as of the Effective Date, bear interest at
  the Plan Rate and shall mature on that date that is the three (3) years after the Effective Date.

           (b)     To the extent of Available Cash, the Reorganized Debtor shall make substantially
  equal quarterly Distributions of principal and accrued interest to each holder of an Unsecured
  Cash Flow Note, with the first such quarterly Distribution being due and payable on the 180th
  day after the Effective Date. Thereafter, like Distributions shall be made each quarter by the
  Reorganized Debtor until the Unsecured Cash Flow Note is paid in full. Notwithstanding the
  foregoing, in the event that an Unsecured Cash Flow Note is first issued more than one hundred
  eighty (180) days after the Effective Date, the first Distribution made on account of such
  Unsecured Cash Flow Note shall be made upon the date that the next Distribution would
  otherwise be due, but such first Distribution shall also include amounts that would have been
  distributed to the holder of such Unsecured Cash Flow Note had such Unsecured Cash Flow
  Note been issued prior to ninety (90) days after the Effective Date, such that the first Distribution
  shall bring all payments current on account of such Unsecured Cash Flow Note. If on any date
  on which a quarterly Distribution is due to the holder of an Unsecured Cash Flow Note the
  remaining principal and accrued interest owing on account of such Unsecured Cash Flow Note
  is less than the regular quarterly Distribution amount, the Reorganized Debtor shall make a
  Distribution to the holder of such Unsecured Cash Flow Note in an amount sufficient to fully
  satisfy the remaining principal and accrued interest owed, but no more. Nothing contained
  herein shall preclude the Reorganized Debtor from prepaying any Unsecured Cash Flow Note.

          (c)    If the Reorganized Debtor obtains additional Cash, through litigation recoveries
  or otherwise, and the Reorganized Debtor determines, in its sole discretion, that the
  Reorganized Debtor holds Available Cash sufficient to allow one or more Pro Rata Distributions
  to be made to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims, the
  Reorganized Debtor may, but shall not be required to, make one or more Pro Rata Distributions
  to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims. The amount of the Pro
  Rata Distribution made to each such holder shall be determined as if Class 3 and Subclass 4A
  constituted a single Class. Any such additional Distributions shall be applied to reduce the
  outstanding balance of each holder’s Unsecured Cash Flow Note.

          (d)    Class 3 is Impaired. Holders of Class 3 Claims are entitled to vote on the Plan.

  4.04.   Class 4 – Insider Claims. Holders of Class 4 Insider Claims shall be treated as follows:

          (a)     Class 4 Claims shall be divided into two (2) subclasses. Subclass 4A shall
  consist of all Allowed Class 4 claims which are not subject to equitable subordination. Subclass
  4B shall consist of all Class 4 claims which are determined by the Bankruptcy Court to be
  subject to equitable subordination. If only a part of a Class 4 Claim is subject to equitable
  subordination, then the portion of such claim subject to equitable subordination shall be included
  in Subclass 4B and the remainder not subject to equitable subordination shall be included in
  Subclass 4A. Subclass 4A and Subclass 4B will vote separately on the Plan, although Subclass
  4B is currently an empty class.




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          (b)     All Class 4 Claims (regardless of which subclass) shall be and remain subject to
  all Estate Defenses and all Estate Claims, including any rights of offset, recoupment, and/or to
  an affirmative recovery against the Holder of any Class 4 Claim.

          (c)     Each holder of an Allowed Subclass 4A Claim shall receive an Unsecured Cash
  Flow Note on the later of (a) that date that is as soon as practicable after the Effective Date, or
  (b) that date that is as soon as practicable after such holder’s Subclass 4A Claim becomes an
  Allowed Subclass 4A Claim. Each Unsecured Cash Flow Note shall be dated as of the Effective
  Date, bear interest at the Plan Rate and shall mature on that date that is the three (3) years
  after the Effective Date.

           (d)     To the extent of Available Cash, the Reorganized Debtor shall make substantially
  equal quarterly Distributions of principal and accrued interest to each holder of an Unsecured
  Cash Flow Note, with the first such quarterly Distribution being due and payable on the 180th
  day after the Effective Date. Thereafter, like Distributions shall be made each quarter by the
  Reorganized Debtor until the Unsecured Cash Flow Note is paid in full. Notwithstanding the
  foregoing, in the event that an Unsecured Cash Flow Note is first issued more than one hundred
  eighty (180) days after the Effective Date, the first Distribution made on account of such
  Unsecured Cash Flow Note shall be made upon the date that the next Distribution would
  otherwise be due, but such first Distribution shall also include amounts that would have been
  distributed to the holder of such Unsecured Cash Flow Note had such Unsecured Cash Flow
  Note been issued prior to ninety (90) days after the Effective Date, such that the first Distribution
  shall bring all payments current on account of such Unsecured Cash Flow Note. If on any date
  on which a quarterly Distribution is due to the holder of an Unsecured Cash Flow Note the
  remaining principal and accrued interest owing on account of such Unsecured Cash Flow Note
  is less than the regular quarterly Distribution amount, the Reorganized Debtor shall make a
  Distribution to the holder of such Unsecured Cash Flow Note in an amount sufficient to fully
  satisfy the remaining principal and accrued interest owed, but no more. Nothing contained
  herein shall preclude the Reorganized Debtor from prepaying any Unsecured Cash Flow Note.

          (e)    If the Reorganized Debtor obtains additional Cash, through litigation recoveries
  or otherwise, and the Reorganized Debtor determines, in its sole discretion, that the
  Reorganized Debtor holds Available Cash sufficient to allow one or more Pro Rata Distributions
  to be made to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims, the
  Reorganized Debtor may, but shall not be required to, make one or more Pro Rata Distributions
  to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims. The amount of the Pro
  Rata Distribution made to each such holder shall be determined as if Class 3 and Subclass 4A
  constituted a single Class. Any such additional Distributions shall be applied to reduce the
  outstanding balance of each holder’s Unsecured Cash Flow Note.

         (f)    Unless otherwise provided by Order of the Bankruptcy Court, holders of Allowed
  Subclass 4B claims shall not be entitled to any Distribution from the Reorganized Debtor until all
  Allowed Claims included in Classes 1 through 3 and Subclass 4A, including all Unsecured Cash
  Flow Notes, have been paid in full.

           (g)     Holders of Allowed Subclass 4B Claims shall receive a subordinated promissory
  note issued by the Reorganized Debtor (“Subordinated Unsecured Cash Flow Note”) on the
  later of (a) that date that is as soon as practicable after the Effective Date, or (b) that date that is
  as soon as practicable after such holder’s Subclass 4A Claim becomes an Allowed Subclass 4A
  Claim. Each Subordinated Unsecured Cash Flow Note shall be dated as of the Effective Date,
  bear interest at the Plan Rate and shall mature on the earlier to occur of (i) the date that is two

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  (2) years after the date all Unsecured Cash Flow Notes have been paid in full, or (ii) five (5)
  years after the Effective Date.

          (h)    To the extent of Available Cash, the Reorganized Debtor shall make substantially
  equal quarterly Distributions of principal and accrued interest to each holder of a Subordinated
  Unsecured Cash Flow Note, with the first such quarterly Distribution being due and payable on
  the 90th day after the payment in full of the Unsecured Cash Flow Notes. Thereafter, like
  Distributions shall be made each quarter by the Reorganized Debtor until the Subordinated
  Unsecured Cash Flow Note is paid in full. Notwithstanding the foregoing, in the event that a
  Subordinated Unsecured Cash Flow Note is first issued after payments have been made on one
  or more other Subordinated Unsecured Cash Flow Notes, the first Distribution made on account
  of such Subordinated Unsecured Cash Flow Note shall be made upon the date that the next
  Distribution would otherwise be due, but such first Distribution shall also include amounts that
  would have been distributed to the holder of such Subordinated Unsecured Cash Flow Note had
  such Subordinated Unsecured Cash Flow Note been issued at the time the first payment on any
  Subordinated Unsecured Cash Flow Note was made, such that the first Distribution shall bring
  all payments current on account of such Subordinated Unsecured Cash Flow Note. If on any
  date on which a quarterly Distribution is due to the holder of a Subordinated Unsecured Cash
  Flow Note the remaining principal and accrued interest owing on account of such Subordinated
  Unsecured Cash Flow Note is less than the regular quarterly Distribution amount, the
  Reorganized Debtor shall make a Distribution to the holder of such Subordinated Unsecured
  Cash Flow Note in an amount sufficient to fully satisfy the remaining principal and accrued
  interest owed, but no more. Nothing contained herein shall preclude the Reorganized Debtor
  from prepaying any Subordinated Unsecured Cash Flow Note.

          (i)     Subject to section 4.04(f) above, if the Reorganized Debtor obtains additional
  Cash, through litigation recoveries or otherwise, and the Reorganized Debtor determines, in its
  sole discretion, that the Reorganized Debtor holds Available Cash sufficient to allow one or
  more Pro Rata Distributions to be made to holders of Allowed Subclass 4B Claims, the
  Reorganized Debtor may, but shall not be required to, make one or more Pro Rata Distributions
  to holders of Allowed Subclass 4B Claims. Any such additional Distributions shall be applied to
  reduce the outstanding balance of each holder’s Subordinated Unsecured Cash Flow Note.

        (j)     The Reorganized Debtor may establish appropriate Reserves as to any
  Contested Claim included in Class 4.

         (k)     Class 4 is Impaired. Holders of Class 4 Claims are entitled to vote on the Plan.

  4.05. Class 5 – Interests. All Interests in the Debtors shall be extinguished and shall cease to
  exist as of the Effective Date. The holders of such Interests shall not receive or retain any
  property on account of such Interests under the Plan. Class 5 is Impaired. Holders of Class 5
  Interests are conclusively presumed to have rejected the Plan and, accordingly, are not entitled
  to vote on the Plan.

                                      ARTICLE V.
                          ACCEPTANCE OR REJECTION OF THE PLAN

  5.01. Classes Entitled to Vote. Creditors in Classes 2 through 4 are entitled to vote and shall
  vote separately to accept or reject the Plan. Any unimpaired Class shall not be entitled to vote
  to accept or reject the Plan. Any unimpaired Class is deemed to have accepted the Plan under
  section 1126(f) of the Bankruptcy Code.

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  5.02. Class Acceptance Requirement. A Class of Claims shall have accepted the Plan if it is
  accepted by at least two-thirds (2/3) in amount and more than one-half (1/2) in number of the
  Allowed Claims in such Class that have voted on the Plan.

  5.03. Cramdown. This section shall constitute the request by the Plan proponent, pursuant to
  section 1129(b) of the Bankruptcy Code, that the Bankruptcy Court confirm the Plan
  notwithstanding the fact that the requirements of section 1129(a)(8) of the Bankruptcy Code
  have not been met.

                                      ARTICLE VI.
                         MEANS FOR IMPLEMENTATION OF THE PLAN

  6.01. Vesting of Assets. As of the Effective Date, pursuant to sections 1141(b) and (c) of the
  Bankruptcy Code, all Assets, including the PMAs, all Cash, Estate Accounts Receivable, Estate
  Insurance, Estate Claims and Estate Defenses, shall be transferred from the Estate to, and
  vested in, the Reorganized Debtor, free and clear of all rights, title, interests, claims, liens,
  encumbrances and charges, except as expressly set forth in the Plan. On and after the
  Effective Date, the Reorganized Debtor may operate its business and may use, acquire or
  dispose of property without supervision or approval by the Bankruptcy Court and free of any
  restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly
  imposed by the Plan or the Confirmation Order. Without limiting the foregoing, the Reorganized
  Debtor may pay the charges that it incurs on or after the Effective Date for all fees,
  disbursements, expenses or related support services of Professionals (including fees relating to
  the preparation of professional fee applications) without application to, or approval of, the
  Bankruptcy Court.

  6.02. Continued Existence of the Debtors. The Debtors shall continue to exist after the
  Effective Date, with all the powers available to such legal entities, in accordance with applicable
  law and pursuant to their constituent documents. On or after the Effective Date, each
  Reorganized Debtor may, within its sole and exclusive discretion, take such action as permitted
  by applicable law and its constituent documents as it determines is reasonable and appropriate.

  6.03.   Retention and Assertion of Causes of Action and Defenses.

          (a)    Except as expressly set forth in this Plan, all causes of action, claims,
  counterclaims, defenses and rights of offset or recoupment (including but not limited to all
  Estate Claims, Estate Defenses and Avoidance Actions) belonging to the Debtors (collectively,
  the “Retained Causes of Action”) shall, upon the occurrence of the Effective Date, be reserved,
  retained and preserved for, and transferred to, received by and vested, in the Reorganized
  Debtor for the benefit of the Debtors and the Debtors’ estates. Without limitation, the Retained
  Causes of Action include the claims and causes of action described on Exhibit A attached
  hereto.

         (b)     Except as expressly set forth in this Plan, the rights of the Reorganized Debtor to
  commence, prosecute or settle the Retained Causes of Action shall be retained, reserved, and
  preserved notwithstanding the occurrence of the Effective Date. No Person may rely on the
  absence of a specific reference in the Plan or the Disclosure Statement to any cause of
  action against them as any indication that the Debtors or the Reorganized Debtor will not
  pursue any and all available causes of action (including all Estate Claims, Estate
  Defenses and Avoidance Actions) against them. The Debtors and their Estate expressly
  reserve all rights to prosecute any and all of the Retained Causes of Action (including all

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  Estate Claims, Estate Defenses and Avoidance Actions) against any Person, except as
  otherwise provided in this Plan. Unless any causes of action against a Person are expressly
  waived, relinquished, exculpated, released, compromised or settled in this Plan or a Final Order,
  the Debtors expressly reserve all causes of action (including all Estate Claims, Estate Defenses
  and Avoidance Actions) for later adjudication, and, therefore, no preclusion doctrine, including
  without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim
  preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to such causes of
  action upon or after the confirmation or consummation of the Plan. The Debtors and the
  Reorganized Debtor may also assert Estate Defenses as a defense to the allowance of any
  Claim not otherwise Allowed.

  6.04. Assumption of Obligations to Make Distributions. The Reorganized Debtor shall be
  deemed to have assumed the obligations to make all Distributions pursuant to this Plan.

  6.05. Actions by the Debtors and the Reorganized Debtor to Implement Plan. The entry of the
  Confirmation Order shall constitute all necessary authorization for the Debtors and the
  Reorganized Debtor to take or cause to be taken all actions necessary or appropriate to
  consummate, implement or perform all provisions of this Plan on and after the Effective Date,
  and all such actions taken or caused to be taken shall be deemed to have been authorized and
  approved by the Bankruptcy Court without further approval, act or action under any applicable
  law, order, rule or regulation, including without limitation, (a) all transfers of Assets, including to
  the Reorganized Debtor, that are to occur pursuant to the Plan; (b) the cancellation of Interests
  and issuance of 100% of the equity interests in the Reorganized Debtor to Terry; (c) the
  performance of the terms of the Plan and the making of all Distributions required under the Plan;
  and (d) subject to the terms of the Plan, entering into any and all transactions, contracts, or
  arrangements permitted by applicable law, order, rule or regulation.

  6.06. Termination of Highland as Shared Services Provider and Sub-Advisor. The Bankruptcy
  Court authorized the Chapter 11 Trustee to terminate the Shared Services Agreement and Sub-
  Advisory Agreement and engage Brigade to perform the services previously provided by
  Highland. The Shared Services Agreement and Sub-Advisory Agreement were terminated by
  the Chapter 11 Trustee on or about August 1, 2018, and the services previously performed by
  Highland were transitioned to Brigade on an interim basis. Brigade has agreed to continue to
  provide shared services and sub-advisory services to the Reorganized Debtor with respect to
  the Acis CLOs and the Other Acis-Managed Funds (and any reset Acis CLOs) subject to a
  minimum two (2) year term unless otherwise agreed as between the Reorganized Debtor and
  Brigade. Consequently, any agreement between the Reorganized Debtor and Brigade shall
  provide that Brigade cannot be removed without cause for a period of two (2) years except as
  may be otherwise agreed as between the Reorganized Debtor and Brigade.

  6.07. Continued Portfolio Management by the Reorganized Debtor. The PMAs and any other
  Executory Contracts and Unexpired Leases identified on Exhibit B to the Plan or in the
  Confirmation Order shall be assumed and the Reorganized Debtor shall, from an after the
  Effective Date, serve as the portfolio manager with respect to the Acis CLOs and the Other
  Acis-Managed Funds (and any reset Acis CLOs). Consistent with Section 15 of the PMAs, the
  Reorganized Debtor may only be removed as portfolio manager under the assumed PMAs for
  cause as set forth in the PMAs.

  6.08. Reset of the Acis CLOs. HCLOF has maintained that it desires to reset the Acis CLOs.
  The Reorganized Debtor, with the assistance of Brigade as its shared services provider and
  sub-advisor, is prepared to promptly seek to perform such reset transactions as set forth herein.

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  HCLOF shall have the right to submit one or more notice(s) of Optional Redemption solely for
  the purpose of effectuating a reset of one or more of the Acis CLOs under this section 6.08 of
  the Plan utilizing Refinancing Proceeds (a “Reset Optional Redemption”) for each of the Acis
  CLOs. If HCLOF requests a Reset Optional Redemption of an Acis CLO, the Reorganized
  Debtor, with the assistance of Brigade, shall thereafter seek to reset the Acis CLOs, either
  consecutively or simultaneously, in its good faith business judgment and consistent with then-
  prevailing market terms; provided, however, (i) the Management Fees to be charged by the
  Reorganized Debtor to any reset Acis CLOs shall remain the same going forward and shall not
  be increased, and no transaction fee shall be charged by the Reorganized Debtor (other than,
  for avoidance of doubt, transaction expense reimbursements consistent with market standards),
  and (ii) HCLOF shall be granted a right of first refusal for any funding of debt or equity required
  to effectuate a reset of each of the Acis CLOs. The terms of the Indentures shall control any
  Reset Optional Redemption. If HCLOF elects not to reset one or more of the Acis CLOs, then
  the Acis CLOs will continue to be managed in accordance with market standards.

  6.09. Post-Effective Date Service List. Pleadings filed by any party-in-interest with the
  Bankruptcy Court after the Effective Date shall be served on the following Persons (collectively
  the “Service List”): (a) any Person directly affected by the relief sought in the pleading, (b) the
  U.S. Trustee, (c) parties which have filed a Notice of Appearance in the Chapter 11 Cases, and
  (d) the Reorganized Debtor.

  6.10. Section 505 Powers. All rights and powers pursuant to section 505 of the Bankruptcy
  Code are hereby reserved to the Estate and shall be transferred to, and vested in, the
  Reorganized Debtor as of the Effective Date.

  6.11. Section 510(c) Powers. All rights and powers to seek or exercise any right or remedy of
  equitable subordination are hereby reserved to the Estate and shall be transferred to, and
  vested in, the Reorganized Debtor as of the Effective Date as an Estate Defense.

  6.12. Section 506(c) Powers. The Estate hereby reserves all rights and powers pursuant to
  section 506(c) of the Bankruptcy Code, and all such rights shall be specifically transferred to,
  and vested in, the Reorganized Debtor.

  6.13. Plan Injunction. The Reorganized Debtor shall each have full power, standing and
  authority to enforce the Plan Injunction against any Person, either through an action before the
  Bankruptcy Court or any other tribunal having appropriate jurisdiction.

  6.14. Cancellation of Interests. Except as otherwise specifically provided herein, upon the
  Effective Date of the Plan: (a) all Interests in the Debtors shall be cancelled; and (b) all
  obligations or debts of, or Claims against, the Debtors on account of, or based upon, the
  Interests shall be deemed as cancelled, released and discharged, including all obligations or
  duties by the Debtors relating to the Interests in any of their respective formation documents,
  including Acis LP’s limited partnership agreement and bylaws, Acis GP’s articles of formation
  and company agreement, or any similar formation or governing documents.

                                        ARTICLE VII.
                            PROVISIONS GOVERNING DISTRIBUTION

  7.01. Distributions from Reorganized Debtor. The Reorganized Debtor shall be responsible
  for making Distributions to holders of Allowed Claims only to the extent this Plan requires
  Distributions to be made by the Reorganized Debtor. The priority of Distributions from the

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  Reorganized Debtor shall be in accordance with the terms of this Plan and the Confirmation
  Order as follows:

         (a)     First, to satisfy Allowed Class 1 Secured Tax Claims;

          (b)     Second, to satisfy Allowed Administrative Expenses and Allowed Priority Claims
  in accordance with Article III above, including all U.S. Trustee quarterly fees due and owing as
  of the Effective Date;

        (c)    Third, to make Distributions to holders of any Allowed Class 3 General
  Unsecured Claims and Allowed Subclass 4A Claims; and

         (e)     Fourth, to make Distributions to holders of any Allowed Subclass 4B Claims

  7.02. Reserves. The Reorganized Debtor may estimate, create and set aside Reserves as
  may be necessary or appropriate, including without limitation, Reserves on account of
  Contested Claims. The Reorganized Debtor may, but shall not be required to, move the
  Bankruptcy Court to approve: (a) the amount of, and terms on which, such Reserves shall be
  held, maintained and disbursed, or (b) the amount and timing of any proposed interim
  Distribution to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims. The
  Reorganized Debtor may elect to seek approval by the Bankruptcy Court for the creation and
  amount of any Reserves or regarding the amount or timing of any Distribution on account of any
  Allowed Claims. Except as otherwise expressly provided herein, the Reorganized Debtor, in the
  exercise of its good faith business judgment, may transfer funds out of any of the Reserves as
  necessary or appropriate. However, the Reorganized Debtor shall not be required to create
  separate accounts for such Reserves which may be created and memorialized by entries or
  other accounting methodologies, which may be revised from time-to-time, to enable the
  Reorganized Debtor to determine the amount of Cash available for Distributions under the Plan.
  Subject to any specific deadlines set forth herein, the Reorganized Debtor, shall determine, from
  time-to-time, in the exercise of the Reorganized Debtor’s good faith business judgment: (x) the
  amount of Cash available for Distribution, (y) the timing of any Distributions, and (z) the amount
  and creation of any Reserves for Contested Claims. The Reorganized Debtor shall not be
  entitled to reserve for, and this section 7.02 does not apply to, Distributions to holders of
  Allowed Subclass 4B Claims.

  7.03. Prosecution and Settlement of Estate Claims. Upon the Effective Date, the Reorganized
  Debtor (a) shall automatically be substituted in place of the Chapter 11 Trustee as the party
  representing the Estate in respect of any pending lawsuit, motion or other pleading pending
  before the Bankruptcy Court or any other tribunal, and (b) is authorized to file a notice on the
  docket of each adversary proceeding or the Chapter 11 Cases regarding such substitution. The
  Reorganized Debtor shall have exclusive standing and authority to prosecute, settle or
  compromise Estate Claims for the benefit of the Estate in the manner set forth in this Plan.

  7.04. Plan Injunction. The Reorganized Debtor shall be entitled to the full protection and
  benefit of the Plan Injunction and shall have standing to bring any action or proceeding
  necessary to enforce the Plan Injunction against any Person.

  7.05. Relief from the Bankruptcy Court. The Reorganized Debtor shall be authorized to seek
  relief from the Bankruptcy Court or any other tribunal having jurisdiction as to any matter relating
  or pertaining to the consummation, administration or performance of this Plan, including without


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  limitation seeking any relief from the Bankruptcy Court which the Reorganized Debtor deems
  necessary or appropriate to the performance of its duties or the administration of this Plan.

                                        ARTICLE VIII.
                                   SOURCE OF DISTRIBUTIONS

  8.01. Source of Distributions. All Distributions under this Plan shall be made by the
  Reorganized Debtor in the manner provided in this Plan and the Confirmation Order.

  8.02. Timing and Amount of Distributions. No Distribution shall be made on account of any
  Claim until such Claim is Allowed, except as otherwise set forth in this Plan or otherwise
  ordered by the Bankruptcy Court. No Distribution shall be made on account of any Contested
  Claim until such Claim is Allowed. Except as expressly set forth in the Plan or in the
  Confirmation Order, the Reorganized Debtor shall, in the exercise of its good faith business
  judgment, determine the timing and amount of all Distributions which are required to be made
  under the Plan, consistent with the goal of making such Distributions as expeditiously as
  reasonably possible. The Reorganized Debtor may, but shall not be required to, seek approval
  of, or any other appropriate relief from, the Bankruptcy Court with respect to any of such
  Distributions. Any Unclaimed Property may be paid into the registry of the Bankruptcy Court or
  otherwise distributed in accordance with the orders of the Bankruptcy Court.

  8.03. Means of Cash Payment. Cash payments pursuant to this Plan shall be made by check
  drawn on, or by wire transfer from, a domestic bank, or by other means agreed to by the payor
  and payee.

  8.04. Record Date for Distributions. As of the close of business on the Effective Date (the
  “Distribution Record Date”), the register for Claims will be closed, and there shall be no further
  changes in the holders of record of any Claims. Although there is no prohibition against the
  transfer of any Claim by any Creditor, the Reorganized Debtor shall have no obligation to
  recognize any transfer of a Claim occurring after the Distribution Record Date, and the
  Reorganized Debtor shall instead be authorized and entitled to recognize and deal for all
  purposes under this Plan, including for the purpose of making all Distributions, with only those
  holders of Claims so reflected as of the Distribution Record Date. However, the Reorganized
  Debtor may, in the exercise of its good faith business judgment, agree to recognize transfers of
  Claims after the Distribution Record Date, but shall have no obligation to do so.

  8.05. Delivery of Distributions. All Distributions, deliveries and payments to the holders of any
  Allowed Claims shall be made to the addresses set forth on the respective proofs of Claim filed
  in the Chapter 11 Cases by such Claimants or, if the Distribution is to be made based on a
  Claim reflected as Allowed in the Schedules, at the address reflected in the Schedules. Any
  such Distribution, delivery or payment shall be deemed as made for all purposes relating to this
  Plan when deposited in the United States Mail, postage prepaid, addressed as required in the
  preceding sentence. If any Distribution is returned as undeliverable, no further Distribution shall
  be made on account of such Allowed Claim unless and until the Reorganized Debtor is notified
  of such holder's then current address, at which time all missed Distributions shall be made to
  the holder of such Allowed Claim. However, all notices to the Reorganized Debtor reflecting
  new or updated addresses for undeliverable Distributions shall be made on or before one
  hundred twenty (120) days after the date of the attempted Distribution or such longer period as
  the Reorganized Debtor may fix in the exercise of its sole discretion. After such date, all
  Unclaimed Property shall revert to the Reorganized Debtor and the Claim of any holder with
  respect to such property shall be discharged and forever barred.

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  8.06. W-9 Forms. Each holder of an Allowed Claim must provide a W-9 form or other such
  necessary information to comply with any withholding requirements of any Governmental Unit
  (collectively the “W-9 Form”) to the Reorganized Debtor prior to receiving any Distribution from
  the Reorganized Debtor. In the event a holder of an Allowed Claim does not provide a W-9
  Form to the Reorganized Debtor within thirty (30) days of the Effective Date, the Reorganized
  Debtor shall, at an appropriate time, issue a written request to each holder of an Allowed Claim
  that has not previously provided a W-9 Form to the Reorganized Debtor. The request shall be
  in writing and shall be delivered to the last address known to the Debtors or Reorganized
  Debtor, as appropriate. The request shall conspicuously advise and disclose that failure to
  provide a W-9 Form to the Reorganized Debtor within thirty (30) days shall result in a waiver of
  any right or rights to a Distribution from the Reorganized Debtor. In the event any holder of an
  Allowed Claim fails to provide the Reorganized Debtor with a W-9 Form within thirty (30) days
  after the date of written request described herein, then the holder of such Allowed Claim shall
  be deemed to have waived the right to receive any Distribution whatsoever from the
  Reorganized Debtor.

  8.07. Time Bar to Cash Payments. Checks issued in respect of Allowed Claims shall be null
  and void if not cashed within ninety (90) days of the date of issuance thereof. Requests for
  reissuance of any check shall be made directly to the issuer of the check by the holder of the
  Allowed Claim with respect to which such check originally was issued. Any Claim in respect of
  such a voided check shall be made on or before one hundred twenty (120) days after the date
  of issuance of such check or such longer period as the Reorganized Debtor may fix. After such
  date, all Claims in respect of void checks shall be discharged and forever barred.

  8.08. Cure Period. Except as otherwise set forth herein, the failure by the Reorganized Debtor
  to timely perform any term, provision or covenant contained in this Plan, or to make any
  payment or Distribution required by this Plan to any Creditor, or the failure to make any payment
  or perform any covenant on any note, instrument or document issued pursuant to this Plan,
  shall not constitute an event of default unless and until the Reorganized Debtor has been given
  thirty (30) days written notice of such alleged default in the manner provided in this Plan, and
  provided an opportunity to cure such alleged default. Until the expiration of such thirty (30) day
  cure period, the Reorganized Debtor shall not be in default, and performance during such thirty
  (30) day cure period shall be deemed as timely for all purposes. Such written notice and
  passage of the thirty (30) day cure period shall constitute conditions precedent to declaring or
  claiming any default under this Plan or bringing any action or legal proceeding by any Person to
  enforce any right granted under this Plan.

  8.09. Pre-Payment of Claims. Unless the Plan expressly prohibits or conditions the pre-
  payment of an Allowed Claim, the Reorganized Debtor may pre-pay any Allowed Claim in whole
  or in part at any time and may do so without penalty.

  8.10. Distributions after Substantial Consummation. All Distributions of any kind made to any
  Creditor after Substantial Consummation and any and all other actions taken under this Plan
  after Substantial Consummation shall not be subject to relief, reversal or modification by any
  court unless the implementation of the Confirmation Order is stayed by an order granted under
  Bankruptcy Rule 8005.




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                                    ARTICLE IX.
                  RETENTION OF ESTATE CLAIMS AND ESTATE DEFENSES.

  9.01. Retention of Estate Claims. Except as otherwise specifically provided in this Plan,
  pursuant to section 1123(b)(3) of the Bankruptcy Code, all Estate Claims shall be transferred to,
  and vested in, the Reorganized Debtor, both for purposes of seeking an affirmative recovery
  against any Person and for the purposes of offset, recoupment or defense against any Claim
  asserted against the Estate or Reorganized Debtor. All Estate Claims shall be deemed to have
  been transferred to, and vested in, the Reorganized Debtor as of the Effective Date based on
  the entry of the Confirmation Order.

          Without limiting the effectiveness or generality of the foregoing reservation, out of an
  abundance of caution, the Debtors and the Estate hereby specifically reserves, retains, and
  preserves the Estate Claims reflected in the attached Exhibit A. Reference is here made to
  Exhibit A which constitutes an integral part of this Plan. The provisions of this Article of the
  Plan, as well as the descriptions and disclosures relating to the Estate Claims in the Disclosure
  Statement, are provided in the interest of providing maximum disclosure of the Estate Claims of
  which Debtors are presently aware and shall not act as a limitation on the potential Estate
  Claims that may exist. It is the specific intention of this Plan that all Avoidance Actions and all
  associated remedies, and any other Estate Claims, whether arising before or after the Petition
  Date, and whether arising under the Bankruptcy Code or applicable state or federal non-
  bankruptcy laws, shall all be reserved, retained and preserved under this Plan to be transferred
  to, and vested in, the Reorganized Debtor. All Estate Claims are reserved, retained and
  preserved both as causes of action for an affirmative recovery and as counterclaims and for the
  purposes of offset or recoupment against any Claims asserted against the Estate.

  9.02. Retention of Estate Defenses. Except as otherwise specifically provided in this Plan,
  pursuant to section 1123(b)(3) of the Bankruptcy Code, all Estate Defenses shall be transferred
  to, and vested in, the Reorganized Debtor. For this purpose, all Estate Defenses are hereby
  reserved, retained and preserved by the Debtors and the Estate, including without limitation all
  such Estate Defenses available to the Estate pursuant to section 558 of the Bankruptcy Code,
  and shall be deemed as transferred to, and vested in, the Reorganized Debtor as of the
  Effective Date based on the entry of the Confirmation Order.

  9.03. Assertion of Estate Claims and Estate Defenses. The Reorganized Debtor shall have,
  and be vested with, the exclusive right, authority and standing to assert all Estate Claims and
  Estate Defenses for the benefit of the Reorganized Debtor.

                                      ARTICLE X.
                        PROCEDURES FOR RESOLVING AND TREATING
                           CONTESTED AND CONTINGENT CLAIMS

  10.01. Claims Listed in Schedules as Disputed. Any General Unsecured Claim which is listed
  in the Schedules as unliquidated, contingent or disputed, and for which no proof of Claim has
  been timely filed, shall be considered as Disallowed as of the Effective Date without the
  necessity of any further action by the Reorganized Debtor or further order of the Bankruptcy
  Court other than the entry of the Confirmation Order.

  10.02. Responsibility for Objecting to Claims and Settlement of Claims. The Reorganized
  Debtor shall have the exclusive standing and authority to either object to any Claim or settle and
  compromise any Objection to any Claim, including as follows:

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           (a)   From and after the Effective Date, the Reorganized Debtor shall have the sole
  and exclusive right to (i) file, settle, or litigate to Final Order any Objections to any Claims; and
  (ii) seek to subordinate any Claim. Any Contested Claim may be litigated to Final Order by the
  Reorganized Debtor; and

         (b)    From and after the Effective Date, the Reorganized Debtor shall have the sole
  and exclusive right to settle, compromise or otherwise resolve any Contested Claim without the
  necessity of any further notice or approval of the Bankruptcy Court. Bankruptcy Rule 9019 shall
  not apply to any settlement or compromise of a Contested Claim after the Effective Date.

  10.03. Objection Deadline. All Objections to Claims shall be served and filed by the Objection
  Deadline; provided, however, the Objection Deadline shall not apply to Claims which are not
  reflected in the claims register, including any alleged informal proofs of Claim. The Reorganized
  Debtor may seek to extend the Objection Deadline pursuant to a motion filed on or before the
  then applicable Objection Deadline with respect to any Claim. Any such motion may be granted
  without notice or a hearing. In the event that the Reorganized Debtor files such a motion and
  the Bankruptcy Court denies such motion, the Objection Deadline shall nevertheless be
  automatically extended to that date which is ten (10) Business Days after the date of entry of the
  Bankruptcy Court’s order denying such motion. Any proof of Claim other than one based upon
  a Rejection Claim and which is filed more than thirty (30) days after the Effective Date shall be
  of no force and effect and need not be objected to by the Reorganized Debtor. Nothing
  contained herein shall limit the right of the Reorganized Debtor to object to Claims, if any, filed
  or amended after the Objection Deadline.

  10.04. Response to Claim Objection. If the Reorganized Debtor files an Objection to any
  Claim, then the holder of such Claim shall file a written response to such Objection within
  twenty-four (24) days after the filing and service of the Objection upon the holder of the
  Contested Claim. Each such Objection shall contain appropriate negative notice advising the
  Creditor whose Claim is subject to the Objection of the requirement and time period to file a
  response to such Objection and that, if no response is timely filed to the Objection, the
  Bankruptcy Court may enter an order that such Claim is Disallowed without further notice or
  hearing. The negative notice language in the Objection shall satisfy the notice requirement in
  section 3007(a) of the Bankruptcy Rules, and the Reorganized Debtor shall not be required to
  send a separate notice of the Objection to the Creditor whose Claim is subject to the Objection.

  10.05. Distributions on Account of Contested Claims. If a Claim is Contested, then the dates
  for any Distributions as to such Contested Claim shall be determined based upon its date of
  Allowance, and thereafter Distribution shall be made on account of such Allowed Claim
  pursuant to the provisions of the Plan. No Distribution shall be made on account of a Contested
  Claim until Allowed. Until such time as a contingent Claim becomes fixed and absolute by a
  Final Order Allowing such Claim, such Claim shall be treated as a Contested Claim for purposes
  of estimates, allocations, and Distributions under the Plan. Any contingent right to contribution
  or reimbursement shall continue to be subject to section 502(e) of the Bankruptcy Code.

  10.06. No Waiver of Right to Object. Except as expressly provided in this Plan, nothing
  contained in the Disclosure Statement, this Plan, or the Confirmation Order shall waive,
  relinquish, release or impair the Reorganized Debtor’s right to object to any Claim.

  10.07. Offsets and Defenses. The Reorganized Debtor shall be vested with and retain all
  Estate Claims and Estate Defenses, including without limitation all rights of offset or recoupment
  and all counterclaims against any Claimant holding a Claim. Assertion of counterclaims by the

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  Reorganized Debtor against any Claim asserted against the Estate or Reorganized Debtor shall
  constitute “core” proceedings.

  10.08. Claims Paid or Reduced Prior to Effective Date. Notwithstanding the contents of the
  Schedules, Claims listed therein as undisputed, liquidated and not contingent shall be reduced
  by the amount, if any, that was paid by the Debtors prior to the Effective Date, including
  pursuant to orders of the Bankruptcy Court. To the extent such payments are not reflected in
  the Schedules, such Schedules will be deemed amended and reduced to reflect that such
  payments were made. Nothing in the Plan shall preclude the Debtors or the Reorganized
  Debtor from paying Claims that the Debtors were authorized to pay pursuant to any Final Order
  entered by the Bankruptcy Court prior to the Confirmation Date.

                                    ARTICLE XI.
                     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  11.01. Assumption and Rejection of Executory Contracts. All Executory Contracts and
  Unexpired Leases of the Debtors shall be deemed rejected by the Debtors upon the Effective
  Date unless an Executory Contract or Unexpired Lease (a) has been previously assumed or
  rejected pursuant to an order of the Bankruptcy Court, (b) is identified in Exhibit B to this Plan
  and/or the Confirmation Order to be (i) assumed or (ii) assumed and assigned, or (c) is the
  subject of a motion to assume filed on or before the Confirmation Date. The Plan shall constitute
  a motion to reject all Executory Contracts and Unexpired Leases except as stated in this
  paragraph. However, the Debtors may file a separate motion for the assumption or rejection of
  any Executory Contract or Unexpired Lease at any time through the Confirmation Date.

  11.02. Cure Payments. All payments that may be required by section 365(b)(1) of the
  Bankruptcy Code to satisfy any Cure Claim shall be made by the Reorganized Debtor as soon
  as reasonably practical after the Effective Date or upon such terms as may be otherwise agreed
  between the Reorganized Debtor and the holder of such Cure Claim; provided, however, in the
  event of a dispute regarding the amount of any Cure Claim, the cure of any other defaults, or
  any other matter pertaining to assumption or assignment of an Executory Contract, the
  Reorganized Debtor shall make such cure payments and cure such other defaults, all as may
  be required by section 365(b)(1) of the Bankruptcy Code, following the entry of a Final Order by
  the Bankruptcy Court resolving such dispute.

  11.03. Bar to Rejection Claims. Except as otherwise ordered by the Bankruptcy Court, any
  Rejection Claim based on the rejection of an Executory Contract or Unexpired Lease shall be
  forever barred and shall not be enforceable against the Reorganized Debtor or the Reorganized
  Debtor’s assets unless a proof of Claim is filed with the Bankruptcy Court and served upon the
  Reorganized Debtor and its counsel by the earlier of thirty (30) days after the Effective Date or
  thirty (30) days after entry of the Final Order approving rejection of such Executory Contract or
  Unexpired Lease.

  11.04. Rejection Claims. Any Rejection Claim not barred by section 11.03 of the Plan shall be
  classified as a Class 3 General Unsecured Claim subject to the provisions of sections 502(b)(6)
  and 502(g) of the Bankruptcy Code; provided, however, that any Rejection Claim by a lessor
  based upon the rejection of an unexpired lease of real property, either prior to the Confirmation
  Date, upon the entry of the Confirmation Order, or upon the Effective Date, shall be limited in
  accordance with section 502(b)(6) of the Bankruptcy Code and state law mitigation
  requirements. All Rejection Claims shall be deemed as Contested Claims until Allowed.
  Nothing contained herein shall be deemed an admission by the Debtors or the Reorganized

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  Debtor that such rejection gives rise to or results in a Claim or shall be deemed a waiver by the
  Debtors or the Reorganized Debtor of any objections or defenses to any such Rejection Claim if
  asserted.

  11.05. Reservation of Rights. Nothing contained in the Plan shall constitute an admission by
  the Debtors that any contract or lease is in fact an Executory Contract or Unexpired Lease or
  that the Debtors or the Reorganized Debtor have any liability thereunder. If there is a dispute
  regarding whether a contract or lease is or was executory or unexpired at the time of
  assumption or rejection, the Reorganized Debtor shall have thirty (30) days following entry of a
  Final Order resolving such dispute to alter the treatment of such contract or lease.

                                     ARTICLE XII.
                      SUBSTANTIVE CONSOLIDATION OF THE DEBTORS

  12.01. Pursuant to the Confirmation Order, the Bankruptcy Court shall approve the substantive
  consolidation of the Debtors for the sole purposes of implementing the Plan, including for
  purposes of voting and Distributions to be made under the Plan. Pursuant to such order: (a) all
  assets and liabilities of the Debtors will be deemed merged; (b) all guarantees by one Debtor of
  the obligations of the other Debtor will be deemed eliminated so that any Claim against any
  Debtor and any guarantee thereof executed by the other Debtor and any joint or several liability
  of the Debtors will be deemed to be one obligation of the consolidated Debtors; and (c) each
  and every Claim filed or to be filed in the Chapter 11 Case of either Debtor will be deemed filed
  against the consolidated Debtors and will be deemed one Claim against and a single obligation
  of the consolidated Debtors.

                                 ARTICLE XIII.
       CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVENESS OF PLAN

  13.01. Conditions to Confirmation and Effectiveness of Plan. The Plan shall not become
  effective until the following conditions shall have been satisfied and which may occur
  concurrently with the Effective Date: (a) the Confirmation Order shall have been entered, in
  form and substance acceptable to the Chapter 11 Trustee; (b) the necessary Plan Documents
  have been executed and delivered, and (c) all other conditions specified by the Chapter 11
  Trustee have been satisfied. Any or all of the above conditions other than (a) may be waived at
  any time by the Chapter 11 Trustee.

  13.02. Notice of the Effective Date. On or as soon as reasonably practical after the occurrence
  of the Effective Date, the Reorganized Debtor shall cause a notice of the Effective Date to be
  filed with the Bankruptcy Court and served on all Creditors and parties-in-interest.

  13.03. Revocation of Plan. The Chapter 11 Trustee may revoke and withdraw the Plan at any
  time before the Effective Date. If the Chapter 11 Trustee revokes or withdraws the Plan, or if
  confirmation of the Plan does not occur, then this Plan shall be deemed null and void and
  nothing contained in the Plan shall be deemed to constitute a waiver or release of any Claims
  by or against the Debtors, as the case may be, or any other Person, or to prejudice in any
  manner the rights of the Debtors or any other Person in any further proceedings involving the
  Debtors.




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                                      ARTICLE XIV.
                      EFFECT OF THE PLAN ON CLAIMS AND INTERESTS

  14.01. Compromise and Settlement

                   (a)     Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule
  9019, and in consideration of the classification, potential Distributions and other benefits
  provided under the Plan, the provisions of the Plan shall constitute a good faith compromise and
  settlement of all Claims, Interests and controversies subject to, or dealt with, under this Plan,
  including, without limitation, all Claims against the Debtors or Estate arising prior to the Effective
  Date, whether known or unknown, foreseen or unforeseen, asserted or unasserted, fixed or
  contingent, arising out of, relating to or in connection with the business or affairs of, or
  transactions with, the Debtors or the Estate. The entry of the Confirmation Order shall
  constitute the Bankruptcy Court’s approval of each of the foregoing compromises or settlements
  embodied in this Plan, and all other compromises and settlements provided for in the Plan, and
  the Bankruptcy Court’s findings shall constitute its determination that such compromises and
  settlements are in the best interest of the Debtors, the Estate, Creditors and other parties-in-
  interest, and are fair, equitable and within the range of reasonableness. The rights afforded in
  the Plan and the treatment of all Claims and Interests herein shall be in exchange for, and in
  complete satisfaction and release of, all Claims and Interests of any nature whatsoever against
  and in the Debtors, the Estate, and the Assets. Except as otherwise provided herein, all
  Persons shall be precluded and forever barred by the Plan Injunction from asserting against the
  Debtors and their affiliates, successors, assigns, the Reorganized Debtor or the Reorganized
  Debtor’s Assets, or the Estate, any event, occurrence, condition, thing, or other or further
  Claims or causes of action based upon any act, omission, transaction, or other activity of any
  kind or nature that occurred or came into existence prior to the Effective Date, whether or not
  the facts of or legal bases therefore were known or existed prior to the Effective Date.

                 (b)     It is not the intent of this Plan that confirmation of the Plan shall in any
  manner alter or amend any settlement and compromise (including those contained in agreed
  orders) between the Debtors and any Person that has been previously approved by the
  Bankruptcy Court (each, a “Prior Settlement”). To the extent of any conflict between the terms
  of the Plan and the terms of any Prior Settlement, the terms of the Prior Settlement shall control
  and such Prior Settlement shall be enforceable according to its terms.

  14.02. Discharge. The Debtors and their successors in interest and assigns shall be deemed
  discharged and released pursuant to section 1141(d)(1) of the Bankruptcy Code from any and
  all Claims provided for in the Plan.

  14.03. PLAN INJUNCTION.

         THIS SECTION IS REFERRED TO HEREIN AS THE “PLAN INJUNCTION.”
         EXCEPT AS OTHERWISE EXPRESSLY PROVIDED HEREIN, AS OF THE
         EFFECTIVE DATE ALL HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN,
         THE DEBTORS, THE ESTATE OR ANY OF THE ASSETS THAT AROSE PRIOR
         TO THE EFFECTIVE DATE ARE HEREBY PERMANENTLY ENJOINED AND
         PROHIBITED FROM THE FOLLOWING:       (a) THE COMMENCING OR
         CONTINUATION IN ANY MANNER, DIRECTLY OR INDIRECTLY, OF ANY
         ACTION, CASE, LAWSUIT OR OTHER PROCEEDING OF ANY TYPE OR
         NATURE AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED
         DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS WITH RESPECT TO

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        ANY SUCH CLAIM OR INTEREST ARISING OR ACCRUING BEFORE THE
        EFFECTIVE DATE, INCLUDING WITHOUT LIMITATION THE ENTRY OR
        ENFORCEMENT OF ANY JUDGMENT, OR ANY OTHER ACT FOR THE
        COLLECTION, EITHER DIRECTLY OR INDIRECTLY, OF ANY CLAIM OR
        INTEREST AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED
        DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS; (b) THE CREATION,
        PERFECTION OR ENFORCEMENT OF ANY LIEN, SECURITY INTEREST,
        ENCUMBRANCE, RIGHT OR BURDEN, EITHER DIRECTLY OR INDIRECTLY,
        AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR, OR
        THE REORGANIZED DEBTOR’S ASSETS, OR (c) TAKING ANY ACTION IN
        RELATION TO THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR,
        OR THE REORGANIZED DEBTOR’S ASSETS, EITHER DIRECTLY OR
        INDIRECTLY, WHICH VIOLATES OR DOES NOT CONFORM OR COMPLY
        WITH THE PROVISIONS OF THIS PLAN APPLICABLE TO SUCH CLAIM OR
        INTEREST. THE PLAN INJUNCTION SHALL ALSO BE INCORPORATED INTO
        THE CONFIRMATION ORDER.

        IN ADDITION TO THE FOREGOING, EXCEPT TO THE EXTENT NECESSARY
        TO ALLOW HCLOF, THE REORGANIZED DEBTOR AND BRIGADE TO
        EFFECTUATE THE RESET OF ONE OR MORE OF THE ACIS CLOS IN
        ACCORDANCE WITH SECTION 6.08 OF THE PLAN, PURSUANT TO
        SECTIONS 105(a), 1123(a)(5), 1123(b)(6), AND 1142(b) OF THE BANKRUPTCY
        CODE, THE ENJOINED PARTIES (DEFINED BELOW) ARE HEREBY
        ENJOINED FROM: (a) PROCEEDING WITH, EFFECTUATING, OR
        OTHERWISE TAKING (i) ANY ACTION IN FURTHERANCE OF ANY OPTIONAL
        REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS CLOS
        PREVIOUSLY OR CURRENTLY ISSUED BY ANY SUCH PARTIES, AND (ii)
        ANY OTHER ATTEMPT TO LIQUIDATE THE ACIS CLOS BY ANY MEANS, (b)
        TRADING ANY ACIS CLO COLLATERAL IN FURTHERANCE OF ANY
        OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS
        CLOS, (c) EXERCISING ANY RIGHTS TO ASK OR DIRECT THE ISSUERS, CO-
        ISSUERS OR INDENTURE TRUSTEE TO PERFORM ANY ACTION IN
        RELATION TO THE ACIS CLOS THAT THE ENJOINED PARTIES ARE
        PROHIBITED FROM TAKING UNDER THE TERMS OF THE PLAN
        INJUNCTION, (d) INTERFERING IN ANY WAY WITH THE CAPITAL MARKETS
        PROCESS OF RESETTING ANY ACIS CLO, AND (e) SENDING, MAILING, OR
        OTHERWISE DISTRIBUTING ANY NOTICE TO THE HOLDERS OF THE
        NOTES IN THE ACIS CLOS IN CONNECTION WITH THE EFFECTUATION OF
        ANY OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE
        ACIS CLOS, UNTIL THE EARLIER TO OCCUR OF: (w) THE DATE UPON
        WHICH A FINAL ORDER IS ENTERED RESOLVING THE ESTATE’S
        AVOIDANCE CLAIMS AGAINST ALL ENJOINED PARTIES RELATING TO
        ACIS LP’S RIGHTS UNDER THE ALF PMA; (x) THE DATE UPON WHICH ALL
        ALLOWED CLAIMS AGAINST THE DEBTORS HAVE BEEN PAID IN FULL, (y)
        THE ENTRY OF AN ORDER BY THE BANKRUPTCY COURT FINDING THAT A
        MATERIAL DEFAULT HAS OCCURRED UNDER THE TERMS OF THE PLAN,
        OR (z) THE ENTRY OF A SUBSEQUENT ORDER BY THE BANKRUPTCY
        COURT PROVIDING OTHERWISE WITH RESPECT TO ONE OR MORE OF
        THE ACIS CLOS. FOR PURPOSES OF THIS PARAGRAPH, THE TERM
        “ENJOINED PARTIES” SHALL INCLUDE HIGHLAND, HCLOF, CLO HOLDCO,
        NEUTRA, HIGHLAND HCF, HIGHLAND CLOM, ANY AFFILIATES OF
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         HIGHLAND,   AND   THEIR    RESPECTIVE    EMPLOYEES,   AGENTS,
         REPRESENTATIVES, TRANSFEREES, ASSIGNS, AND SUCCESSORS. FOR
         PURPOSES OF CLARIFICATION AND AVOIDANCE OF DOUBT, NOTHING IN
         THIS PARAGRAPH SHALL PRECLUDE ORDINARY DAY-TO-DAY TRADING
         OF THE COLLATERAL IN THE ACIS CLOS BY THE REORGANIZED DEBTOR.

  Notwithstanding anything to the contrary in the Plan: (a) third-party professionals employed by
  the Reorganized Debtor shall not be released or exculpated from any losses, claims, damages,
  liabilities, or expenses arising from their duties and services provided to the Reorganized Debtor;
  and (b) any third-party professionals employed by the Reorganized Debtor shall only be entitled
  to be indemnified by the Reorganized Debtor to the extent provided by applicable law.

  Notwithstanding anything to the contrary in the Plan or Confirmation Order, nothing in the Plan or
  in the Confirmation Order shall discharge, release, enjoin or otherwise bar (i) any liability of the
  Debtors, the Estate, the Reorganized Debtor, or the Reorganized Debtor’s assets (“Released
  Parties”) to a Governmental Unit arising on or after the Confirmation Date with respect to events
  occurring after the Confirmation Date, provided that the Released Parties reserve the right to
  assert that any such liability is a Claim that arose on or prior to the Confirmation Date and
  constitutes a Claim that is subject to the deadlines for filing proofs of claim, (ii) any liability to a
  Governmental Unit that is not a Claim subject to the deadlines for filing proofs of Claim, (iii) any
  valid right of setoff or recoupment of a Governmental Unit, and (iv) any police or regulatory action
  by a Governmental Unit. In addition, nothing in the Plan or Confirmation Order discharges,
  releases, precludes or enjoins any environmental liability to any Governmental Unit that any
  Person other than the Released Parties would be subject to as the owner or operator of the
  property after the Effective Date. For the avoidance of any doubt, nothing in this paragraph shall
  be construed to limit the application of the Plan Injunction to any Claim which was subject to any
  bar date applicable to such Claim.

  14.04. Setoffs. Except as otherwise expressly provided for in the Plan, pursuant to the
  Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable nonbankruptcy
  law, or as may be agreed to by the holder of a Claim, the Reorganized Debtor may set off
  against any Allowed Claim and the Distributions to be made pursuant to the Plan on account of
  such Allowed Claim (before such Distribution is made), any Claims, rights, Estate Claims and
  Estate Defenses of any nature that the Debtors may hold against the holder of such Allowed
  Claim, to the extent such Claims, rights, Estate Claims and Estate Defenses against such
  holder have not been otherwise compromised or settled on or prior to the Effective Date
  (whether pursuant to the Plan or otherwise); provided, however, that neither the failure to effect
  such a setoff nor the allowance of any Claim or Interest pursuant to the Plan shall constitute a
  waiver or release of any such Claims, rights, Estate Claims and Estate Defenses that the Estate
  may possess against such Claimant. In no event shall any Claimant or Interest holder be
  entitled to setoff any Claim or Interest against any Claim, right, or Estate Claim of the Debtors
  without the consent of the Debtors or the Reorganized Debtor unless such holder files a motion
  with the Bankruptcy Court requesting the authority to perform such setoff notwithstanding any
  indication in any proof of Claim or otherwise that such holder asserts, has, or intends to
  preserve any right of setoff pursuant to section 553 of the Bankruptcy Code or otherwise.

  14.05. Recoupment. Except as otherwise expressly provided for in the Plan, in no event shall
  any holder of Claims or Interests be entitled to recoup any Claim or Interest against any Claim,
  right, account receivable, or Estate Claim of the Debtors or the Reorganized Debtor unless
  (a) such holder actually provides notice thereof in writing to the Debtors or the Reorganized
  Debtor of its intent to perform a recoupment; (b) such notice includes the amount to be

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  recouped by the holder of the Claim or Interest and a specific description of the basis for the
  recoupment, and (c) the Debtors or the Reorganized Debtor have provided a written response
  to such Claim or Interest holder, stating unequivocally that the Debtors or the Reorganized
  Debtor consents to the requested recoupment. The Debtors and the Reorganized Debtor shall
  have the right, but not the obligation, to seek an order of the Bankruptcy Court allowing any or
  all of the proposed recoupment. In the absence of a written response from the Debtors or the
  Reorganized Debtor consenting to a recoupment or an order of the Bankruptcy Court
  authorizing a recoupment, no recoupment by the holder of a Claim or Interest shall be allowed.

  14.06. Turnover. On the Effective Date, any rights of the Estate to compel turnover of Assets
  under applicable nonbankruptcy law and pursuant to section 542 or 543 of the Bankruptcy Code
  shall be deemed transferred to and vested in the Reorganized Debtor.

  14.07. Automatic Stay. The automatic stay pursuant to section 362 of the Bankruptcy Code,
  except as previously modified by the Bankruptcy Court, shall remain in effect until the Effective
  Date of the Plan as to the Debtors, the Estate and all Assets. As of the Effective Date, the
  automatic stay shall be replaced by the Plan Injunction.

                                     ARTICLE XV.
                JURISDICTION OF COURTS AND MODIFICATIONS TO THE PLAN

  15.01. Retention of Jurisdiction. Pursuant to sections 1334 and 157 of title 28 of the United
  States Code, the Bankruptcy Court shall retain exclusive jurisdiction of all matters arising in,
  arising under, and related to the Chapter 11 Cases and the Plan, to the full extent allowed or
  permitted by applicable law, including without limitation for the purposes of invoking sections
  105(a) and 1142 of the Bankruptcy Code, and for, among other things, the following purposes:

         (a)     To hear and determine any and all objections to, or applications or motions
  concerning, the allowance of Claims or the allowance, classification, priority, compromise,
  estimation, or payment of any Administrative Expense;

         (b)    To hear and determine any and all applications for payment of fees and expenses
  pursuant to this Plan to any Estate Professional pursuant to sections 330 or 503 of the
  Bankruptcy Code, or for payment of any other fees or expenses authorized to be paid or
  reimbursed under this Plan, and any and all objections thereto;

          (c)   To hear and determine pending applications for the rejection, assumption, or
  assumption and assignment of Executory Contracts and Unexpired Leases and the allowance
  of Claims resulting therefrom, and to determine the rights of any party in respect to the
  assumption or rejection of any Executory Contract or Unexpired Lease;

         (d)   To hear and determine any and all adversary proceedings, applications, or
  contested matters, including relating to the allowance of any Claim;

          (e)     To hear and determine all controversies, disputes, and suits which may arise in
  connection with the execution, interpretation, implementation, consummation, or enforcement of
  the Plan or in connection with the enforcement of any remedies made available under the Plan,
  including without limitation, (i) adjudication of all rights, interests or disputes relating to any of
  the Assets, (ii) the valuation of all Collateral, (iii) the determination of the validity of any Lien or
  claimed right of offset or recoupment; and (iv) determinations of Objections to Contested
  Claims;

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          (f)   To liquidate and administer any disputed, contingent, or unliquidated Claims,
  including the Allowance of all Contested Claims;

         (g)    To administer Distributions to holders of Allowed Claims as provided herein;

         (h)   To enter and implement such orders as may be appropriate in the event the
  Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

         (i)    To enable the Reorganized Debtor to prosecute any and all proceedings which
  may be brought to set aside transfers, Liens or encumbrances and to recover any transfers,
  Assets, properties or damages to which the Reorganized Debtor may be entitled under
  applicable provisions of the Bankruptcy Code or any other federal, state or local laws, including
  causes of action, controversies, disputes and conflicts between the Reorganized Debtor and
  any other party, including but not limited to, any causes of action or Objections to Claims,
  preferences or fraudulent transfers and obligations or equitable subordination;

         (j)   To consider any modification of the Plan pursuant to section 1127 of the
  Bankruptcy Code, to cure any defect or omission, or reconcile any inconsistency in any order of
  the Bankruptcy Court, including, without limitation the Confirmation Order;

         (k)    To enforce the discharge and Plan Injunction against any Person;

          (l)    To enter and implement all such orders as may be necessary or appropriate to
  execute, interpret, construe, implement, consummate, or enforce the terms and conditions of
  this Plan and the transactions required or contemplated pursuant thereto;

         (m) To hear and determine any motion or application which the Reorganized Debtor is
  required or allowed to commence before the Bankruptcy Court pursuant to this Plan;

        (n)     To hear and determine any other matter not inconsistent with the Bankruptcy
  Code and title 28 of the United States Code that may arise in connection with or related to the
  Plan;

         (o)    To determine proceedings pursuant to section 505 of the Bankruptcy Code;

         (p)    To enter a final decree closing the Chapter 11 Cases; and

         (q)    To determine any other matter or dispute relating to the Estate, the Estate Claims,
  the Estate Defenses, the Assets, or the Distributions by the Reorganized Debtor.

  15.02. Abstention and Other Courts. If the Bankruptcy Court abstains from exercising, or
  declines to exercise, jurisdiction or is otherwise without jurisdiction over any matter arising out of
  or relating to the Chapter 11 Cases, this Article of the Plan shall have no effect upon and shall
  not control, prohibit or limit the exercise of jurisdiction by any other court having competent
  jurisdiction with respect to such matter.

  15.03. Non-Material Modifications. The Reorganized Debtor may, with the approval of the
  Bankruptcy Court and without notice to all holders of Claims and Interests, correct any defect,
  omission, or inconsistency in the Plan in such manner and to such extent as may be necessary
  or desirable. The Reorganized Debtor may undertake such nonmaterial modification pursuant


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  to this section insofar as it does not adversely change the treatment of the Claim of any Creditor
  or the Interest of any Interest holder who has not accepted in writing the modification.

  15.04. Material Modifications. Modifications of this Plan may be proposed in writing by the
  Chapter 11 Trustee at any time before confirmation, provided that this Plan, as modified, meets
  the requirements of sections 1122 and 1123 of the Bankruptcy Code, and the Chapter 11
  Trustee shall have complied with section 1125 of the Bankruptcy Code. This Plan may be
  modified at any time after confirmation and before its Substantial Consummation, provided that
  the Plan, as modified, meets the requirements of sections 1122 and 1123 of the Bankruptcy
  Code, and the Bankruptcy Court, after notice and a hearing, confirms the Plan, as modified,
  under section 1129 of the Bankruptcy Code, and the circumstances warrant such modification.
  A holder of a Claim or Interest that has accepted or rejected this Plan shall be deemed to have
  accepted or rejected, as the case may be, such Plan as modified, unless, within the time fixed
  by the Bankruptcy Court, such holder changes its previous acceptance or rejection.

                                         ARTICLE XVI.
                                  MISCELLANEOUS PROVISIONS

  16.01. Severability. Should the Bankruptcy Court determine any provision of the Plan is
  unenforceable either on its face or as applied to any Claim or Interest or transaction, the
  Reorganized Debtor may modify the Plan so that any such provision shall not be applicable to
  the holder of any Claim or Interest. Such a determination of unenforceability shall not (a) limit or
  affect the enforceability and operative effect of any other provision of the Plan or (b) require the
  resolicitation of any acceptance or rejection of the Plan.

  16.02. Oral Agreements; Modification of Plan; Oral Representations or Inducements. The
  terms of the Plan, Disclosure Statement and Confirmation Order may only be amended in
  writing and may not be changed, contradicted or varied by any oral statement, agreement,
  warranty or representation. None of the Debtors, any representative of the Estate, including
  Robin Phelan in his capacity as Chapter 11 Trustee, nor their attorneys have made any
  representation, warranty, promise or inducement relating to the Plan or its confirmation except
  as expressly set forth in this Plan, the Disclosure Statement, or the Confirmation Order or other
  order of the Bankruptcy Court.

  16.03. Waiver. The Reorganized Debtor shall not be deemed to have waived any right, power
  or privilege pursuant to the Plan unless the waiver is in writing and signed by the Reorganized
  Debtor. There shall be no waiver by implication, course of conduct or dealing, or through any
  delay or inaction by the Reorganized Debtor, of any right pursuant to the Plan, including the
  provisions of this anti-waiver section. The waiver of any right under the Plan shall not act as a
  waiver of any other or subsequent right, power or privilege.

  16.04. Notice. Any notice or communication required or permitted by the Plan shall be given,
  made or sent as follows:

          (a)   If to a Creditor, notice may be given as follows: (i) if the Creditor has not filed a
  proof of Claim, then to the address reflected in the Schedules, or (ii) if the Creditor has filed a
  proof of Claim, then to the address reflected in the proof of Claim.

         (b)    If to the Reorganized Debtor, notice shall be sent to the following addresses:



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               Jeff P. Prostok                       Josh Terry
               Suzanne K. Rosen                      c/o Brian P. Shaw
               Forshey Prostok LLP                   Rogge Dunn Group, PC
               777 Main Street, Suite 1290           1201 Elm Street, Suite 5200
               Fort Worth, Texas 76102               Dallas, Texas 75270

          (c)    Any Creditor desiring to change its address for the purpose of notice may do so
  by giving notice to the Reorganized Debtor of its new address in accordance with the terms of
  this section.

          (d)   Any notice given, made or sent as set forth above shall be effective upon being (i)
  deposited in the United States Mail, postage prepaid, addressed to the addressee at the
  address as set forth above; (ii) delivered by hand or messenger to the addressee at the address
  set forth above; (iii) telecopied to the addressee as set forth above, with a hard confirmation
  copy being immediately sent through the United States Mail; or (iv) delivered for transmission to
  an expedited or overnight delivery service such as FedEx.

  16.05. Compliance with All Applicable Laws. If notified by any governmental authority that it is
  in violation of any applicable law, rule, regulation, or order of such governmental authority
  relating to its business, the Reorganized Debtor shall comply with such law, rule, regulation, or
  order; provided, however, that nothing contained herein shall require such compliance if the
  legality or applicability of any such requirement is being contested in good faith in appropriate
  proceedings and, if appropriate, an adequate Reserve has been set aside on the books of the
  Reorganized Debtor.

  16.06. Duties to Creditors; Exculpation. Neither the Chapter 11 Trustee nor any agent,
  representative, accountant, financial advisor, attorney, shareholder, officer, affiliate, member or
  employee of the Chapter 11 Trustee or the Debtors, including but not limited to Estate
  Professionals (collectively, the “Exculpated Parties”), shall ever owe any duty to any Person
  (including any Creditor) other than the duties owed to the Debtors’ bankruptcy Estate, for any
  act, omission, or event in connection with, or arising out of, or relating to, any of the following:
  (a) the Debtors’ Chapter 11 Cases, including all matters or actions in connection with or relating
  to the administration of the Estate, (b) the Plan, including the proposal, negotiation, confirmation
  and consummation of the Plan, or (c) any act or omission relating to the administration of the
  Plan after the Effective Date. All such Exculpated Parties shall be fully exculpated and released
  from any and all claims and causes of action by any Person, known or unknown, in connection
  with, or arising out of, or relating to, any of the following: (x) the Debtors’ Chapter 11 Cases,
  including all matters or actions in connection with or relating to the administration of the Estate,
  (y) the Plan, including the proposal, negotiation, confirmation and consummation of the Plan, or
  (z) any act or omission relating to the administration of the Plan after the Effective Date, except
  for claims and causes of action arising out of such Exculpated Party’s gross negligence or willful
  misconduct.

  16.07. Binding Effect. The Plan shall be binding upon, and shall inure to the benefit of, the
  Reorganized Debtor, the holders of the Claims or Liens, and their respective successors-in-
  interest and assigns.

  16.08. Governing Law, Interpretation. Unless a rule of law or procedure supplied by federal law
  (including the Bankruptcy Code and Bankruptcy Rules) is applicable, the internal laws of the
  State of Texas shall govern the construction and implementation of the Plan and any Plan


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  Documents without regard to conflicts of law. The Plan shall control any inconsistent term or
  provision of any other Plan Documents.

  16.09. Payment of Statutory Fees. All accrued U.S. Trustee Fees as of the Confirmation Date
  shall be paid by the Reorganized Debtor on or as soon as practicable after the Effective Date,
  and thereafter shall be paid by the Reorganized Debtor as such statutory fees become due and
  payable.

  16.10. Filing of Additional Documents. On or before Substantial Consummation of the Plan, the
  Reorganized Debtor may file with the Bankruptcy Court such agreements and other documents
  as may be necessary or appropriate to effectuate and further evidence the terms and conditions
  of the Plan.

  16.11. Computation of Time. Bankruptcy Rule 9006 shall apply to the calculation of all time
  periods pursuant to this Plan. If the final day for any Distribution, performance, act or event
  under the Plan is not a Business Day, then the time for making or performing such Distribution,
  performance, act or event shall be extended to the next Business Day. Any payment or
  Distribution required to be made hereunder on a day other than a Business Day shall be due
  and payable on the next succeeding Business Day.

  16.12. Elections by the Reorganized Debtor. Any right of election or choice granted to the
  Reorganized Debtor under this Plan may be exercised, at the Reorganized Debtor’s election,
  separately as to each Claim, Creditor or Person.

  16.13. Release of Liens. Except as otherwise expressly provided in this Plan or the
  Confirmation Order, all Liens against any of the Assets transferred to and vested in the
  Reorganized Debtor shall be deemed to be released, terminated and nullified without the
  necessity of any order by the Bankruptcy Court other than the Confirmation Order.

  16.14. Rates. The Plan does not provide for the change of any rate that is within the jurisdiction
  of any governmental regulatory commission after the occurrence of the Effective Date.

  16.15. Compliance with Tax Requirements. In connection with the Plan, the Reorganized
  Debtor shall comply with all withholding and reporting requirements imposed by federal, state
  and local Taxing Authorities and all Distributions under the Plan shall be subject to such
  withholding and reporting requirements. Notwithstanding the above, each holder of an Allowed
  Claim or Interest that is to receive a Distribution under the Plan shall have the sole and
  exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any
  governmental unit, including income, withholding and other tax obligations, on account of such
  Distribution under the Plan.

  16.16. Notice of Occurrence of the Effective Date. Promptly after occurrence of the Effective
  Date, the Reorganized Debtor, as directed by the Bankruptcy Court, shall serve on all known
  parties-in-interest and holders of Claims and Interests, notice of the occurrence of the Effective
  Date.

  16.17. Notice of Entry of Confirmation Order. Promptly after entry of the Confirmation Order,
  the Chapter 11 Trustee, as directed by the Bankruptcy Court in the Confirmation Order, shall
  serve on all known parties-in-interest and holders of Claims and Interests, notice of entry of the
  Confirmation Order.


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            Dated: October 25, 2018.
                                                                 Respectfully submitted,



                                                                 ACIS CAPITAL MANAGEMENT, L.P.


                                                                 By: /s/ Robin Phelan
                                                                    Robin Phelan
                                                                    Chapter 11 Trustee


                                                                 ACIS CAPITAL MANAGMENET GP, LLC


                                                                 By:/s/ Robin Phelan
                                                                     Robin Phelan
                                                                     Chapter 11 Trustee


   APPROVED:                                                            APPROVED:

   /s/ Jeff P. Prostok                                                  /s/ Rahkee V. Patel
   Jeff P. Prostok – State Bar No. 16352500                             Rakhee V. Patel – State Bar No. 00797213
   J. Robert Forshey – State Bar No. 07264200                           Phillip Lamberson – State Bar No. 00794134
   Suzanne K. Rosen – State Bar No. 00798518                            Joe Wielebinski – State Bar No. 21432400
   Matthew G. Maben – State Bar No. 24037008                            Annmarie Chiarello – State Bar No. 24097496
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   Ft. Worth, TX 76102                                                  2728 N. Harwood Street
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   bforshey@forsheyprostok.com                                          rpatel@winstead.com
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                                                                        achiarello@winstead.com
   COUNSEL FOR ROBIN PHELAN,
   CHAPTER 11 TRUSTEE                                                   SPECIAL COUNSEL FOR ROBIN PHELAN,
                                                                        CHAPTER 11 TRUSTEE



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                              EXHIBIT A
     TO THIRD AMENDED JOINT PLAN FOR ACIS
       CAPITAL MANAGEMENT, LP AND ACIS
         CAPITAL MANAGEMENT GP, LLC

                                [ESTATE CLAIMS]
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                                        EXHIBIT “A”
                                             to
      Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC

          1.      Defined Terms. This Exhibit “A” constitutes an integral part of the Plan of which it
  is a part. Defined terms in the Plan are to be given the same meaning in this Exhibit “A”. The
  rules of construction set forth in Article I.B. of the Plan shall likewise apply to this Exhibit “A”.

          2.      Estate Claims Reserved, Retained and Preserved. All Estate Claims are hereby
  reserved, retained and preserved, and shall all be transferred to, and vested in, the
  Reorganized Debtor pursuant to this Plan, and shall include without limitation all of the Estate
  Claims described below. In reserving, retaining, and preserving Estate Claims against any
  named Person or category of Persons, it is the intent of this Plan to so reserve, retain, and
  preserve any and all Estate Claim against each such Person or category of Persons, including
  all such Estate Claims pursuant to any applicable common law, based on any contract or
  agreement or based upon any law, statute or regulation of any political entity, including the
  United States and any state or political subdivision thereof, as well as all applicable remedies,
  whether legal or equitable. Without limiting the generality of the foregoing, the reservation,
  retention, and preservation of Estate Claims against any Person, and the term “Estate Claims,”
  shall encompass all Estate Claims against any such Person, including without limitation, all such
  Estate Claims for breach of contract, all rights to enforce any contract, any form of estoppel,
  fraud, constructive fraud, abuse of process, malicious prosecution, defamation, libel, slander,
  conversion, trespass, intentional infliction of emotional distress or other harm, negligence, gross
  negligence, breach of any duty owed under either applicable law or any contract, breach of any
  fiduciary duty or duty of loyalty or due care, aiding and/or abetting breach of fiduciary duty,
  aiding and/or abetting breach of duty of loyalty or due care, alter ego, veil piercing, self-dealing,
  usurpation of corporate opportunity, ultra vires, turnover of Estate Assets, unauthorized use of
  Estate Assets, including intellectual property rights or Assets owned by the Debtors or Chapter
  11 Trustee, quantum merit, tortious interference, duress, unconscionability, undue influence,
  and unjust enrichment, as well as any cause of action for conspiracy to commit any unlawful act,
  aiding and/or abetting any such unlawful act, or assisting, encouraging, and/or participating in
  any such unlawful act, or claims arising from or relating to the filing of the involuntary bankruptcy
  petitions against the Debtors.

          3.      Highland Claims. All Estate Claims against Highland are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in Adversary Proceeding No. 18-03078-
  sgj (the “Highland Adversary”) and Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
  Adversary”). The Estate Claims against Highland shall include all Estate Claims set forth in
  paragraph 2 above, including without limitation, the following:

                (a)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Highland Adversary;

                (b)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 1
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                (d)    All Avoidance Actions against Highland, including any claims to avoid and
  recover amounts transferred by the Debtors to Highland under the Shared Services Agreement
  or Sub-Advisory Agreement;

                   (e)     All Claims for breach of the Shared Services Agreement or Sub-Advisory
  Agreement;

                  (f)      All Claims against Highland for amounts paid by the Debtors to Highland
  under the Shared Services Agreement and Sub-Advisory Agreement, including any Claim that
  Highland overcharged Acis LP for services under such agreements, charged excessive fees in
  violation of Acis LP’s limited partnership agreement and/or Acis GP’s limited liability company
  agreement, and/or that the Shared Services Agreement and Sub-Advisory Agreement or any
  related or predecessor agreements are void or voidable based on ultra vires or any other
  theories of avoidance and recovery, including turnover, conversion and Avoidance Actions
  under the Bankruptcy Code;

                   (g)     All Claims for breach of the PMAs or the Indentures;

                 (h)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (i)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (j)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (k)   All claims for tortious interference, including in relation to Universal-
  Investment-Luxembourg S.A. and BayVK R2 Lux S.A., SICAV-FIS;

                  (l)    All Claims against Highland for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (m)      All Claims against Highland for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (n)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (o)   All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland or any Affiliates thereof, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Acis LP;

                 (p)   All Claims based on alter ego or rights to pierce the corporate veil of
  Highland as to any Person, including as against any Affiliates of Highland, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                            Page 2
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  control of Highland, and,

                 (q)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

         4.      HCLOF Claims. All Estate Claims against HCLOF are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
  Trustee’s Adversary. The Estate Claims against HCLOF shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation, the following:

                 (a)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against HCLOF;

                   (e)     All Claims for breach of the PMAs or the Indentures;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)    All Claims against HCLOF for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (j)      All Claims against HCLOF for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (k)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by HCLOF against the Debtors, Chapter 11 Trustee, or Estate;

                   (l)     All Claims based on alter ego or rights to pierce the corporate veil of

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                                Page 3
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  HCLOF as to any Person, including as against any Affiliates of HCLOF or Highland, William
  Scott, Heather Bestwick, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of HCLOF; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          5.      Highland HCF Advisor, Ltd. Claims. All Estate Claims against Highland HCF
  Advisor, Ltd. (“Highland HCF”) are reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims asserted by the
  Chapter 11 Trustee in the Highland Adversary. The Estate Claims against Highland HCF shall
  include all Estate Claims set forth in paragraph 2 above, including without limitation, the
  following:

                (a)      All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against Highland HCF;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland HCF for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland HCF for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland HCF against the Debtors, Chapter 11 Trustee, or
  Estate;

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                             Page 4
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                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland HCF as to any Person, including as against any Affiliates of Highland HCF or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland HCF; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           6.      Highland CLO Management, Ltd. Claims. All Estate Claims against Highland
  CLO Management, Ltd. (“Highland CLOM”) are reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor, including without limitation all such Estate Claims
  asserted by the Chapter 11 Trustee in the Highland Adversary. The Estate Claims against
  Highland CLOM shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against Highland CLOM;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland CLOM for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland CLOM for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland CLOM against the Debtors, Chapter 11 Trustee, or

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 5
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  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland CLOM as to any Person, including as against any Affiliates of Highland CLOM or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland CLOM; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          7.      CLO Holdco, Ltd. Claims. All Estate Claims against CLO Holdco, Ltd. (“CLO
  Holdco”) are reserved, retained and preserved for the benefit of the Estate and Reorganized
  Debtor, including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in
  the Trustee’s Adversary. The Estate Claims against CLO Holdco shall include all Estate Claims
  set forth in paragraph 2 above, including without limitation, the following:

                  (a)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Highland Adversary;

                  (b)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against CLO Holdco;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against CLO Holdco for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against CLO Holdco for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;



  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 6
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (k)     All Claims based on alter ego or rights to pierce the corporate veil of CLO
  Holdco as to any Person, including as against any Affiliates of CLO Holdco or Highland, or any
  other officers, directors, equity interest holders, or Persons otherwise in control of CLO Holdco;
  and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          8.     Neutra, Ltd. Claims. All Estate Claims against Neutra, Ltd. (“Neutra”) are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Trustee’s Adversary. The Estate Claims against Neutra shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation the following:

                 (a)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against Neutra;

                (e)    All Claims for breach of fiduciary or duty of loyalty or due care owed to the
  Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (h)    All Claims against Neutra for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against Neutra for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 7
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Neutra against the Debtors, Chapter 11 Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Neutra, Highland, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of
  Neutra as to any Person, including as against any Affiliates of Neutra or Highland, or any other
  officers, directors, equity interest holders, or Persons otherwise in control of Neutra; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          9.     Claims against Issuers, Co-Issuers and Indenture Trustee. All Estate Claims
  against CLO-3, CLO-4, CLO-5, and CLO-6 (collectively, the “Issuers”), Acis CLO 2014-3 LLC,
  Acis CLO 2014-4 LLC, Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC (collectively, the "Co-
  Issuers"), and the Indenture Trustee are reserved, retained and preserved for the benefit of the
  Estate and Reorganized Debtor, including without limitation all such Estate Claims asserted by
  the Chapter 11 Trustee in the Trustee’s Adversary. The Estate Claims against the Issuers, Co-
  Issuers and/or Indenture Trustee shall include all Estate Claims set forth in paragraph 2 above,
  including without limitation the following:

                 (a)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Highland Adversary;

                 (b)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against the Issuers, Co-Issuers and/or Indenture
  Trustee;

                (e)    All Claims for breach of the Indentures, PMAs or any other agreements
  between Acis LP and the Issuers, Co-Issuers, and/or Indenture Trustee;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 8
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                  (i)      All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the turnover of Estate Assets, including Estate property that the Chapter 11 Trustee may use,
  sell or lease under section 363 of the Bankruptcy Code including, without limitation, any
  intellectual property rights or Assets owned by the Debtors or Estate, as well as the turnover of
  any books, documents, records and papers relating to the Debtors’ property or financial affairs;

                 (j)   All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the unauthorized use of Estate Assets including, without limitation, any intellectual property
  rights or Assets owned by the Debtors or Estate;

                 (k)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by the Issuers or Co-Issuers against the Debtors, Chapter 11
  Trustee, or Estate; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           10.     Highland Affiliate Claims. All Estate Claims against any Affiliates of Highland are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Highland Adversary and the Trustee’s Adversary. The Estate Claims against any Affiliates of
  Highland shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against any Highland Affiliate asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against any Highland Affiliate asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against any Highland Affiliate;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)    All Claims against any Highland Affiliate for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets

  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 9
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  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)     All Claims against any Highland Affiliate for the unauthorized use of
  Estate Assets including, without limitation, any intellectual property rights or Assets owned by
  the Debtors or Estate;

                 (j)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by any Highland Affiliate against the Debtors, Chapter 11
  Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland, Neutra, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of any
  Highland Affiliate as to any Person, including as against any other Affiliates of Highland or any
  officers, directors, equity interest holders, or Persons otherwise in control of any Highland
  Affiliates; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          11.     Dondero Claims. All Estate Claims as defined in paragraph 2 above against
  James D. Dondero, individually, are hereby reserved, retained and preserved for the benefit of
  the Estate and Reorganized Debtor, including without limitation all such Estate Claims against
  James D. Dondero for fraud, constructive fraud, breach of fiduciary duty, breach of duty of
  loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
  duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
  opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
  interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
  S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
  breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
  Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
  agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
  assisting, encouraging, and/or participating in any unlawful act, as well as any Claim to pierce
  the corporate veil of any entity to hold James D. Dondero individually liable.

            12.  Okada Claims. All Estate Claims as defined in paragraph 2 above against Mark
  K. Okada, individually, are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims against Mark K.
  Okada for fraud, constructive fraud, breach of fiduciary duty, breach of duty of loyalty or due
  care, aiding and abetting breach of fiduciary duty, self-dealing, ultra vires, conversion,
  usurpation of corporate opportunity, including in relation to Acis CLO 2017-7, Ltd and any other
  Acis CLOs, tortious interference, including in relation to Universal-Investment-Luxembourg S.A.
  and BayVK R2 Lux S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all
  Avoidance Actions, breach of contract, breach of the Shared Services Agreement, breach of the
  Sub-Advisory Agreement, breach of the Debtors’ limited partnership agreement or limited
  liability company agreement, conspiracy to commit any unlawful act, aiding and abetting any


  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 10
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  unlawful act, and assisting, encouraging, and participating in any unlawful act, as well as any
  Claim to pierce the corporate veil of any entity to hold Mark K. Okada individually liable.

           13.    Preference Claims. All Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code against any Person are hereby reserved, retained and preserved for the
  benefit of the Estate and Reorganized Debtor for any payment made to any Person by either of
  the Debtors within ninety (90) days of the Petition Date (which was January 30, 2018), or made
  by either of the Debtors to any insider within one (1) year of the Petition Date. A non-exhaustive
  list of Persons who are believed to have received payments from either of the Debtors during
  the 90-day preference period, and the one-year preference period for Insiders, is attached to
  this Exhibit “A” as Schedule “1”. The Plan reserves, retains and preserves for the benefit of
  the Estate and Reorganized Debtor all potential Claims arising out of or relating to the transfers
  reflected in Schedule “1”, including all Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code. All rights and remedies are also reserved. retained and preserved with
  respect to the transfers reflected in Schedule “1” pursuant to section 550 of the Bankruptcy
  Code.

                  Schedule “1” reflects transfers made by the Debtors during the 90 days prior to
  the Petition Date and transfers made by the Debtors to any insiders within one (1) year of the
  Petition Date. While the Plan reserves, retains and preserves all Avoidance Actions relating to
  the transfers reflected in Schedule “1”, the Chapter 11 Trustee recognizes that certain of these
  transfers may not constitute a preferential transfer pursuant to section 547(b) of the Bankruptcy
  Code as a transfer made in the ordinary course of business transactions or based upon new
  value subsequently given by the transferee. Consequently, the listing of a payment on
  Schedule “1” does not necessarily mean that a transferee will ever be sued to avoid and
  recover the payment, the transfer, or the value thereof, but only that the Plan reserves, retains
  and preserves all rights (including Avoidance Actions) as to that payment.

          14.     Claims Against Officers, Managers and Members. All Estate Claims as defined
  in paragraph 2 above are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor against all present and past officers, employees, members and
  managers of the Debtors, including all such Estate Causes of Action based on breach of
  fiduciary duty, aiding and abetting breach of fiduciary duty, breach of duty of loyalty or due care,
  aiding and abetting breach of duty of loyalty or due care, self-dealing, usurpation of corporate
  opportunity, gross negligence or conspiracy. Without limiting the generality of the foregoing, this
  shall include all D&O Claims as against any present or former officer, director, employee,
  member, manager, or partner.

           15.    Retention of Claims Against Specific Persons or Categories of Persons. In
  addition to the foregoing, all Estate Claims as defined in paragraph 2 above are hereby
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor against
  the following Persons:

                   (a)     William Scott;

                   (b)     Heather Bestwick;

               (c)    Any other Person who may be so named at a later date by the
  Reorganized Debtor.




  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                         Page 11
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          16.     Counterclaims. All Estate Claims as defined in paragraph 2 above are reserved,
  retained and preserved for the benefit of the Estate and Reorganized Debtor both as a basis for
  an affirmative recovery against the Person against whom such Claims are asserted and as a
  counterclaim or offset against any Person who asserts a Claim against the Estate or
  Reorganized Debtor.

          17.     Piercing the Corporate Veil. With respect to all Estate Claims against any
  Person, all rights to pierce or ignore the corporate veil are hereby reserved, retained and
  preserved for the benefit of the Estate and the Reorganized Debtor. Without limiting the
  generality of the foregoing, this shall include: (a) any right to pierce the corporate veil, including
  reverse piercing, on any theory or basis, including alter ego or any theory of sham to perpetrate
  a fraud, and (b) any Claim or basis to pierce the corporate veil of any entity with respect to
  establishing personal liability against James D. Dondero or Mark K. Okada.

         18.      Avoidance Actions. All Avoidance Actions are hereby reserved, retained and
  preserved as to all Persons. The reservation, retention and preservation of such Avoidance
  Actions shall include the reservation, retention and preservation for the benefit of the Estate and
  Reorganized Debtor of all rights and remedies pursuant to section 550 of the Bankruptcy Code.

           19.    Estate Defenses. All Estate Defenses are hereby reserved, retained and
  preserved in favor of the Estate and Reorganized Debtor as against any Person asserting any
  Claim against the Estate. This includes asserting all Estate Claims as an offset to, or
  counterclaim or right of recoupment against, any Person asserting a Claim against the Estate.
  All defenses and affirmative defenses pursuant to applicable law are hereby reserved, retained
  and preserved for the benefit of the Estate and the Reorganized Debtor, including without
  limitation, accord and satisfaction, assumption of risk, contributory negligence, duress, estoppel,
  failure of consideration, fraud, illegality, laches, license, payment, release, res judicata,
  collateral estoppel, statute of frauds, statute of limitations or repose, discovery rule, adverse
  domination doctrine or similar doctrines, set off, recoupment, waiver, and all other defenses to
  Claims under the Bankruptcy Code, including under sections 502(b)(4) and 502(d).

          20.     Equitable Subordination. All rights or remedies for Equitable Subordination are
  hereby reserved, retained and preserved in favor of the Estate and Reorganized Debtor against
  any Person asserting any Claim against the Estate, including all such rights or remedies
  pursuant to section 510(c) of the Bankruptcy Code. Without limiting the generality of the
  foregoing, this shall include all rights and remedies to Equitable Subordination as to any Claim
  asserted by Highland, any Affiliates of Highland, or any officers, directors, employees or equity
  interest owners of the Debtors, Highland, or any Affiliates thereof.

          21.     Recharacterization. All rights or remedies to recharacterize any Claim as an
  equity interest in either of the Debtors are hereby reserved, retained and preserved in favor of
  the Estate and Reorganized Debtor against any Person asserting any Claim against the Estate.
  Without limiting the generality of the foregoing, this shall include all rights and remedies to
  recharacterize any Claim asserted by Highland, any Affiliates of Highland, or any officers,
  directors, employees or equity interest owners of the Debtors, Highland, or any Affiliates thereof.




  Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
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                                                   Schedule 1 to Exhibit "A" to
                 Second Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                      DATE OF                                      REASON FOR PAYMENT
              NAME                           ADDRESS                 PAYMENT           PAYMENT AMOUNT                 ON SCHEDULES
                                                 Payments within 90 Days of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/2/2017                         $234,013.63   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/3/2017                         $941,958.57   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                12/8/2017                          $89,655.14   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/15/2017                          $2,068.13   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/30/2017                         $24,266.71   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/12/2017                          $1,718.79   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/29/2017                         $25,000.00   Services
                                  1735 K Street, NW
FINRA                             Washington, DC 20006            11/22/2017                             $70.00   Suppliers or Vendors
                                  PO Box 309, Ugland House
                                  Grand Cayman, KY1-1104,
Highland CLO Management, Ltd.     Cayman Islands                  12/19/2017                      $2,830,459.22   Services
                                            Payments to Insiders within One Year of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                          $976,688.47   Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                        $1,096,033.37   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/2/2017                            $3,574.80   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/14/2017                              $67.44   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/17/2017                         $315,574.30   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/18/2017                         $438,497.51   Services
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                                                   Schedule 1 to Exhibit "A" to
                 Second Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                   DATE OF                                  REASON FOR PAYMENT
             NAME                           ADDRESS                PAYMENT        PAYMENT AMOUNT               ON SCHEDULES
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/18/2017                   $375,855.01 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/19/2017                   $330,249.69 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/1/2017                     $974,426.41 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                  $2,809,518.47 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                   $581,036.15 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               7/18/2017                   $373,167.08 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/1/2017                    $971,603.02 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/7/2017                   $1,339,422.12 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/16/2017                          $53.41 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                  $372,872.82 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                  $728,702.26 Services
                                  300 Crescent Court, Ste. 700                                           Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               10/24/2017                  $501,979.18 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                      $46,648.82 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                      $67,966.85 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               11/1/2017                   $967,223.91 Contractual Payment
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                               EXHIBIT B
      TO THIRD AMENDED JOINT PLAN FOR ACIS
        CAPITAL MANAGEMENT, LP AND ACIS
          CAPITAL MANAGEMENT GP, LLC

         [EXECUTORY CONTRACTS ASSUMED UNDER THE PLAN]
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description              Contract Date      Cure Amount
Acis CLO 2013-1 Chemical Holdings, LLC          Limited Liability Company Agreement      October 28, 2016         $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2013-1, Ltd.                           Limited Liability Company Agreement      October 28, 2016        $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 Ltd.                             Collateral Administration Agreement      March 18, 2013         $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
U.S. Bank National Association                   Collateral Administration Agreement      March 18, 2013         $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2013-1
Acis CLO 2013-1 Ltd.                              Portfolio Management Agreement          March 18, 2013         $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 Ltd.                                         Indenture                    March 18, 2013         $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 LLC                                          Indenture                    March 18, 2013         $0
850 Library Ave., Suite 204
Newark, DE 19711




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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description              Contract Date      Cure Amount
U.S. Bank National Association                              Indenture                    March 18, 2013          $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2013-1
Acis CLO 2013-1 Ltd.                                  Supplemental Indenture            February 26, 2014       $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 LLC                                   Supplemental Indenture            February 26, 2014       $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                        Supplemental Indenture            February 26, 2014       $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2013-1
Acis CLO 2013-1, Ltd.                                  Governing Documents                      --              $0
c/o Estera Trust (f/k/a Appleby Trust)                (Requested from HCM)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-2 Chemical Holdings, LLC          Limited Liability Company Agreement             --              $0
1209 Orange Street                                     (requested from HCM)
Wilmington, DE 19801
Acis CLO 2013-2 Ltd.                            Limited Liability Company Agreement             --              $0
c/o Estera Trust (f/k/a Appleby Trust)                 (requested from HCM)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108




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                                                        EXHIBIT B
                                         Executory Contracts and Unexpired Leases
                                               to Be Assumed by the Trustee

Party                                                 Contract Description              Contract Date      Cure Amount
Acis CLO 2013-2 Ltd.                           Collateral Administration Agreement      October 3, 2013         $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
The Bank of New York Mellon Trust Co., N.A.    Collateral Administration Agreement      October 3, 2013        $0
601 Travis Street, 16th Floor
Houston, Texas 77002
Attn: Global Corporate Trust –
Acis CLO 2013-2
Acis CLO 2013-2 Ltd.                            Portfolio Management Agreement          October 3, 2013        $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-2 Ltd.                                       Indenture                    October 3, 2013        $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-2 LLC                                        Indenture                    October 3, 2013        $0
850 Library Ave., Suite 204
Newark, DE 19711
The Bank of New York Mellon Trust Co., N.A.                 Indenture                   October 3, 2013        $0
601 Travis Street, 16th Floor
Houston, Texas 77002
Attn: Global Corporate Trust –
Acis CLO 2013-2
Acis CLO 2013-2 Ltd.                                  Governing Document                       --              $0
c/o Estera Trust (f/k/a Appleby Trust)               (requested from HCM)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108




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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description              Contract Date      Cure Amount
Acis CLO 2014-3 Chemical Holdings, LLC          Limited Liability Company Agreement      October 28, 2016         $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2014-3 Ltd.                            Limited Liability Company Agreement      October 28, 2016        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-3 Ltd.                             Collateral Administration Agreement     February 25, 2014       $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
U.S. Bank National Association                   Collateral Administration Agreement     February 25, 2014       $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-3
Acis CLO 2014-3 Ltd.                              Portfolio Management Agreement         February 25, 2014       $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-3 Ltd.                                         Indenture                   February 25, 2014       $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-3 LLC                                          Indenture                   February 25, 2014       $0
850 Library Ave., Suite 204
Newark, DE 19711




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                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description               Contract Date      Cure Amount
U.S. Bank National Association                              Indenture                    February 25, 2014        $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-3
Acis CLO 2014-3 Ltd.                          Memorandum and Articles of Association    December 24, 2013        $0
c/o MaplesFS Limited                                of Acis CLO 2014-3 Ltd.
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-4 Chemical Holdings, LLC          Limited Liability Company Agreement      October 28, 2016        $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2014-4 Ltd.                            Limited Liability Company Agreement      October 28, 2016        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1 -1102
Acis CLO 2014-4 Ltd.                             Collateral Administration Agreement       June 5, 2014          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1 -1102
U.S. Bank National Association                   Collateral Administration Agreement       June 5, 2014          $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-4
Acis CLO 2014-4 Ltd.                              Portfolio Management Agreement           June 5, 2014          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102




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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description               Contract Date      Cure Amount
Acis CLO 2014-4 Ltd.                                        Indenture                      June 5, 2014           $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-4 LLC                                          Indenture                     June 5, 2014          $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                                Indenture                    June 5, 2014          $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-4
Acis CLO 2014-4 Ltd.                          Memorandum and Articles of Association       April 1, 2014         $0
c/o MaplesFS Limited                                of Acis CLO 2014-4 Ltd.
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Island KY1-1102
Acis CLO 2014-5 Chemical Holdings, LLC          Limited Liability Company Agreement      October 28, 2016        $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2014-5 Ltd.                            Limited Liability Company Agreement      October 28, 2016        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-5 Ltd.                             Collateral Administration Agreement    November 18, 2014        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102




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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description             Contract Date       Cure Amount
U.S. Bank National Association                   Collateral Administration Agreement    November 18, 2014         $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-5
Acis CLO 2014-5 Ltd.                              Portfolio Management Agreement        November 18, 2014        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-5 Ltd.                                         Indenture                  November 18, 2014        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-5 LLC                                          Indenture                  November 18, 2014        $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                                Indenture                 November 18, 2014        $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-5
Acis CLO 2014-5 Ltd.                          Memorandum and Articles of Association      August 21, 2014        $0
c/o MaplesFS Limited                                of Acis CLO 2014-5 Ltd.
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1 -1102
Acis CLO 2015-6 Chemical Holdings, LLC          Limited Liability Company Agreement      October 28, 2016        $0
1209 Orange Street
Wilmington, DE 19801




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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description              Contract Date      Cure Amount
Acis CLO 2015-6 Ltd.                            Limited Liability Company Agreement      October 28, 2016         $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2015-6 Ltd.                             Collateral Administration Agreement       April 16, 2015        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
U.S. Bank National Association                   Collateral Administration Agreement       April 16, 2015        $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6
Acis CLO 2015-6 Ltd.                              Portfolio Management Agreement           April 16, 2015        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2015-6 Ltd.                                         Indenture                     April 16, 2015        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2015-6 LLC                                          Indenture                     April 16, 2015        $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                                Indenture                    April 16, 2015        $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6




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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                Contract Description                Contract Date      Cure Amount
Acis CLO 2015-6 Ltd.                          Memorandum and Articles of Association    February 11, 2015        $0
P.O. Box 1093, Boundary Hall, Cricket Sq            of Acis CLO 2015-6 Ltd.
Grand Cayman, KY1-1102, Cayman Islands
Acis CLO Value Fund II (Cayman), LP.             Investment Management Agreement          May 1, 2016           $0
P.O. Box 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II GP, LLC                   Investment Management Agreement          May 1, 2016           $0
P.O. Box. 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II, LP.                      Investment Management Agreement          May 1, 2016           $0
300 Crescent Court
Suite 700
Dallas, TX 75201
Acis CLO Value GP, LLC                          Limited Liability Company Agreement       July 19, 2010         $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO Value Master Fund II, LP.               Investment Management Agreement          May 1, 2016           $0
P.O. Box 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II (Cayman), L.P.          Third Amended and Restated Exempted        May 1, 2016           $0
P.O. Box 309, Ugland House                         Limited Partnership Agreement
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Master Fund II, L.P.            Third Amended and Restated Exempted        May 1, 2016           $0
P.O. Box 309, Ugland House                         Limited Partnership Agreement
Grand Cayman, Cayman Islands KY1-1104
Acis Loan Funding, Ltd.                           FATCA and Non-FATCA Services            June 23, 2017         $0
300 Crescent Court                                         Agreement
Suite 700
Dallas, TX 75201




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                                                       EXHIBIT B
                                        Executory Contracts and Unexpired Leases
                                              to Be Assumed by the Trustee

Party                                               Contract Description             Contract Date      Cure Amount
BayVK R2 Lux S.A., SICAV FIS                         Power of Attorney              February 20, 2015        $0
15 rue de Flaxweiler
L-6776 Grevenmacher
BayVK R2 Lux S.A., SICAV-FIS                 Agreement for the Outsourcing of the   February 27, 2015       $0
15 rue de Flaxweiler                         Asset Management of BayVK R2 Lux
L-6776 Grevenmacher                                   S.A., SICAV-FIS

BayVK R2 Lux S.A., SICAV-FIS                       Service Level Agreement          February 27, 2015       $0
15 rue de Flaxweiler
L-6776 Grevenmacher
BNP Paribas Securities Services                       Power of Attorney             February 20, 2015       $0
Luxembourg Branch                                          86578
60 Avenue John F. Kennedy
1855 Luxembourg
Hewett's Island CLO 1-R, Ltd.                     Confidentiality Agreement           April 11, 2011        $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                        Governing Documents                    --              $0
clo Maples Finance Limited                          (Requested from HCM)
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                      Management Agreement               July 18, 2011         $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                 Collateral Administration Agreement   November 20, 2007       $0
clo Maples Finance Limited                          (Requested from HCM)
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102



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                                                           EXHIBIT B
                                            Executory Contracts and Unexpired Leases
                                                  to Be Assumed by the Trustee

Party                                                   Contract Description             Contract Date      Cure Amount
Hewett's Island CLO 1-R, Ltd.                                Indenture                  November 20, 2007        $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Deutsche Bank Trust Company Americas                          Indenture                 November 20, 2007       $0
1761 East St. Andrew Place
Santa Ana, CA 92705
Attn: CDO Business Unit – Hewett’s Island
CLO 1-R
State Street (Guerney Limited)                     FATCA and Non-FATCA Services           June 23, 2017         $0
First Floor, Dorey Court, Admiral Park,                     Agreement
St. Peter Port, Guernsey
U.S. Bank National Association                        Confidentiality Agreement           March 5, 2014         $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6
Universal-lnvestment-Luxembourg S.A.             Agreement for the Outsourcing of the   February 27, 2015       $0
15 rue de Flaxweiler                             Asset Management of BayVK R2 Lux
L-6776 Grevenmacher                                       S.A., SICAV-FIS

Universal-Investment-Luxembourg S.A.                      Power of Attorney             February 20, 2015       $0
15 rue de Flaxweiler
L-6776 Grevenmacher
Universal-Investment-Luxembourg S.A.                   Service Level Agreement          February 27, 2015       $0
15 rue de Flaxweiler
L-6776 Grevenmacher
Acis Loan Funding, Ltd.                            Portfolio Management Agreement       December 22, 2016       $0
First Floor, Dorey Court
St. Peter Port, Guernsey GYI 6HJ
Channel Islands


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                                                           EXHIBIT B
                                            Executory Contracts and Unexpired Leases
                                                  to Be Assumed by the Trustee

Party                                                   Contract Description                     Contract Date        Cure Amount
Acis Capital Management, LP                        Amended and Restated Agreement of            January 21, 2011           $0
c/o PHELANLAW                                            Limited Partnership
4214 Woodfin Drive
Dallas, Texas 75220

Acis Capital Management GP, LLC                  Amended and Restated Limited Liability         January 21, 2011            $0
c/o PHELANLAW                                           Company Agreement
4214 Woodfin Drive
Dallas, Texas 75220

        For the avoidance of doubt, to the extent not otherwise included above, the Trustee intends to assume any additional executory
 contracts that relate to the funds set forth below as may be necessary or beneficial to the Reorganized Debtor under the Plan:
        1.     Acis CLO 2013-1, Ltd.
        2.     Acis CLO 2013-2, Ltd.
        3.     Acis CLO 2014-3, Ltd.
        4.     Acis CLO 2014-4, Ltd.
        5.     Acis CLO 2014-5, Ltd.
        6.     Acis CLO 2015-6, Ltd.
        7.     Acis CLO Value Fund II, L.P.
        8.     Acis CLO Value Fund II (Cayman), L.P.
        9.     Acis CLO Master Fund II, L.P.
        10.    BayVK R2 Lux S.A., SICAV FIS
        11.    Hewitt’s Island CLO 1-R, Ltd.
        12.    Acis Loan Funding, Ltd.

               The Trustee reserves the right to amend or supplement this Exhibit B.


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                EXHIBIT “2”
        TO DISCLOSURE STATEMENT

                 [Brigade CLO Materials]
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                                                                                                                                                                                Entered 10/25/18 18:24:46
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                                                                                                            PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.   2
     E XE C UTI VE S UM M AR Y1

                                                            •   Brigade was founded in 2006 and is led by Donald E. Morgan III, CIO and Managing Partner.
                                                            •   Brigade manages approximately $20.1 billion in assets across multiple credit strategies.
             FIRM OVERVIEW                                  •   Headquartered in New York with affiliated offices in London, Tokyo, and Sydney.
                                                            •   111 professionals globally, including a 47-person investment team.
                                                            •   22 employee/ member equity partners who have each made a significant investment in the Brigade funds.


                                                            •   30 person global credit research team with deep sector expertise and experience across multiple credit cycles in the
                                                                leveraged finance market.
                                                            •   Bottom-up, fundamental research-based process focused on free cash flow generation and asset coverage.
                   BRIGADE
                                                            •   Team of 12 traders globally, including 1 dedicated loan trader, with strong capital market relationships.
          VALUE PROPOSITION
                                                            •   Actively trading the portfolio based on price target upside/ downside to build par and optimize WAS, WARF and
                                                                Diversity.
                                                                                                                                                                                                   Case 18-30264-sgj11 Doc 661 Filed 10/25/18




                                                            •   In-house developed software, Themis, allows PMs to monitor portfolio on a line item basis, track deal statistics, run
                                                                hypothetical trades, and give orders to our traders.


                                                            •   Brigade has issued 15 CLOs 2 and currently manages $5.3bn 3 in CLOs across 12 active transactions 4 , globally.
                                                            •   Brigade’s first CLO was issued in July 2007. Brigade’s first European CLO was issued in July 2017.
                                                            •   Jared Worman was appointed CLO Portfolio Manager in July 2016. Mr. Morgan, Brigade’s CIO, remains actively
                                                                involved in the Brigade CLO management process.
                   BRIGADE
                                                            •   Mr. Worman leverages Brigade’s expertise in corporate credit research and structured credit analysis to build out the
           CLO MANAGEMENT                                       firm’s long term CLO management franchise.
                                                                                                                                                                                                   Entered 10/25/18 18:24:46




                                                            •   $846mm flagship structured credit fund launched in August 2014. The firm has successfully invested in cash and
                                                                synthetic structured products since 2008.
                                                            •   Approximately $1.5bn in CLO tranche investments managed across the firm’s various strategies.
                                                            •   Brigade’s first CDO closed in March 2018. This $400mm deal invests in both US loans and bonds.
1 Data is as of 7/ 1/ 2018.
2 Includes 12 US CLOs, 2 European CLOs and 1 US CDO.
3 CLO AUM depicts the notional amount of debt outstanding to investors as of 4/ 30/ 2018.
4 Includes 9 US CLOs, 2 European CLOs and 1 US CDO.
                                                                                                                                                                                                   Page 123 of 172




                                                                                                                               PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.   3
              TH E B R I G AD E C R E D I T P LATF O R M 1

              Currently managing over $5.3bn 2 in total collateralized loan obligations while leveraging the scope of a $20.1bn 1
              credit platform

              COLLATERALIZED LOAN OBLIGATIONS                                                                                                                                OPPORTUNISTIC CREDIT

              Battalion Series (U.S.)                                                                                                                                                      Commingled Fund
              Armada Series (EUR)                                                                                                                                                        Managed Accounts
              Brigade Debt Funding Series                                                                                                                                                             $5.1bn
              $5.3bn 2


                                                                                               TOTAL FIRM AUM
                                                                                                                                                                                                                    Case 18-30264-sgj11 Doc 661 Filed 10/25/18




                                                                                            $20.1 BILLION                                                        CUSTOMIZED CREDIT MANDATES
                                                                                                 (as of 7/ 1/ 2018)
                                                                                                                                                                                         Managed Accounts

                                                                                                                                                                                                      $2.4bn




              LONG-ONLYHIGH YIELD                                                                                                                                                         HEDGE FUNDS
                                                                                                                                                                                                                    Entered 10/25/18 18:24:46




              Managed Accounts                                                                                                                                                      Long/ Short Credit Fund
                                                                                                                                                                                     Structured Credit Fund
              $3.0bn
                                                                                                                                                                                     Distressed Value Fund
                                                                                                                                                                               Energy Opportunities Funds
                                                                                                                                                                                         Managed Accounts
1   AUM is as of 7/ 1/ 2018.                                                                                                                                                                         $4.5bn
2   CLO AUM depicts the notional amount of debt outstanding to investors as of 4/ 30/ 2018. Includes 8 US CLOs, 2 European CLOs and 1 US CDO.
                                                                                                                                                                                                                    Page 124 of 172




                                                                                                                                                PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.   4
       B R I G AD E C R E D I T S TR ATE G I E S

         Approximately $13 billion, or over 66%, of AUM is dedicated to long only/ long biased credit strategies

                                       Credit Absolute          Corporate Structured                Distressed/                         Energy                    Long Bia sed Credit,
                                                                                                                                                                                                  High Yield a nd Other             CLO Collateral
           Strategy                        Return                      Credit                     Stressed Credits                    Long/ Short                 Ma cro short (when
                                                                                                                                                                                                  Long Only Strategies                Ma nager
                                         Long/ Short                Long/ Short                      Long/ Short                                                      a pplicable)




                                                                         Brigade                                                    Brigade Energy
                                     Brigade Leveraged                                                 Brigade                                                        Opportunistic                       Long Only                CLO Battalion and
       Fund/ Strategy                                               Structured Credit                                          Opportunities Funds I & II
                                   Capital Structures Fund                                      Distressed Value Fund                                                 Credit Strategy                     Accounts                   Armada Series
                                                                        Strategy                                                 ("Fund I" & "Fund II")
                                                                                                                                                                                                                                                        Case 18-30264-sgj11 Doc 661 Filed 10/25/18




             AUM9                                                                                                                  $403mm (Fund I);
                                             $2.5bn                         $1bn                        $236mm                                                             $5.1bn                           $3.0bn                       $5.3bn 8
         7/ 1/ 2018                                                                                                                $183mm (Fund II)




       Inception Da te                     1/ 1/ 2007                   8/ 1/ 2014                     1/ 1/ 2011                       5/ 1/ 2015                       3/ 1/ 2009                      4/ 1/ 2009                     7/ 1/ 2007




    Annualized Return
          ITD1                              5.96%2                        7.85%3                         6.36%4                           6.30%5                          6.82%6                          12.92%7                            -
                                                                                                                                                                                                                                                        Entered 10/25/18 18:24:46




        6/ 30/ 2018

1 The presented net returns assume the reinvestment of all earnings. The 2018 returns were prepared based on unaudited estimates, and the 2007-2017 returns were prepared based on audited financial statements. The returns reflected herein include

both realized and unrealized gains and losses.
2 Brigade Leveraged Capital Structures Fund LP
3 Brigade Structured Credit Fund LP
4 Brigade Distressed Value Fund LP
5 Brigade Energy Opportunities Fund LP
6 Brigade Credit Fund II LP
7 Brigade Traditional High Yield Strategy Representative Account
8 CLO AUM depicts the notional amount of debt outstanding to investors as of 6/ 30/ 2018. Includes 9 US CLOs, 2 European CLOs and 1 US CDO.
                                                                                                                                                                                                                                                        Page 125 of 172




9 Excludes $2.4bn of additional AUM in other separately managed accounts.




                                                                                                                                                                         PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.              5
              B R I G AD E I N VE S TM E N TS 1


           Brigade manages approximately $8.6 billion in leveraged loans across the spectrum of Brigade investment strategies


                                                                                                                             Equities ($800mm), 4.3%
                                                                                                                      3
                                                                           Other ($300mm), 1.9%

             Collateralized Loan Obligations ($1.4bn), 7.6%
                                                                                                                                                                                                                      Case 18-30264-sgj11 Doc 661 Filed 10/25/18




                                                                                                                                                                                                                 2
                                                                                                                                                                      Bank Debt ($8.6bn), 48.3%



                                Bonds ($6.8bn), 37.9%
                                                                                                                                                                                                                      Entered 10/25/18 18:24:46




1 Firm wide AUM is as of 6/ 30/ 2018. Excludes Cash.
2 Bank Debt invested AUM includes the value of investments held within Collateralized Loan Obligations that are in warehousing.
                                                                                                                                                                                                                      Page 126 of 172




3 Other includes ABS, Synthetic Credit and Other Assets




                                                                                                                                                  PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.   6
 B R I G AD E I N VE S TM E N T TE AM 1

                                                                                           DONALD E. MORGAN III, CFA
                                                                                               MANAGING PARTNER
                                                                                              Chief Investment Officer
                                                                                                      25 years


                                                                                                                                                          STRATEGY HEADS
                                                                                                                         •   Steve Bleier, Co-PM Structured Credit, Co-Head of Trading, 20 Years
                                                JARED WORMAN                                                             •   Dylan Ross, Co-PM Structured Credit, Trader, 12 Years
                                                                                                                         •   Ivan Krsticevic, PM of Distressed, Head of Distressed Research, 22 Years
                                           CLO PORTFOLIO MANAGER
                                                                                                                         •   Doug Pardon, PM of Opportunistic Credit and Long Only High Yield, 17 Years
                                                        16 years                                                         •   Gregory Soeder, Head of Portfolio Strategy, 21 Years
                                                                                                                         •   J. Carney Hawks, PM of Energy, Head of Special Situations, 22 Years
                                                                                                                         •   Thomas O’Shea, Head of European Investments, 22 Years
                                                                                                                                                                                                                               Case 18-30264-sgj11 Doc 661 Filed 10/25/18




        Ra ymond Ga rson                        John Ba ylis            Simon Ba ukh                 Scott Hoffma n                 Christopher Cha ice            Kuna l Ba nerjee, CFA                 Sumit Sa blok
           Healthcare                          Media & Cable              Australia                  Energy/ Power                 Senior Credit Attorney              Chemicals                          Technology
            23 Years                             21 Years                 20 Years                     18 Years                          18 Years                        18 Years                          18 Years


         Nia ll Sheehan                       Kensuke Fushitani        Ma tthew Vodola                 Na il Ja cob                 Luc-Antoine Leba rd               Mea ga n Bennett                    Da vid You
      European Industrials                      Asian Markets            Distressed                European Retail &               European Technology,               Airlines, Power &                   Distressed
           17 Years                                17 Years               13 Years                 Consumer Products                 Media & Telecom                     Oil Services                      11 Years
                                                                                                       13 Years                          12 Years                          12 Years

         Ma tthew Perkal                         Ma x Scherr            Pa trick Eva ns               Ada m Trusley                      Cecil Boex                    Doug Ingra ham                    Akshay Na gia
  Retail & Consumer Products                     Financials             Credit Attorney               Industrials &                       Europe                          Aviation                      Energy &Power
            10 Years                              10 Years                 9 Years                  Special Situations                    7 Years                         7 Years                          7 Years
                                                                                                         9 Years

        Pa trick Robb                       Tyler Willia ms-Sinclair     Colin Howa rd              Sa ndro Ca rissimo                  Emily Keinz             Rob Lefkowitz, CFA,CAIA,FRM        Siddhartha Da stidar, PhD
     Gaming, Homebuilding                    Technology & Media           Healthcare               Chemicals & Gaming              Senior Portfolio Analyst           Director of Risk                   Risk Officer
           & Autos                                 5 Years                 5 Years                       3 Years                          10 Years                       24 Years                          14 Years
                                                                                                                                                                                                                               Entered 10/25/18 18:24:46




           6 Years

          Russ DiMinni                          Xa vier Mima ud        Michael Wa lker                Mitch Rosen                  Susa nta Ba su, PhD
                                                                                                                                                                        Justin Pa uley                 Cha rles Ba rtels
        Co-Head of Trading                           Trader                Trader                     CMBS Analyst                 Quantitative Analyst         Senior Structured Credit Analyst            Trader
            25 Years                               23 Years               22 Years                      17 Years                        14 Years                           14 Years                      13 Years

         Jordan Chirico                       Byron Ma turo, CFA        Michael Bennett
    Senior Structured Product                 Derivatives Trader       Trading Assistant
             Analyst                               9 Years                  5 Years
            12 Years
                                                                                                                                                                                                                               Page 127 of 172




1 Reflects   years of relevant industry experience


                                                                                                                                                                                                                               7
                                                                                                                                                 PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.
                B R I G AD E C LO s O UTS TAN D I N G 1

                                                                                     Current                                                                                        Weighted
    Deal                    Closing                Reinvestment                                                                                             Diversity                                           Second                   Equity                 Change In
                                                                                    Liability                  WAS4                    WARF                                         Average
    Name                     Date                    End Date                                                                                                Score                                               Lien                    NAV5                     NAV
                                                                                    Balance 3                                                                                      Facility Size                                                              (Last 12 months)
                                                                                                                                                                                          (mm)

                                                                                                                    EFFECTIVE

 Ba ttalion 5 6           4/ 24/ 2014                 4/ 17/ 2018                $416,500,000                    N/ A                    N/ A                   N/ A                      N/ A                      N/ A                   29.2                      11.8

 Ba ttalion 6 6          10/ 16/ 2014                10/ 17/ 2018                $461,100,000                    N/ A                    N/ A                   N/ A                      N/ A                      N/ A                   28.9                      13.1

  Ba ttalion 7           11/ 19/ 2014                10/ 17/ 2018                $411,500,000                    3.54                  2,855                     61                     $1,160                    1.31%                    37.8                       7.0

  Ba ttalion 8             4/ 9/ 2015                 7/ 18/ 2022                $505,775,000                    3.65                  2,887                     75                     $1,299                    1.08%                    65.1                       3.0

  Ba ttalion 9            7/ 29/ 2015                 7/ 15/ 2020                $509,200,000                    3.61                  2,897                     73                     $1,284                    1.10%                    54.6                       3.6

 Ba ttalion 10            12/ 8/ 2016                 1/ 24/ 2021                $404,300,000                    3.55                  2,734                     71                     $1,291                    1.31%                    87.8                      (1.6)
                                                                                                                                                                                                                                                                                Case 18-30264-sgj11 Doc 661 Filed 10/25/18




 Ba ttalion 11            9/ 21/ 2017                10/ 24/ 2021                $651,750,000                    3.55                  2,719                     71                     $1,250                    1.24%                    76.9                       N/ A

 Ba ttalion 12            5/ 16/ 2018                 5/ 17/ 2023                $612,000,000                    3.56                  2,788                     71                     $1,226                    1.26%                    70.1                       N/ A

  Arma da 1 2             9/ 21/ 2017                10/ 24/ 2021                $430,922,997                    3.58                  2,740                     46                      €596                     0.00%                    63.0                       N/ A

    BDF 1 7               3/ 14/ 2018                       N/ A                 $408,100,000                    4.97                  3,112                     66                     $1,059                    2.32%                    90.0                       N/ A

     TOTAL                                                                      $ 4,811,147,997

                                                                                                              NOT YET EFFECTIVE

  Arma da 2 2             4/ 26/ 2018                 5/ 15/ 2022                $480,487,334                    3.57                  2,726                     45                      €585                     0.00%                    N/ A                       N/ A
                                                                                                                                                                                                                                                                                Entered 10/25/18 18:24:46




     TOTAL                                                                       $ 480,487,334

GRAND TOTAL                                                                    $5,291,635,331 8
1 Source: Themis, Brigade internal system, as of 6/ 30/ 2018. The above information is given in relation to previous Brigade CLO issuances. CLO issuances that are in a post-reinvestment period have been excluded. CLO issuances have varied and these examples are not reflective

of all past or future CLO portfolio construction or performance. Future CLO issuances, construction, and performance will vary from the above examples.
2 Armada deals are managed by Brigade's controlled affiliate in the UK, Brigade Capital Europe Management LLP.
3 Current liability balance shown in USD.
4 WAS incorporates spread, fixed coupons and loan floor (when it is above LIBOR for Battalion deals and EURIBOR for Armada deals).
5 Equity NAV not meaningful until effective date.
6 Battalion 5 and Battalion 6 are in the process of being redeemed.
7 BDF 1 refers to Brigade Debt Funding 1, Brigade’s first CBO.
                                                                                                                                                                                                                                                                                Page 128 of 172




8 CLO AUM depicts the notional amount of debt outstanding to investors as of 6/ 30/ 2018.




                                                                                                                                                                                       PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.                       8
            C LO I N VE S TM E N T P R O C E S S : I N VE S TM E N T S UM M AR Y

          Portfolio is rotated to opportunities identified by fundamental research and experience with credit cycle conditions


 FUNDAMENTAL RESEARCH                                                                                                                                                                STRUCTURE
  Rely on strength of credit research                                                                                                                                                Deep understanding of different
   team, over half of which has more                                                                                                                                                   investor objectives
   than a decade of experience
   covering specific sectors                                                                                                                                                          Balanced approach to portfolio
                                                                                                                                                                                       management focused on par build
  Rigorous modeling and discussion
   with PM before positions are                                                                                                                                                       Rigorous modeling of ratings,
   initiated                                                                           FUNDAMENTAL                                       STRUCTURE                                     default, and price scenarios
  Focus on free cash flow, asset                                                        RESEARCH
   coverage, and downside protection
                                                                                                                                                                                                                                              Case 18-30264-sgj11 Doc 661 Filed 10/25/18




   in assessing relative value
  Key criteria include: strength of                                                                                                                                                   PORTFOLIO CONSTRUCTION
   management, barriers to entry,
                                                                                                                                                                                        Balanced single-name approach based
   history through the cycle, and credit
                                                                                                                                                                                         on credit research, relative value, and
   documents
                                                                                                                                                                                         rating
  Experienced team willing to take on                                                                          PORTOLIO
   an active role in structuring more                                                                                                                                                   Focus on liquid loans traded by large
                                                                                                              CONSTRUCTION                                                               bracket banks
   difficult deals
                                                                                                                                                                                        Daily monitoring of line items by
                                                                                                                                                                                         proprietary Brigade rating system and
                                                                                                                                                                                                                                              Entered 10/25/18 18:24:46




                                                                                                                                                                                         target exposure
                                                                                                                                                                                        Diversify exposure at issuer, industry
                                                                                                                                                                                         and geography levels
                                                                                                                                                                                        Conservative but active management,
                                                                                                                                                                                         limiting use of second liens and CCC’s,
While Brigade generally expects to adhere to the above exposures during norma l market conditions, such exposures are targets a nd not investment restrictions. Brigade
may modify its portfolio exposure targets at any time and in any manner which it believes is consistent with its overall investment objective in response to market                      with a focus on building par
conditions or other factors without notice to investors or clients.
                                                                                                                                                                                                                                              Page 129 of 172




                                                                                                                                                                          PAST PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS.   9
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                EXHIBIT “3”
        TO DISCLOSURE STATEMENT

                        [Plan Projections]
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                                                               *Prepared at the Request of Counsel*




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                                                                                                                        *Prepared at the Request of Counsel*



Plan Projections (4 Resets) as of September 27, 2018
Assets Available for Distribution                                                       Unaudited                                                                                                                                                               Schedule
                                                                                         Balance                                                                                                                                                                Reference
Cash  (1)
                                                                                          $3,757,369
Accounts Receivable                                                                        4,641,292                                                                                                                                                               A
HCLOM Receivable(2)                                                                        3,000,000
Revenue under PMAs                                                                         1,039,902                                                                                                                                                               B
Sub-Servicing Fees due to Brigade and Cortland                                              (543,940)                                                                                                                                                              B
Other Claims and Causes of Action                                                                TBD
Intellectual Property and Other Related Assets                                                   TBD
  Assets Available for Distribution                                                      $11,894,624
                                                                                                                                                                            Estimated Cash Flows
Reorganized Acis                                                                                                                                Year 1                    Year 2            Year 3                              Total
Revenue under PMAs                                                                                                                              $8,236,154                $8,012,400         $5,017,700                        $21,266,254                         C
Servicing Fees to Brigade                                                                                                                        (3,071,776)               (2,817,233)       (1,640,046)                        (7,529,054)                        C
Corporate Income Taxes (21%)                                                                                                                     (1,056,302)               (1,090,296)         (709,307)                        (2,855,905)                        C
  Distributable Cash for Reorganized Acis Claims                                                                                                $4,108,076                $4,104,872         $2,668,347                        $10,881,294
U.S. Trustee Ongoing Fees(3)                                                                                                                        (39,737)                  (41,016)          (21,090)                          (101,843)                        D
Deferred Administrative Expenses                                                                                                                          -                         -                 -                                  -                         D
Distributions to the Unsecured Cash Flow Note                                                                                                    (4,068,339)                 (265,830)                -                         (4,334,169)                        D
Distributions to Class 4B Claims                                                                                                                          -                (3,798,025)         (874,115)                        (4,672,140)                        D
  Distributable Cash for Equity Interests                                                                                                                 -                         -        $1,773,142                         $1,773,142


Estimated Creditor Recoveries                                                                                                                              Estimated Creditor
                                                                                                                                                               Recoveries                                                                        Estimated
                                                                                            Claim                Effective Date                 Year 1           Year 2                             Year 3                      Total           Recovery %
Class 1 - Secured Tax Claims                                                                          TBD                   TBD                        TBD              TBD                                   TBD                       TBD                -
Administrative Expenses
 Trustee and Professional Fees & Expenses                                                   $5,093,796                $5,093,796                          -                          -                          -               $5,093,796               100%      E
 Oaktree Break-Up Fees, Expenses & Equivalent Revenue(4)                                     2,455,053                 2,455,053                          -                          -                          -                2,455,053               100%      F
 Highland Payable as Sub-Servicer(5)                                                                 -                         -                          -                          -                          -                        -                 -       G
 Brigade Payable as Sub-Advisor                                                                  5,570                     5,570                          -                          -                          -                    5,570               100%      H
 Cortland Payable as Sub-Servicer                                                               27,000                    27,000                          -                          -                          -                   27,000               100%      H
Priority Tax Claims                                                                                TBD                       TBD                        TBD                        TBD                        TBD                      TBD
Class 2 - Terry Claim(6)                                                                     7,168,294                 3,633,293                  3,427,027                    223,926                          -                7,284,246               102%
Class 3 - General Unsecured Claims(6)                                                        1,341,429                   679,912                    641,312                     41,904                          -                1,363,128               102%
Class 4 - Insider Claims
 Class 4A (Highland Claim)                                                                         TBD                       TBD                        TBD                       TBD                       TBD                        TBD                 -
 Class 4B (Equitable Subordinated Claims)(6)(7)                                              4,672,140                         -                          -                 3,798,025                   874,115                  4,672,140               100%
Class 5 - Interests                                                                                 N/A                        -                          -                         -                         -                          -                 -
Total Consolidated Claims                                                                  $20,763,283               $11,894,624                 $4,068,339                $4,063,856                  $874,115                $20,900,934
Distributable Cash for Equity Interests                                                                                                                       -                         -            $1,773,142                 $1,773,142

Footnotes:
Note: Assumes Plan Effective Date on October 31, 2018. Assumes no expenses are passed through to the CLOs. Does not include recoveries from any claims or causes of action. Assumes $1 million of Joshua Terry's claim is equitized.
(1) Per August 31, 2018 Bank of Texas Balance plus deposit and check activity through September 27, 2018. Pro forma for $2.5 million payment to Oaktree on September 19, 2018 per Docket #587.
(2) A successful recovery of the November 3, 2017 transfer of the Acis LP Note Receivable from Highland is estimated at $9.5 million. Highland CLO Management Ltd. agreed to reimburse Acis LP (or pay its vendors directly) up to $3 million
(up to $2 million of future legal expenses and up to $1 million of future accounting/administrative expenses) per Docket #118 filed on April 13, 2018. Please reference Docket #118 for further information on the transfer.
(3) Included at the request of counsel.
(4) The U.S. Trustee and Chapter 11 Trustee are in the process of reviewing the attorneys' fees and expenses requested by Oaktree for reasonableness. The amount reflected is the amount requested by Oaktree as an expense reimbursement,
but the amount ultimately allowed may be different depending upon the resolution of any objections.
(5) Highland post-petition sub-servicer fees shown on Schedule G are approximately $2.6 million. However, the Chapter 11 Trustee estimates recoupment and other counterclaims may exceed this value; as such, the Highland claim is shown at $0 value.
(6) Per filed proof of claims and undisputed scheduled claims.
(7) Assumes Highland Claim will be subject to equitable subordination.
                                                                                                                                                  2
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Plan Projections (No Resets) as of September 27, 2018
Assets Available for Distribution                                                       Unaudited                                                                                                                                                                Schedule
                                                                                         Balance                                                                                                                                                                 Reference
Cash  (1)
                                                                                          $3,757,369
Accounts Receivable                                                                        4,641,292                                                                                                                                                                A
HCLOM Receivable(2)                                                                        3,000,000
Revenue under PMAs                                                                         1,039,902                                                                                                                                                                B
Sub-Servicing Fees due to Brigade and Cortland                                              (543,940)                                                                                                                                                               B
Other Claims and Causes of Action                                                                TBD
Intellectual Property and Other Related Assets                                                   TBD
  Assets Available for Distribution                                                      $11,894,624
                                                                                                                                                                            Estimated Cash Flows
Reorganized Acis                                                                                                                                Year 1                    Year 2            Year 3                              Total
Revenue under PMAs                                                                                                                              $8,068,517                $6,570,840                              -            $14,639,357                          C
Servicing Fees to Brigade                                                                                                                        (3,008,912)               (2,217,659)                            -             (5,226,571)                         C
Corporate Income Taxes (21%)                                                                                                                     (1,034,193)                 (913,263)                            -             (1,947,456)                         C
  Distributable Cash for Reorganized Acis Claims                                                                                                $4,025,411                $3,439,919                              -             $7,465,330
U.S. Trustee Ongoing Fees(3)                                                                                                                        (38,905)                  (34,356)                            -                (73,261)                         D
Deferred Administrative Expenses                                                                                                                          -                         -                             -                      -                          D
Distributions to the Unsecured Cash Flow Note                                                                                                    (3,986,506)                 (349,198)                            -             (4,335,705)                         D
Distributions to Class 4B Claims                                                                                                                          -                (3,056,364)                            -             (3,056,364)                         D
  Distributable Cash for Equity Interests                                                                                                                 -                         -                             -                      -


Estimated Creditor Recoveries                                                                                                                              Estimated Creditor
                                                                                                                                                               Recoveries                                                                        Estimated
                                                                                            Claim                Effective Date                 Year 1           Year 2                             Year 3                      Total           Recovery %
Class 1 - Secured Tax Claims                                                                          TBD                   TBD                        TBD              TBD                                    TBD                      TBD                  -
Administrative Expenses
 Trustee and Professional Fees & Expenses                                                   $5,093,796                $5,093,796                          -                          -                           -              $5,093,796               100%       E
 Oaktree Break-Up Fees, Expenses & Equivalent Revenue(4)                                     2,455,053                 2,455,053                          -                          -                           -               2,455,053               100%       F
 Highland Payable as Sub-Servicer(5)                                                                 -                         -                          -                          -                           -                       -                 -        G
 Brigade Payable as Sub-Advisor                                                                  5,570                     5,570                          -                          -                           -                   5,570               100%       H
 Cortland Payable as Sub-Servicer                                                               27,000                    27,000                          -                          -                           -                  27,000               100%       H
Priority Tax Claims                                                                                TBD                       TBD                        TBD                        TBD                         TBD                     TBD
Class 2 - Terry Claim(6)                                                                     7,168,294                 3,633,293                  3,358,094                    294,153                           -               7,285,539               102%
Class 3 - General Unsecured Claims(6)                                                        1,341,429                   679,912                    628,413                     55,046                           -               1,363,370               102%
Class 4 - Insider Claims
 Class 4A (Highland Claim)                                                                         TBD                       TBD                        TBD                       TBD                          TBD                     TBD                -
 Class 4B (Equitable Subordinated Claims)(6)(7)                                              4,672,140                         -                          -                 3,056,364                            -               3,056,364               65%
Class 5 - Interests                                                                                 N/A                        -                          -                         -                            -                       -                -
Total Consolidated Claims                                                                  $20,763,283               $11,894,624                 $3,986,506                $3,405,563                            -             $19,286,693
Distributable Cash for Equity Interests                                                                                                                       -                         -                         -                       -

Footnotes:
Note: Assumes Plan Effective Date on October 31, 2018. Assumes no expenses are passed through to the CLOs. Does not include recoveries from any claims or causes of action. Assumes $1 million of Joshua Terry's claim is equitized.
(1) Per August 31, 2018 Bank of Texas Balance plus deposit and check activity through September 27, 2018. Pro forma for $2.5 million payment to Oaktree on September 19, 2018 per Docket #587.
(2) A successful recovery of the November 3, 2017 transfer of the Acis LP Note Receivable from Highland is estimated at $9.5 million. Highland CLO Management Ltd. agreed to reimburse Acis LP (or pay its vendors directly) up to $3 million
(up to $2 million of future legal expenses and up to $1 million of future accounting/administrative expenses) per Docket #118 filed on April 13, 2018. Please reference Docket #118 for further information on the transfer.
(3) Included at the request of counsel.
(4) The U.S. Trustee and Chapter 11 Trustee are in the process of reviewing the attorneys' fees and expenses requested by Oaktree for reasonableness. The amount reflected is the amount requested by Oaktree as an expense reimbursement,
but the amount ultimately allowed may be different depending upon the resolution of any objections.
(5) Highland post-petition sub-servicer fees shown on Schedule G are approximately $2.6 million. However, the Chapter 11 Trustee estimates recoupment and other counterclaims may exceed this value; as such, the Highland claim is shown at $0 value.
(6) Per filed proof of claims and undisputed scheduled claims.
(7) Assumes Highland Claim will be subject to equitable subordination.
                                                                                                                                                  3
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Plan Projections as of September 27, 2018
Schedule A: Accounts Receivable
                                                                                                                             Estimated              Estimated
                                                                        Management                                           Realization          Revenue to be
Portfolios                                        Par Amount(1)             Fee(2)                    Days                   Percentage             Collected
ACIS CLO 2013-1(3)                                 $179,003,047            50 bps               1/24/18 - 9/27/18               100%                    $975,019
ACIS CLO 2014-3                                     413,250,000            40 bps               11/1/17 - 9/27/18              100%                    1,515,250
ACIS CLO 2014-4                                     500,750,000            40 bps               11/1/17 - 9/27/18              100%                    1,836,083
ACIS CLO 2014-5                                     510,750,000            40 bps               11/1/17 - 9/27/18              100%                    1,872,750
ACIS CLO 2015-6                                     578,350,000            40 bps               11/1/17 - 9/27/18              100%                    2,120,617
BayVK R2 Lux S.A., SICAV-FIS(4)                     603,263,670           50 bps(4)             10/1/17 - 9/27/18               100%                   2,796,957
  Total A/R                                      $2,785,366,717                                                                                      $11,116,675
Less: Received Cash Payments(5)                                                                                                                       (6,475,383)
  Total A/R Balance                                                                                                                                   $4,641,292

Footnotes:
(1) Acis CLO 2013-1 par amount per US Bank Monthly Trustee Report dated September 10, 2018. Acis CLOs 3-6 par amounts per US Bank Monthly Trustee Reports
dated August 21, 2018. BayVK R2 Lux S.A., SICAV-FIS par amount per Asset Overview dated August 14, 2018 and Generated August 16, 2018 at 14:17.
File name: (716300)-(14.08.2018)(P195641133).pdf. Converted at month-end exchange rate of 1.16 USD / EUR.
(2) Management Fees:
CLO 2013-1: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2013-1 LTD, dated March 18, 2013.
CLO 2014-3: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-3 LTD, dated February 25, 2014.
CLO 2014-4: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-4 LTD, dated June 5, 2014.
CLO 2014-5: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-5 LTD, dated November 18, 2014.
CLO 2015-6: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2015-6 LTD, dated April 16, 2015.
BayVK R2 Lux S.A., SICAV-FIS: Per Asset Management Agreement entered into between Acis LP and Universal-Investment-Luxembourg S.A., dated March 3, 2015.
(3) Acis CLO 2013-1 Accounts Receivable estimated using par amounts per US Bank Monthly Trustee Reports from January 10th, 2018 through August 10th, 2018.
(4) BayVK R2 Lux S.A., SICAV-FIS Accounts Receivable calculated per Annex D Calculations of Agreement for the Outsourcing of the Asset Management entered into between
Universal-Investment-Luxembourg S.A, and Acis Capital Management, L.P. 50 bps shwon as illustrative approximation of management fees.
(5) Cash disbursed from U.S. Bank in August and September 2018.




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Plan Projections as of September 27, 2018
Schedule B: Net Cash Flows
                                                                                                                                                                         Estimated              Estimated
                                                                        Management               Annualized                                      Partial Year            Realization          Revenue to be
Revenue Under PMAs                              Par Amount(1)              Fee(2)                   Fee                    Days                   Revenue                Percentage             Collected
ACIS CLO 2013-1                                   $179,003,047            50 bps                     $895,015        9/28/18 - 10/30/18                 $79,557             100%                     $79,557
ACIS CLO 2014-3                                    413,250,000            40 bps                    1,653,000        9/28/18 - 10/30/18                 146,933             100%                     146,933
ACIS CLO 2014-4                                    500,750,000            40 bps                    2,003,000        9/28/18 - 10/30/18                 178,044             100%                     178,044
ACIS CLO 2014-5                                    510,750,000            40 bps                    2,043,000        9/28/18 - 10/30/18                 181,600             100%                     181,600
ACIS CLO 2015-6                                    578,350,000            40 bps                    2,313,400        9/28/18 - 10/30/18                 205,636             100%                     205,636
BayVK R2 Lux S.A., SICAV-FIS                       603,263,670            50 bps(3)                 3,016,318        9/28/18 - 10/30/18                 248,132            100%                      248,132
 Total Revenue Under PMAs                       $2,785,366,717                                    $11,923,734                                       $1,039,902                                    $1,039,902

                                                                                                                                                                         Estimated              Estimated
                                                                          Servicing              Annualized                                      Partial Year            Realization           Expenses to
Payments for Sub-Servicing           Par Amount(1)                          Fee(4)                  Fee                    Days                   Revenue                Percentage              be Paid
ACIS CLO 2013-1                        $179,003,047                        15 bps                    $268,505        9/28/18 - 10/30/18                 $23,867             100%                     $23,867
ACIS CLO 2014-3                         413,250,000                        15 bps                     619,875        9/28/18 - 10/30/18                  55,100             100%                      55,100
ACIS CLO 2014-4                         500,750,000                        15 bps                     751,125        9/28/18 - 10/30/18                  66,767             100%                      66,767
ACIS CLO 2014-5                         510,750,000                        15 bps                     766,125        9/28/18 - 10/30/18                  68,100             100%                      68,100
ACIS CLO 2015-6                         578,350,000                        15 bps                     867,525        9/28/18 - 10/30/18                  77,113             100%                      77,113
BayVK R2 Lux S.A., SICAV-FIS            603,263,670                        25 bps(5)                1,508,159        9/28/18 - 10/30/18                 220,993             100%                     220,993
  Total Brigade Expenses             $2,785,366,717                                                $4,781,314                                         $511,940                                      $511,940
Plus: Cortland Expenses                   N/A                           $30K / Month                  360,000        9/28/18 - 10/30/18                  32,000             100%                      32,000
Total Sub-Servicing Fees due to Brigade and Cortland                                               $5,141,314                                         $543,940                                      $543,940

Footnotes:
Note: Assumes Plan Effective Date on October 31, 2018.
(1) Acis CLO 2013-1 par amount per US Bank Monthly Trustee Report dated September 10, 2018. Acis CLOs 3-6 par amounts per US Bank Monthly Trustee Reports dated August 21, 2018. BayVK R2 Lux S.A., SICAV-FIS
par amount per Asset Overview dated August 14, 2018 and Generated August 16, 2018 at 14:17. File name: (716300)-(14.08.2018)(P195641133).pdf. Converted at month-end exchange rate of 1.16 USD / EUR.
(2) Management Fees:
CLO 2013-1: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2013-1 LTD, dated March 18, 2013.
CLO 2014-3: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-3 LTD, dated February 25, 2014.
CLO 2014-4: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-4 LTD, dated June 5, 2014.
CLO 2014-5: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-5 LTD, dated November 18, 2014.
CLO 2015-6: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2015-6 LTD, dated April 16, 2015.
BayVK R2 Lux S.A., SICAV-FIS: Per Asset Management Agreement entered into between Acis LP and Universal-Investment-Luxembourg S.A., dated March 3, 2015.
(3) BayVK R2 Lux S.A., SICAV-FIS Accounts Receivable calculated per Annex D Calculations of Agreement for the Outsourcing of the Asset Management entered into between
Universal-Investment-Luxembourg S.A, and Acis Capital Management, L.P. 50 bps shwon as illustrative approximation of management fees.
(4) Servicing Fees per Order Granting Emergency Motion to Approve Replacement Sub-Advisory and Shared Services Providers, Brigade Capital Management, LP and Cortland Capital Market Services LLC (Docket #464).
(5) BVK Servicing Fees are 50% of BVK management fees calculated per Footnote 2. 25bps shown as illustrative approximation of servicing fee.




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Plan Projections (4 Resets) as of September 27, 2018
Schedule C: Reorganized Debtor Cash Flow Projections
Fee Structure

                                         Management
                                            Fees(1)                                    Servicing Fees(2)                                    Reset                Reset Date
Portfolios                                All Years                   Initial            Upon Reset      1-Year after Reset               Assumption            Assumption
ACIS CLO 2013-1                            50.0 bps                  15.0 bps              15.0 bps          13.5 bps                      No Reset                  N/A
ACIS CLO 2014-3                            40.0 bps                  15.0 bps              15.0 bps          13.5 bps                        Reset            End of Q2 / Year 1
ACIS CLO 2014-4                            40.0 bps                  15.0 bps              15.0 bps          13.5 bps                        Reset            End of Q3 / Year 1
ACIS CLO 2014-5                            40.0 bps                  15.0 bps              15.0 bps          13.5 bps                        Reset            End of Q3 / Year 1
ACIS CLO 2015-6                            40.0 bps                  15.0 bps              15.0 bps          13.5 bps                        Reset            End of Q2 / Year 1


Cash Flow Schedule

                                                                                  Year 1                                                                                      Year 2                                                               Year 3

                                                Q1                      Q2                      Q3                      Q4                      Q1                      Q2              Q3                Q4               Q1               Q2               Q3          Q4
Par Amounts(3)
ACIS CLO 2013-1                            $179,003,047                       -                      -                        -                      -                       -                  -                 -                -                -                -        -
ACIS CLO 2014-3                             413,250,000             413,250,000            413,250,000              413,250,000            413,250,000             413,250,000        413,250,000       413,250,000      413,250,000      413,250,000                -        -
ACIS CLO 2014-4                             500,750,000             500,750,000            500,750,000              500,750,000            500,750,000             500,750,000        500,750,000       500,750,000      500,750,000      500,750,000      500,750,000        -
ACIS CLO 2014-5                             510,750,000             510,750,000            510,750,000              510,750,000            510,750,000             510,750,000        510,750,000       510,750,000      510,750,000      510,750,000      510,750,000        -
ACIS CLO 2015-6                             578,350,000             578,350,000            578,350,000              578,350,000            578,350,000             578,350,000        578,350,000       578,350,000      578,350,000      578,350,000                -        -
 Total Par Amounts                       $2,182,103,047          $2,003,100,000         $2,003,100,000           $2,003,100,000         $2,003,100,000          $2,003,100,000     $2,003,100,000    $2,003,100,000   $2,003,100,000   $2,003,100,000   $1,011,500,000        -

Management Fees
ACIS CLO 2013-1                                  223,754                       -                       -                       -                       -                       -                -                -                -                -                 -        -
ACIS CLO 2014-3                                  413,250                 413,250                 413,250                 413,250                 413,250                 413,250          413,250          413,250          413,250          413,250                 -        -
ACIS CLO 2014-4                                  500,750                 500,750                 500,750                 500,750                 500,750                 500,750          500,750          500,750          500,750          500,750           500,750        -
ACIS CLO 2014-5                                  510,750                 510,750                 510,750                 510,750                 510,750                 510,750          510,750          510,750          510,750          510,750           510,750        -
ACIS CLO 2015-6                                  578,350                 578,350                 578,350                 578,350                 578,350                 578,350          578,350          578,350          578,350          578,350                 -        -
 Total Management Fees                        $2,226,854              $2,003,100              $2,003,100              $2,003,100              $2,003,100              $2,003,100       $2,003,100       $2,003,100       $2,003,100       $2,003,100        $1,011,500        -

Servicing Fees
ACIS CLO 2013-1                                   67,126                       -                       -                       -                       -                       -               -                 -                -                -                -         -
ACIS CLO 2014-3                                  154,969                 154,969                 154,969                 154,969                 154,969                 139,472         139,472           139,472          139,472          123,975                -         -
ACIS CLO 2014-4                                  187,781                 187,781                 187,781                 187,781                 187,781                 187,781         169,003           169,003          169,003          169,003          150,225         -
ACIS CLO 2014-5                                  191,531                 191,531                 191,531                 191,531                 191,531                 191,531         172,378           172,378          172,378          172,378          153,225         -
ACIS CLO 2015-6                                  216,881                 216,881                 216,881                 216,881                 216,881                 195,193         195,193           195,193          195,193          195,193                -         -
 Total Servicing Fees                           $818,289                $751,163                $751,163                $751,163                $751,163                $713,978        $676,046          $676,046         $676,046         $660,549         $303,450         -

  Operating Cash Flow                         $1,408,565              $1,251,938              $1,251,938              $1,251,938              $1,251,938              $1,289,123       $1,327,054       $1,327,054       $1,327,054       $1,342,551         $708,050         -


Footnotes:
Note: Assumes Quarter 1 ("Q1") of Year 1 commences on the illustrative Plan Effective Date of October 31, 2018
Note: Assumes upon reset, servicing fees revert to 15 basis points for the following year. Grey shading indicates reset date assumption. Assumes two year non-call period.
Note: Upon reset, new reinvestment period end date assumed to be outside the timeframe of these projections.
BayVK R2 Lux S.A., SICAV-FIS terminated immediately.
(1) Management Fees:
CLO 2013-1: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2013-1 LTD, dated March 18, 2013.
CLO 2014-3: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-3 LTD, dated February 25, 2014.
CLO 2014-4: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-4 LTD, dated June 5, 2014.
CLO 2014-5: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-5 LTD, dated November 18, 2014.
CLO 2015-6: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2015-6 LTD, dated April 16, 2015.
(2) Per terms agreed with Brigade Capital Management.
(3) Acis CLO 2013-1 original par amount per US Bank Monthly Trustee Report dated September 10, 2018. Acis CLOs 3-6 original par amounts per US Bank Monthly Trustee Reports dated August 21, 2018.




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Plan Projections (No Resets) as of September 27, 2018
Schedule C: Reorganized Debtor Cash Flow Projections
Fee Structure

                                         Management
                                            Fees(1)                      Servicing Fees(2)                        Reset                Reinvestment
Portfolios                                All Years                  Year 1            Year 2               1-Year after Reset          Period End
ACIS CLO 2013-1                            50.0 bps                 15.0 bps          13.5 bps                  No Reset                    N/A
ACIS CLO 2014-3                            40.0 bps                 15.0 bps          13.5 bps                  No Reset                Q2 / Year 1
ACIS CLO 2014-4                            40.0 bps                 15.0 bps          13.5 bps                  No Reset                Q4 / Year 1
ACIS CLO 2014-5                            40.0 bps                 15.0 bps          13.5 bps                  No Reset                Q1 / Year 2
ACIS CLO 2015-6                            40.0 bps                 15.0 bps          13.5 bps                  No Reset                Q4 / Year 1


Cash Flow Schedule

                                                                                 Year 1                                                                                        Year 2                                                                              Year 3

                                               Q1                      Q2                      Q3                     Q4                      Q1                      Q2                  Q3                  Q4                    Q1                        Q2            Q3       Q4
Par Amounts(3)
ACIS CLO 2013-1                           $179,003,047                       -                      -                         -                    -                       -                      -                -                           -                   -             -        -
ACIS CLO 2014-3                            413,250,000             392,587,500            371,925,000               351,262,500          330,600,000             299,606,250            268,612,500      237,618,750                           -                   -             -        -
ACIS CLO 2014-4                            500,750,000             500,750,000            500,750,000               486,005,694          460,968,194             435,930,694            410,893,194      378,483,542                           -                   -             -        -
ACIS CLO 2014-5                            510,750,000             510,750,000            510,750,000               510,750,000          504,223,750             478,686,250            453,148,750      427,611,250                           -                   -             -        -
ACIS CLO 2015-6                            578,350,000             578,350,000            578,350,000               549,432,500          520,515,000             491,597,500            457,860,417      414,484,167                           -                   -             -        -
 Total Par Amounts                      $2,182,103,047          $1,982,437,500         $1,961,775,000            $1,897,450,694       $1,816,306,944          $1,705,820,694         $1,590,514,861   $1,458,197,708                           -                   -             -        -

Management Fees
ACIS CLO 2013-1                                 223,754                       -                      -                       -                       -                      -                    -                  -                          -                   -             -        -
ACIS CLO 2014-3                                 413,250                 392,588                371,925                 351,263                 330,600                299,606              268,613            237,619                          -                   -             -        -
ACIS CLO 2014-4                                 500,750                 500,750                500,750                 486,006                 460,968                435,931              410,893            378,484                          -                   -             -        -
ACIS CLO 2014-5                                 510,750                 510,750                510,750                 510,750                 504,224                478,686              453,149            427,611                          -                   -             -        -
ACIS CLO 2015-6                                 578,350                 578,350                578,350                 549,433                 520,515                491,598              457,860            414,484                          -                   -             -        -
 Total Management Fees                       $2,226,854              $1,982,438             $1,961,775              $1,897,451              $1,816,307             $1,705,821           $1,590,515         $1,458,198                          -                   -             -        -

Servicing Fees
ACIS CLO 2013-1                                   67,126                      -                       -                      -                       -                       -                   -                   -                         -                   -             -        -
ACIS CLO 2014-3                                  154,969                147,220                 139,472                131,723                 111,578                 101,117              90,657              80,196                         -                   -             -        -
ACIS CLO 2014-4                                  187,781                187,781                 187,781                182,252                 155,577                 147,127             138,676             127,738                         -                   -             -        -
ACIS CLO 2014-5                                  191,531                191,531                 191,531                191,531                 170,176                 161,557             152,938             144,319                         -                   -             -        -
ACIS CLO 2015-6                                  216,881                216,881                 216,881                206,037                 175,674                 165,914             154,528             139,888                         -                   -             -        -
 Total Servicing Fees                           $818,289               $743,414                $735,666               $711,544                $613,004                $575,714            $536,799            $492,142                         -                   -             -        -

  Operating Cash Flow                        $1,408,565              $1,239,023             $1,226,109              $1,185,907              $1,203,303             $1,130,106           $1,053,716            $966,056                         -                   -             -        -


Footnotes:
Note: Assumes Quarter 1 ("Q1") of Year 1 commences on the illustrative Plan Effective Date of October 31, 2018
Note: Assumes CLO 2014-3, CLO 2014-4, CLO 2014-5 and CLO 2015-6 are not successfully reset and begin to wind down after the end of their reinvestment periods in February 2019, June 2019, November 2019 and May 2019, respectively. Grey shading indicates
end of reinvestment period. Assumes Secured Notes are amortized 20% in Year 1, 30% in Year 2, and 30% thereafter, and that the deals are called at the end of the Plan Injunction.
Note: Assumes 30-day notice period for CLO 2013-1, CLO 2014-4, CLO 2014-5 and CLO 2015-6 and 45-day notice period for CLO 2014-3. Assumes BayVK R2 Lux S.A., SICAV-FIS terminated immediately.
(1) Management Fees:
CLO 2013-1: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2013-1 LTD, dated March 18, 2013.
CLO 2014-3: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-3 LTD, dated February 25, 2014.
CLO 2014-4: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-4 LTD, dated June 5, 2014.
CLO 2014-5: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-5 LTD, dated November 18, 2014.
CLO 2015-6: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2015-6 LTD, dated April 16, 2015.
(2) Per terms agreed with Brigade Capital Management.
(3) Acis CLO 2013-1 original par amount per US Bank Monthly Trustee Report dated July 10, 2018. Acis CLOs 3-6 original par amounts per US Bank Monthly Trustee Reports dated August 21, 2018.




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Plan Projections (4 Resets) as of September 27, 2018
Schedule D: Distributions on Unsecured Cash Flow Note and Class 4B Claims
Total Allowed Claims at Reorganized Debtor (Classes 2, 3 and 4A)                                                            $8,509,723
Net Acis Trust Assets Available for Distribution to Allowed Claims                                                           4,313,205
 Unsecured Cash Flow Note Principal Balance                                                                                 $4,196,518
  Interest Rate (1) (%)                                                                                                              5%
  Maturity                                                                                                                       3 Years
Total Class 4B Claims Balance             (2)
                                                                                                                            $4,672,140
Deferred Administrative Expenses                                                                                                          -

Unsecured Cash Flow Note Schedule                                                                                                                              Year 1                                                                                   Year 2                                                      Year 3
                                                                                                                              Q1(3)                    Q2                    Q3                    Q4                    Q1                    Q2                    Q3          Q4            Q1            Q2              Q3          Q4
Effective Date Unsecured Cash Flow Note Principal Balance                                                                   $4,196,518
  Unsecured Cash Flow Note Principal Balance                                                                                 4,196,518              3,135,906             2,187,423             1,229,667                262,548                         -                -             -             -             -               -         -
Less: Interest                                                                                                                  52,456                 39,199                27,343                15,371                  3,282                         -                -             -             -             -               -         -
Less: Principal Payments                                                                                                     1,060,613                948,483               957,756               967,119                262,548                         -                -             -             -             -               -         -
  Total Distribution to Unsecured Cash Flow Note                                                                            $1,113,069               $987,682              $985,098              $982,490               $265,830                         -                -             -             -             -               -         -
  Ending Principal Balance                                                                                                  $3,135,906             $2,187,423            $1,229,667              $262,548                      -                         -                -             -             -             -               -         -

Class 4B Claims Schedule                                                                                                                                       Year 1                                                                                   Year 2                                                      Year 3
                                                                                                                                 Q1                    Q2                    Q3                    Q4                    Q1                    Q2                    Q3          Q4            Q1            Q2              Q3          Q4

  Total Class 4B Claims Balance(2)                                                                                          $4,672,140             $4,672,140            $4,672,140            $4,672,140            $4,672,140            $3,958,115            $2,949,893    $1,912,004     $874,115              -               -         -
Less: Interest                                                                                                                       -                      -                     -                     -                     -                     -                     -             -            -              -               -         -
Less: Principal Payments                                                                                                             -                      -                     -                     -               714,025             1,008,223             1,037,889     1,037,889      874,115              -               -         -
  Total Distribution to Class 4B Claims Balance                                                                                      -                      -                     -                     -              $714,025            $1,008,223            $1,037,889    $1,037,889     $874,115              -               -         -
  Ending Principal Balance                                                                                                  $4,672,140             $4,672,140            $4,672,140            $4,672,140            $3,958,115            $2,949,893            $1,912,004      $874,115            -              -               -         -


Quarterly Cash Flow Schedule                                                                                                                                   Year 1                                                                                   Year 2                                                      Year 3
                                                                                                                                 Q1                    Q2                    Q3                    Q4                    Q1                    Q2                    Q3          Q4            Q1             Q2              Q3         Q4
  Beginning Cash Balance                                                                                                             -                      -                     -                     -                     -                     -                     -             -             -      $163,774      $1,050,009         -
Revenue under PMAs                                                                                                           2,226,854              2,003,100             2,003,100             2,003,100             2,003,100             2,003,100             2,003,100     2,003,100     2,003,100     2,003,100       1,011,500         -
Servicing Fees to Brigade                                                                                                     (818,289)              (751,163)             (751,163)             (751,163)             (751,163)             (713,978)             (676,046)     (676,046)     (676,046)     (660,549)       (303,450)        -
Interest Expense on Unsecured Cash Flow Note                                                                                   (52,456)               (39,199)              (27,343)              (15,371)               (3,282)                    -                     -             -             -              -              -         -
  Earnings before Taxes                                                                                                     $1,356,109             $1,212,739            $1,224,595            $1,236,567            $1,248,656            $1,289,123            $1,327,054    $1,327,054    $1,327,054    $1,342,551        $708,050         -
Corporate Income Taxes (21%)                                                                                                  (284,783)              (254,675)             (257,165)             (259,679)             (262,218)             (270,716)             (278,681)     (278,681)     (278,681)     (281,936)       (148,691)        -
  Ending Cash Balance for Distributions for U.S. Trustee Ongoing Fees                                                       $1,071,326               $958,064              $967,430              $976,888              $986,438            $1,018,407            $1,048,372    $1,048,372    $1,048,372    $1,060,615        $559,360         -
Distributions to U.S. Trustee Ongoing Fees(4)                                                                                  (10,713)                (9,581)               (9,674)               (9,769)               (9,864)              (10,184)              (10,484)      (10,484)      (10,484)      (10,606)              -         -
  Ending Cash Balance for Distributions for Deferred Administrative Expenses                                                $1,060,613               $948,483              $957,756              $967,119              $976,574            $1,008,223            $1,037,889    $1,037,889    $1,037,889    $1,050,009        $559,360         -
Distributions to Deferred Administrative Expenses                                                                                    -                      -                     -                     -                     -                     -                     -             -             -              -              -         -
  Ending Cash Balance for Prinipal Payments to Unsecured Cash Flow Note                                                     $1,060,613               $948,483              $957,756              $967,119              $976,574            $1,008,223            $1,037,889    $1,037,889    $1,037,889    $1,050,009        $559,360         -
Distributions to Unsecured Cash Flow Note (Excludes Cash Paid for Interest)                                                 (1,060,613)              (948,483)             (957,756)             (967,119)             (262,548)                    -                     -             -             -              -              -         -
  Ending Cash Balance for Distributions to Class 4B Claims                                                                           -                      -                     -                     -              $714,025            $1,008,223            $1,037,889    $1,037,889    $1,037,889    $1,050,009        $559,360         -
Distributions to Class 4B Claims                                                                                                     -                      -                     -                     -              (714,025)           (1,008,223)           (1,037,889)   (1,037,889)     (874,115)             -              -         -
  Ending Cash Balance                                                                                                                -                      -                     -                     -                     -                     -                     -             -      $163,774    $1,050,009        $559,360         -


Footnotes:
(1) Texas Judgement Rate per the Consumer Credit Commissioner of Texas as of July 24, 2018.
(2) Per the Joint Plan, Distributions are made to Class 4B claims after Classes 2, 3 and 4A are paid in full.
(3) Per the Joint Plan, the first Distribution made on account of the Unsecured Cash Flow Note shall be made 90 days after Effective Date.
(4) Included at the request of counsel. The lesser of (i) 1% of quarterly distributable value and (ii) $250,000 per The Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72. Assumes distribution until one quarter subsequent to the last allowed claim is fulfilled.




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Plan Projections (No Resets) as of September 27, 2018
Schedule D: Distributions on Unsecured Cash Flow Note and Class 4B Claims
Total Allowed Claims at Reorganized Debtor (Classes 2, 3 and 4A)                                                            $8,509,723
Net Acis Trust Assets Available for Distribution to Allowed Claims                                                           4,313,205
 Unsecured Cash Flow Note Principal Balance                                                                                 $4,196,518
  Interest Rate (1) (%)                                                                                                              5%
  Maturity                                                                                                                       3 Years
Total Class 4B Claims Balance             (2)
                                                                                                                            $4,672,140
Deferred Administrative Expenses                                                                                                          -

Unsecured Cash Flow Note Schedule                                                                                                                              Year 1                                                                                   Year 2                                                    Year 3
                                                                                                                              Q1(3)                    Q2                    Q3                    Q4                    Q1                    Q2                    Q3          Q4            Q1           Q2               Q3           Q4
Effective Date Unsecured Cash Flow Note Principal Balance                                                                   $4,196,518
  Unsecured Cash Flow Note Principal Balance                                                                                 4,196,518              3,135,906             2,197,523             1,260,066                344,887                         -                -             -             -            -                -            -
Less: Interest                                                                                                                  52,456                 39,199                27,469                15,751                  4,311                         -                -             -             -            -                -            -
Less: Principal Payments                                                                                                     1,060,613                938,383               937,457               915,179                344,887                         -                -             -             -            -                -            -
  Total Distribution to Unsecured Cash Flow Note                                                                            $1,113,069               $977,582              $964,926              $930,930               $349,198                         -                -             -             -            -                -            -
  Ending Principal Balance                                                                                                  $3,135,906             $2,197,523            $1,260,066              $344,887                      -                         -                -             -             -            -                -            -

Class 4B Claims Schedule                                                                                                                                       Year 1                                                                                   Year 2                                                    Year 3
                                                                                                                                 Q1                    Q2                    Q3                    Q4                    Q1                    Q2                    Q3          Q4            Q1           Q2               Q3           Q4

  Total Class 4B Claims Balance(2)                                                                                          $4,672,140             $4,672,140            $4,672,140            $4,672,140            $4,672,140            $4,079,296            $3,195,440    $2,371,328    $1,615,776   $1,615,776       $1,615,776   $1,615,776
Less: Interest                                                                                                                       -                      -                     -                     -                     -                     -                     -             -             -            -                -            -
Less: Principal Payments                                                                                                             -                      -                     -                     -               592,845               883,856               824,111       755,552             -            -                -            -
  Total Distribution to Class 4B Claims Balance                                                                                      -                      -                     -                     -              $592,845              $883,856              $824,111      $755,552             -            -                -            -
  Ending Principal Balance                                                                                                  $4,672,140             $4,672,140            $4,672,140            $4,672,140            $4,079,296            $3,195,440            $2,371,328    $1,615,776    $1,615,776   $1,615,776       $1,615,776   $1,615,776


Quarterly Cash Flow Schedule                                                                                                                                   Year 1                                                                                   Year 2                                                    Year 3
                                                                                                                                 Q1                    Q2                    Q3                    Q4                    Q1                    Q2                    Q3          Q4            Q1           Q2               Q3           Q4
  Beginning Cash Balance                                                                                                             -                      -                     -                     -                     -                     -                     -             -             -            -                -            -
Revenue under PMAs                                                                                                           2,226,854              1,982,438             1,961,775             1,897,451             1,816,307             1,705,821             1,590,515     1,458,198             -            -                -            -
Servicing Fees to Brigade                                                                                                     (818,289)              (743,414)             (735,666)             (711,544)             (613,004)             (575,714)             (536,799)     (492,142)            -            -                -            -
Interest Expense on Unsecured Cash Flow Note                                                                                   (52,456)               (39,199)              (27,469)              (15,751)               (4,311)                    -                     -             -             -            -                -            -
  Earnings before Taxes                                                                                                     $1,356,109             $1,199,825            $1,198,640            $1,170,156            $1,198,992            $1,130,106            $1,053,716      $966,056             -            -                -            -
Corporate Income Taxes (21%)                                                                                                  (284,783)              (251,963)             (251,714)             (245,733)             (251,788)             (237,322)             (221,280)     (202,872)            -            -                -            -
  Ending Cash Balance for Distributions for U.S. Trustee Ongoing Fees                                                       $1,071,326               $947,861              $946,926              $924,423              $947,204              $892,784              $832,436      $763,184             -            -                -            -
Distributions to U.S. Trustee Ongoing Fees(4)                                                                                  (10,713)                (9,479)               (9,469)               (9,244)               (9,472)               (8,928)               (8,324)       (7,632)            -            -                -            -
  Ending Cash Balance for Distributions for Deferred Administrative Expenses                                                $1,060,613               $938,383              $937,457              $915,179              $937,732              $883,856              $824,111      $755,552             -            -                -            -
Distributions to Deferred Administrative Expenses                                                                                    -                      -                     -                     -                     -                     -                     -             -             -            -                -            -
  Ending Cash Balance for Prinipal Payments to Unsecured Cash Flow Note                                                     $1,060,613               $938,383              $937,457              $915,179              $937,732              $883,856              $824,111      $755,552             -            -                -            -
Distributions to Unsecured Cash Flow Note (Excludes Cash Paid for Interest)                                                 (1,060,613)              (938,383)             (937,457)             (915,179)             (344,887)                    -                     -             -             -            -                -            -
  Ending Cash Balance for Distributions to Class 4B Claims                                                                           -                      -                     -                     -              $592,845              $883,856              $824,111      $755,552             -            -                -            -
Distributions to Class 4B Claims                                                                                                     -                      -                     -                     -              (592,845)             (883,856)             (824,111)     (755,552)            -            -                -            -
  Ending Cash Balance                                                                                                                -                      -                     -                     -                     -                     -                     -             -             -            -                -            -


Footnotes:
(1) Texas Judgement Rate per the Consumer Credit Commissioner of Texas as of July 24, 2018.
(2) Per the Joint Plan, Distributions are made to Class 5B claims after Classes 2, 3 and 4A are paid in full.
(3) Per the Joint Plan, the first Distribution made on account of the Unsecured Cash Flow Note shall be made 90 days after Effective Date.
(4) Included at the request of counsel. The lesser of (i) 1% of quarterly distributable value and (ii) $250,000 per The Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72. Assumes distribution until one quarter subsequent to the last allowed claim is fulfilled.




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      Plan Projections as of September 27, 2018
      Schedule E: Trustee and Professional Fees & Expenses
                                                                                                                              Estimated
                                                      Description                                                             Amounts
      U.S. Trustee Commissions(1)                                                                                                  $118,946
      Chapter 11 Trustee Commissions(2)                                                                                             380,089
      Existing Chapter 7 Trustee Commissions(3)                                                                                      34,905
      Existing Chapter 7 Trustee Counsel Fees(4)                                                                                     59,856
      Winstead Fees & Expenses(3)                                                                                                 1,500,000
      Forshey Prostok Fees & Expenses(5)                                                                                          1,200,000
      Miller Buckfire Fees & Expenses(6)                                                                                          1,000,000
      Joshua Terry Administrative Claim under 503(b)(3)(A)(7)                                                                       700,000
      Moss Adams (Tax Professional)(8)                                                                                              100,000
        Total Trustee and Professional Fees & Expenses                                                                          $5,093,796


      Footnotes:
      (1) The lesser of (i) 1% of quarterly disbursements or (ii) $250,000 per The Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72.
      (2) Per 11 U.S. Code § 326 (Section 330) on limitation on compensation of trustee.
      (3) Per Winstead, Chapter 11 Trustee counsel, estimate.
      (4) Per filed Fee Application.
      (5) Per Forshey Prostok, Chapter 11 Trustee counsel, estimate.
      (6) Per Miller Buckfire estimate.
      (7) Estimate provided by counsel to Joshua Terry. Claim is subject to notice, hearing and Bankruptcy court approval.
      Trustee has agreed to neither the allowance nor the amount of this claim.
      (8) Per Chapter 11 Trustee estimate.




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      Plan Projections as of September 27, 2018
      Schedule F: Oaktree Break-Up Fee, Expenses & Equivalent Revenue
                                                                                          Estimated Amount
      Break-Up Fee(1)                                                                            $2,500,000
      Milbank Fees(2)                                                                             2,247,937
      Expense & Equivalent Revenue(2)                                                               207,116
        Total Oaktree Break-Up Fees, Expenses & Equivalent Revenue                               $4,955,053
      Less: Cash Paid to Oaktree(3)                                                              (2,500,000)
        Net Oaktree Break-Up Fees, Expenses & Equivalent Revenue                                 $2,455,053

      Footnotes:
      (1) Per Revised Oaktree Proposal (Docket #385-1 filed on July 7, 2018).
      (2) Per Notice of Intent to Pay Break-Up Fee (Docket #586).
      (3) Per Supplement to Amended Notice of Intent to Pay Break-Up Fee to Oaktree Capital
      Management, L.P. Pursuant to Order Approving Oaktree Motion (Docket #587).




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Plan Projections as of September 27, 2018
Schedule G: Highland Payable
                                                          1/30/2018 through 4/13/2018 ("Gap Period")                           Estimated                      4/14/2018 through 7/6/2018                        Estimated
Portfolios                                               Par Amount(1)   Servicing Fee(2)       Days                            Payable               Par Amount(1) Servicing Fee(2)      Days                   Payable
ACIS CLO 2013-1                                           $348,273,092       35 bps       1/30/18 - 4/13/18                        $247,177            $280,013,673       35 bps     4/14/18 - 7/6/18               $225,955
ACIS CLO 2014-3                                             413,250,000      35 bps       1/30/18 - 4/13/18                         293,293             413,250,000       35 bps     4/14/18 - 7/6/18                333,470
ACIS CLO 2014-4                                             500,750,000      35 bps       1/30/18 - 4/13/18                         355,393             500,750,000       35 bps     4/14/18 - 7/6/18                404,077
ACIS CLO 2014-5                                             510,750,000      35 bps       1/30/18 - 4/13/18                         362,491             510,750,000       35 bps     4/14/18 - 7/6/18                412,147
ACIS CLO 2015-6                                             578,350,000      35 bps       1/30/18 - 4/13/18                         410,468             578,350,000       35 bps     4/14/18 - 7/6/18                466,696
BayVK R2 Lux S.A., SICAV-FIS                                603,263,670      35 bps       1/30/18 - 4/13/18                         396,236             603,263,670       35 bps     4/14/18 - 7/6/18                450,515
 Total                                                   $2,954,636,762                                                          $2,065,058          $2,886,377,343                                               $2,292,861




                                                                     Interim Accrual Period                                    Estimated
Portfolios                                               Par Amount(1)     Servicing Fee(3)      Days                           Payable
ACIS CLO 2013-1                                            $179,003,047       17.5 bps      7/7/18 - 7/31/18                        $20,884
ACIS CLO 2014-3                                             413,250,000       17.5 bps      7/7/18 - 7/31/18                         48,213
ACIS CLO 2014-4                                             500,750,000       17.5 bps      7/7/18 - 7/31/18                         58,421
ACIS CLO 2014-5                                             510,750,000       17.5 bps      7/7/18 - 7/31/18                         59,588
ACIS CLO 2015-6                                             578,350,000       17.5 bps      7/7/18 - 7/31/18                         67,474
BayVK R2 Lux S.A., SICAV-FIS                                603,263,670       17.5 bps      7/7/18 - 7/31/18                         65,135
 Total                                                   $2,785,366,717                                                            $319,713

             Total Estimated Highland Payable
Portfolios                                    Total
ACIS CLO 2013-1                                 $494,016
ACIS CLO 2014-3                                   674,975
ACIS CLO 2014-4                                   817,892
ACIS CLO 2014-5                                   834,225
ACIS CLO 2015-6                                   944,638
BayVK R2 Lux S.A., SICAV-FIS                      911,886
  Total Highland Payable                      $4,677,632
Less: Highland Gap Period Claim(4)             (2,049,564)
  Net Highland Payable(5)                     $2,628,068

Footnotes:
Note: Assumes Highland payable until July 31, 2018 as Brigade appointed sub-servicer on August 1, 2018 per Order Granting Emergency Motion to Approve Replacement Sub-Advisory and Shared Services Providers, Brigade
Capital Management, LP and Cortland Capital Market Services LLC (Docket #464).
(1) Acis CLO 2013-1 par amount through April 13, 2018 and July 6, 2018 per US Bank Monthly Trustee Report dated April 10, 2018 and par amount through Interim Accrual Period per US Bank Monthly Trustee
Report dated July 10, 2018. Acis CLOs 3-6 par amounts through April 13, 2018 and July 6, 2018 per US Bank Monthly Trustee Reports dated April 21, 2018 and through Interim Accrual Period per US Bank Monthly
Trustee Report dated June 21, 2018. BayVK R2 Lux S.A., SICAV-FIS par amount per "Highland0004782 BVK Report 5.31.2018.xslx" file, converted from EUR to USD at May 31, 2018 month-end exchange rate of 1.16 USD / EUR.
(2) Servicing fees include aggregate fees defined under Fourth Amended and Restated Shared Services Agreement by and between Acis LP and Highland Capital Management, L.P., dated March 17, 2017
and Third Amended and Restated Sub-Advisory Agreement by and between Acis LP and Highland Capital Management, L.P., dated March 17, 2017.
(3) Highland expressed it would commit to servicing the Portfolios for 17.5 basis points during the July 6, 2018 Hearing (July 6, 2018 Transcript, Page 244 / 296, Lines 3-7).
(4) Per Exhibit A to Proof of Claim 27-1 of Highland Capital Management, L.P filed on August 1, 2018.
(5) The Chapter 11 Trustee estimates recoupment and other counterclaims may exceed this value.
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    Plan Projections as of September 27, 2018
    Schedule H: Brigade and Cortland Payable
    Brigade Fee
                                                                    8/1/2018 through 9/27/2018                                 Estimated
    Portfolios                                            Par Amount(1)     Servicing Fee(2)      Days                          Payable
    ACIS CLO 2013-1                                         $179,003,047        15 bps       8/1/18 - 9/27/18                       $42,513
    ACIS CLO 2014-3                                          413,250,000        15 bps       8/1/18 - 9/27/18                        98,147
    ACIS CLO 2014-4                                          500,750,000        15 bps       8/1/18 - 9/27/18                       118,928
    ACIS CLO 2014-5                                          510,750,000        15 bps       8/1/18 - 9/27/18                       121,303
    ACIS CLO 2015-6                                          578,350,000        15 bps       8/1/18 - 9/27/18                       137,358
    BayVK R2 Lux S.A., SICAV-FIS                             603,263,670        25 bps(4)    8/1/18 - 9/27/18                       220,993
     Total Fees Payable to Brigade                        $2,785,366,717                                                           $739,242
                                                        Less: Fees Paid to Brigade(4)                                              (733,672)
                                                          Net Fees Payable to (Receivable from) Brigade                              $5,570

                                                        Cortland Fee
                                                        Cortland One-Time Fee                                                         $75,000
                                                        Monthly Fee between 8/1/18 - 9/27/18                                           57,000
                                                          Total Fees Payable to Cortland                                             $132,000
                                                        Less: Fees Paid to Cortland(4)                                               (105,000)
                                                          Net Fees Payable to (Receivable from) Cortland                              $27,000




    Footnotes:
    (1) Acis CLO 2013-1 par amount per US Bank Monthly Trustee Report dated September 10, 2018. Acis CLOs 3-6 par amounts per
    US Bank Monthly Trustee Reports dated August 21, 2018. BayVK R2 Lux S.A., SICAV-FIS
    par amount per Asset Overview dated August 14, 2018 and Generated August 16, 2018 at 14:17.
    File name: (716300)-(14.08.2018)(P195641133).pdf. Converted at month-end exchange rate of 1.17 USD / EUR.
    (2) Servicing Fees per Order Granting Emergency Motion to Approve Replacement Sub-Advisory and Shared Services Providers, Brigade Capital
    Management, LP and Cortland Capital Market Services LLC (Docket #464).
    (3) BVK Servicing Fees are 50% of received management fees calculated per Footnote 3. 25bps shown as illustrative approximation of servicing fee
    (4) Based on Bank of Texas Statements as of September 27, 2018.




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                EXHIBIT “4”
        TO DISCLOSURE STATEMENT

                    [Liquidation Analysis]
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other date. Any valuation, projection or other estimate contained herein is only an approximation, subject to uncertainties and contingencies, all of which ar
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materials must be considered in their totality. The Firm is not acting in any capacity as a fiduciary of any party. These materials are not intended to provide
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other professionals of the Firm and its affiliates. the Firm and its affiliates provide no legal, accounting or tax advice. Accordingly, any statements contained
matters were neither written nor intended by the Firm or its affiliates to be used and cannot be used by any taxpayer for the purpose of avoiding tax penalti
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Liquidation Analysis as of September 27, 2018
Assets Available for Distribution
                                                                                                                 Estimated
                                                                                       Unaudited                Realization                Estimated                                           Schedule
                                                                                        Balance                 Percentage                   Value                                             Reference
Cash(1)                                                                                  $3,757,369                100%                      $3,757,369
Accounts Receivable                                                                       4,641,292                100%                        4,641,292                                             A
HCLOM Receivable(2)                                                                       3,000,000                100%                        3,000,000
Other Claims and Causes of Action                                                              TBD                 TBD                              TBD
Intellectual Property and Other Related Assets                                                 TBD                 TBD                              TBD
Wind-Down Revenue                                                                         1,851,062                100%                        1,851,062                                             B
Wind-Down Expenses                                                                         (764,776)               100%                         (764,776)                                            B
  Total Assets Available for Distribution                                               $12,484,947                                         $12,484,947

Estimated Wind-Down Expenses
                                                                                                                 Estimated                Estimated
                                                                                                                Realization               Liquidation
                                                                                                                Percentage                  Values
New Chapter 7 Trustee Commissions (3% of Distributable Value)                                                      100%                        $374,548                                              C
New Chapter 7 Trustee Professional Fees & Expenses                                                                 100%                         100,000                                              C
 Total Chapter 7 Fees and Expenses                                                                                                             $474,548


Net Assets Available for Distribution                                                                                                        $12,010,399

Estimated Creditor Recoveries

                                                                                                                                                     Estimated
                                                                                                                    Claim                     Creditor Recovery Values
Class 1 - Secured Tax Claims                                                                                                  TBD                    TBD                            -
Administrative Expenses
 Trustee and Professional Fees & Expenses                                                                            $5,117,409                $5,117,409                       100%                 C
 Oaktree Break-Up Fees, Expenses & Equivalent Revenue(3)                                                              2,455,053                 2,455,053                       100%                 D
 Highland Payable as Sub-Servicer and Sub-Advisor(4)                                                                          -                         -                         -                  E
 Brigade Payable as Sub-Advisor                                                                                           5,570                     5,570                       100%                 F
 Cortland Payable as Sub-Servicer                                                                                        27,000                    27,000                       100%                 F
Priority Tax Claims                                                                                                         TBD                       TBD                         -                  F
Class 2 - Terry Claim(5)                                                                                              8,168,294                 3,783,951                        46%
Class 3 - General Unsecured Claims(5)                                                                                 1,341,429                   621,415                        46%
Class 4 - Insider Claims
 Class 4A (Highland Claim)                                                                                                    -                        -                            -
 Class 4B (Equitable Subordinated Claims)(5)(6)                                                                      4,672,140                         -                            -
Class 5 - Interests                                                                                                         N/A                        -                            -
Total Consolidated Claims                                                                                          $21,786,896               $12,010,399

Footnotes:
Note: Assumes liquidation commences on October 31, 2018. Assumes no expenses are passed through to the CLOs. Does not include any recoveries from various claims and causes of action.
(1) Per August 31, 2018 Bank of Texas Balance plus deposit and check activity through September 27, 2018. Pro forma for $2.5 million payment to Oaktree on September 19, 2018 per Docket #587.
(2) A successful recovery of the November 3, 2017 transfer of the Acis LP Note Receivable from Highland is estimated at $9.5 million. Highland CLO Management Ltd. agreed to reimburse Acis LP (or pay its vendors directly) up to $3 million
(up to $2 million of future legal expenses and up to $1 million of future accounting/administrative expenses) per Docket #118 filed on April 13, 2018. Please reference Docket #118 for further information on the transfer.
(3) The U.S. Trustee and Chapter 11 Trustee are in the process of reviewing the attorneys' fees and expenses requested by Oaktree for reasonableness. The amount reflected is the amount requested by Oaktree as an expense reimbursement,
but the amount ultimately allowed may be different depending upon the resolution of any objections.
(4) Highland post-petition sub-servicer fees shown on Schedule E are approximately $2.6 million. However, the Chapter 11 Trustee estimates recoupment and other counterclaims may exceed this value; as such, the Highland claim is shown at $0 value.
(5) Per filed proof of claims and undisputed scheduled claims.
(6) Assumes Highland Claim will be subject to equitable subordination.




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Liquidation Analysis as of September 27, 2018
Schedule A: Accounts Receivable
                                                                                                                                         Estimated                 Estimated
                                                                                 Management                                              Realization             Revenue to be
Portfolios                                             Par Amount(1)                Fee(2)                        Days                   Percentage                Collected
ACIS CLO 2013-1(3)                                       $179,003,047              50 bps                   1/24/18 - 9/27/18              100%                         $975,019
ACIS CLO 2014-3                                           413,250,000              40 bps                   11/1/17 - 9/27/18               100%                        1,515,250
ACIS CLO 2014-4                                           500,750,000              40 bps                   11/1/17 - 9/27/18               100%                        1,836,083
ACIS CLO 2014-5                                           510,750,000              40 bps                   11/1/17 - 9/27/18               100%                        1,872,750
ACIS CLO 2015-6                                           578,350,000              40 bps                   11/1/17 - 9/27/18               100%                        2,120,617
BayVK R2 Lux S.A., SICAV-FIS(4)                           603,263,670              50 bps(4)                10/1/17 - 9/27/18              100%                         2,796,957
 Total                                                 $2,785,366,717                                                                                               $11,116,675
Less: Received Cash Payments(5)                                                                                                                                        (6,475,383)
 Total A/R Balance                                                                                                                                                    $4,641,292


Footnotes:
(1) Acis CLO 2013-1 par amount per US Bank Monthly Trustee Report dated September 10, 2018. Acis CLOs 3-6 par amounts per US Bank Monthly Trustee Reports
dated August 21, 2018. BayVK R2 Lux S.A., SICAV-FIS par amount per Asset Overview dated August 14, 2018 and Generated August 16, 2018 at 14:17.
File name: (716300)-(14.08.2018)(P195641133).pdf. Converted at month-end exchange rate of 1.16 USD / EUR.
(2) Management Fees:
CLO 2013-1: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2013-1 LTD, dated March 18, 2013.
CLO 2014-3: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-3 LTD, dated February 25, 2014.
CLO 2014-4: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-4 LTD, dated June 5, 2014.
CLO 2014-5: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-5 LTD, dated November 18, 2014.
CLO 2015-6: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2015-6 LTD, dated April 16, 2015.
BayVK R2 Lux S.A., SICAV-FIS: Per Asset Management Agreement entered into between Acis LP and Universal-Investment-Luxembourg S.A., dated March 3, 2015.
(3) Acis CLO 2013-1 Accounts Receivable estimated using par amounts per US Bank Monthly Trustee Reports from January 10th, 2018 through August 10th, 2018.
(4) BayVK R2 Lux S.A., SICAV-FIS Accounts Receivable calculated per Annex D Calculations of Agreement for the Outsourcing of the Asset Management entered into between
Universal-Investment-Luxembourg S.A, and Acis Capital Management, L.P. 50 bps shwon as illustrative approximation of management fees.
(5) Cash disbursed from U.S. Bank in August and September 2018.




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Liquidation Analysis as of September 27, 2018
Schedule B: Wind-Down Cash Flows
                                                                                                                                                                                         Estimated            Estimated
                                                                      Management                     Interim Period                             Wind-Down Period                         Realization          Wind-down
Wind-Down Revenue                             Par Amount(1)               Fee(2)                Days              Amount                       Days           Amount                     Percentage            Revenue
ACIS CLO 2013-1                                $179,003,047              50 bps           9/28/18 - 10/30/18         $79,557            10/31/18 - 11/30/18      $74,585                   100%                  $154,142
ACIS CLO 2014-3                                  413,250,000             40 bps           9/28/18 - 10/30/18         146,933            10/31/18 - 12/15/18      206,625                   100%                   353,558
ACIS CLO 2014-4                                  500,750,000             40 bps           9/28/18 - 10/30/18         178,044            10/31/18 - 11/30/18      166,917                   100%                   344,961
ACIS CLO 2014-5                                  510,750,000             40 bps           9/28/18 - 10/30/18         181,600            10/31/18 - 11/30/18      170,250                   100%                   351,850
ACIS CLO 2015-6                                  578,350,000             40 bps           9/28/18 - 10/30/18         205,636            10/31/18 - 11/30/18      192,783                   100%                   398,419
BayVK R2 Lux S.A., SICAV-FIS                     603,263,670            50 bps(3)         9/28/18 - 10/30/18         248,132                   N/A                     -                   100%                   248,132
 Total Wind-Down Revenue                      $2,785,366,717                                                      $1,039,902                                   $811,160                                        $1,851,062


                                                                                                                                                                                         Estimated            Estimated
                                                                        Servicing                    Interim Period                              Wind-Down Period                        Realization          Wind-down
Wind-Down Expenses                            Par Amount(1)               Fee(4)                Days              Amount                       Days            Amount                    Percentage           Expenses
ACIS CLO 2013-1                                $179,003,047              15 bps           9/28/18 - 10/30/18         $23,867            10/31/18 - 11/30/18       $22,375                  100%                   $46,242
ACIS CLO 2014-3                                  413,250,000             15 bps           9/28/18 - 10/30/18          55,100            10/31/18 - 12/15/18        51,656                  100%                   106,756
ACIS CLO 2014-4                                  500,750,000             15 bps           9/28/18 - 10/30/18          66,767            10/31/18 - 11/30/18        62,594                  100%                   129,360
ACIS CLO 2014-5                                  510,750,000             15 bps           9/28/18 - 10/30/18          68,100            10/31/18 - 11/30/18        63,844                  100%                   131,944
ACIS CLO 2015-6                                  578,350,000             15 bps           9/28/18 - 10/30/18          77,113            10/31/18 - 11/30/18        72,294                  100%                   149,407
BayVK R2 Lux S.A., SICAV-FIS                     603,263,670             25 bps(5)        9/28/18 - 10/30/18         124,066                    N/A                     -                  100%                   124,066
  Total Brigade Expenses                                                                                            $415,013                                    $272,763                                         $687,776
Plus: Cortland Expenses                            N/A                $30K / Month        9/28/18 - 10/30/18          32,000            10/31/18 - 12/15/18        45,000                   100%                   77,000
  Net Wind-Down Expenses                       $2,785,366,717                                                       $447,013                                    $317,763                                         $764,776

Footnotes:
Note: Assumes 30-day notice period for CLO 2013-1, CLO 2014-4, CLO 2014-5 and CLO 2015-6 and 45-day notice period for CLO 2014-3. BayVK R2 Lux S.A., SICAV-FIS terminated immediately.
(1) Acis CLO 2013-1 par amount per US Bank Monthly Trustee Report dated September 10, 2018. Acis CLOs 3-6 par amounts per US Bank Monthly Trustee Reports dated August 21, 2018. BayVK R2 Lux S.A., SICAV-FIS
par amount per Asset Overview dated August 14, 2018 and Generated August 16, 2018 at 14:17. File name: (716300)-(14.08.2018)(P195641133).pdf. Converted at month-end exchange rate of 1.16 USD / EUR.
(2) Management Fees:
CLO 2013-1: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2013-1 LTD, dated March 18, 2013.
CLO 2014-3: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-3 LTD, dated February 25, 2014.
CLO 2014-4: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-4 LTD, dated June 5, 2014.
CLO 2014-5: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2014-5 LTD, dated November 18, 2014.
CLO 2015-6: Per Portfolio Management Agreement by and between Acis LP and Acis CLO 2015-6 LTD, dated April 16, 2015.
BayVK R2 Lux S.A., SICAV-FIS: Per Asset Management Agreement entered into between Acis LP and Universal-Investment-Luxembourg S.A., dated March 3, 2015.
(3) BayVK R2 Lux S.A., SICAV-FIS Accounts Receivable calculated per Annex D Calculations of Agreement for the Outsourcing of the Asset Management entered into between
Universal-Investment-Luxembourg S.A, and Acis Capital Management, L.P. 50 bps shwon as illustrative approximation of management fees.
(4) Servicing Fees per Order Granting Emergency Motion to Approve Replacement Sub-Advisory and Shared Services Providers, Brigade Capital Management, LP and Cortland Capital Market Services LLC (Docket #464).
(5) BVK Servicing Fees are 50% of BVK management fees calculated per Footnote 2. 25bps shown as illustrative approximation of servicing fee.




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         Liquidation Analysis as of September 27, 2018
         Schedule C: Trustee and Professional Fees & Expenses
                                                                                                                  Estimated
         New Chapter 7 Trustee Fee Calculation                                                                     Amount
         Total Assets Available for Distribution                                                                    $12,484,947

         New Chapter 7 Trustee Commissions (3% of Distributable Value)                                                    374,548
         New Chapter 7 Trustee Professional Fees & Costs(1)                                                               100,000


                                                                                                                  Estimated
                                                Description                                                        Amount
         U.S. Trustee Commissions(2)                                                                                   $124,849
         Chapter 11 Trustee Commissions(3)                                                                               397,798
         Existing Chapter 7 Trustee Commissions(1)                                                                        34,905
         Existing Chapter 7 Trustee Counsel Fees(4)                                                                       59,856
         Winstead Fees & Expenses(1)                                                                                   1,500,000
         Forshey Prostok Fees & Expenses(5)                                                                            1,200,000
         Miller Buckfire Fees & Expenses(6)                                                                            1,000,000
         Joshua Terry Administrative Claim under 503(b)(3)(A)(7)                                                         700,000
         Moss Adams (Tax Professional)(8)                                                                                100,000
           Total Trustee and Professional Fees & Expenses                                                             $5,117,409


         Footnotes:
         (1) Per Winstead, Chapter 11 Trustee counsel, estimate.
         (2) The lesser of (i) 1% of quarterly disbursements or (ii) $250,000 per The Bankruptcy Judgeship Act of 2017,
         Pub. L. No. 115-72.
         (3) Per 11 U.S. Code § 326 (Section 330) on limitation on compensation of trustee.
         (4) Per filed Fee Application.
         (5) Per Forshey Prostok, Chapter 11 Trustee counsel, estimate.
         (6) Per Miller Buckfire estimate.
         (7) Estimate provided by counsel to Joshua Terry. Claim is subject to notice, hearing and Bankruptcy court approval.
         Trustee has agreed to neither the allowance nor the amount of this claim.
         (8) Per Chapter 11 Trustee estimate.




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     Liquidation Analysis as of September 27, 2018
     Schedule D: Oaktree Break-Up Fee, Expenses & Equivalent Revenue

                                                                                             Estimated Amount
     Break-Up Fee(1)                                                                                 $2,500,000
     Milbank Fees(2)                                                                                  2,247,937
     Expense & Equivalent Revenue(2)                                                                    207,116
      Total Oaktree Break-Up Fees, Expenses & Equivalent Revenue                                     $4,955,053
     Less: Cash Paid to Oaktree(3)                                                                   (2,500,000)
      Net Oaktree Break-Up Fees, Expenses & Equivalent Revenue                                       $2,455,053

     Footnotes:
     (1) Per Revised Oaktree Proposal (Docket #385-1 filed on July 7, 2018).
     (2) Per Notice of Intent to Pay Break-Up Fee (Docket #586).
     (3) Per Supplement to Amended Notice of Intent to Pay Break-Up Fee to Oaktree Capital
     Management, L.P. Pursuant to Order Approving Oaktree Motion (Docket #587).




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Liquidation Analysis as of September 27, 2018
Schedule E: Highland Payable
                                                        1/30/2018 through 4/13/2018 ("Gap Period")                             Estimated                       4/14/2018 through 7/6/2018                       Estimated
Portfolios                                            Par Amount(1)   Servicing Fee(2)       Days                               Payable              Par Amount(1)   Servicing Fee(2)      Days                  Payable
ACIS CLO 2013-1                                        $348,273,092       35 bps       1/30/18 - 4/13/18                          $247,177            $280,013,673       35 bps       4/14/18 - 7/6/18             $225,955
ACIS CLO 2014-3                                         413,250,000       35 bps       1/30/18 - 4/13/18                           293,293             413,250,000       35 bps       4/14/18 - 7/6/18              333,470
ACIS CLO 2014-4                                         500,750,000       35 bps       1/30/18 - 4/13/18                           355,393             500,750,000       35 bps       4/14/18 - 7/6/18              404,077
ACIS CLO 2014-5                                         510,750,000       35 bps       1/30/18 - 4/13/18                           362,491             510,750,000       35 bps       4/14/18 - 7/6/18              412,147
ACIS CLO 2015-6                                         578,350,000       35 bps       1/30/18 - 4/13/18                           410,468             578,350,000       35 bps       4/14/18 - 7/6/18              466,696
BayVK R2 Lux S.A., SICAV-FIS                            603,263,670       35 bps       1/30/18 - 4/13/18                           396,236             603,263,670       35 bps       4/14/18 - 7/6/18              450,515
 Total                                               $2,954,636,762                                                             $2,065,058          $2,886,377,343                                               $2,292,861

                                                                   Interim Accrual Period                                      Estimated
Portfolios                                            Par Amount(1)    Servicing Fee(3)      Days                               Payable
ACIS CLO 2013-1                                        $179,003,047       17.5 bps      7/7/18 - 7/31/18                           $20,884
ACIS CLO 2014-3                                         413,250,000       17.5 bps      7/7/18 - 7/31/18                            48,213
ACIS CLO 2014-4                                         500,750,000       17.5 bps      7/7/18 - 7/31/18                            58,421
ACIS CLO 2014-5                                         510,750,000       17.5 bps      7/7/18 - 7/31/18                            59,588
ACIS CLO 2015-6                                         578,350,000       17.5 bps      7/7/18 - 7/31/18                            67,474
BayVK R2 Lux S.A., SICAV-FIS                            603,263,670       17.5 bps      7/7/18 - 7/31/18                            65,135
 Total                                               $2,785,366,717                                                               $319,713

           Total Estimated Highland Payable
Portfolios                                 Total
ACIS CLO 2013-1                             $494,016
ACIS CLO 2014-3                               674,975
ACIS CLO 2014-4                               817,892
ACIS CLO 2014-5                               834,225
ACIS CLO 2015-6                               944,638
BayVK R2 Lux S.A., SICAV-FIS                  911,886
 Total Highland Payable                   $4,677,632
Less: Highland Gap Period Claim(4)         (2,049,564)
 Net Highland Payable(5)                  $2,628,068

Footnotes:
Note: Assumes Highland payable until July 31, 2018 as Brigade appointed sub-servicer on August 1, 2018 per Order Granting Emergency Motion to Approve Replacement Sub-Advisory and Shared Services Providers, Brigade
Capital Management, LP and Cortland Capital Market Services LLC (Docket #464).
(1) Acis CLO 2013-1 par amount through April 13, 2018 and July 6, 2018 per US Bank Monthly Trustee Report dated April 10, 2018 and par amount through Interim Accrual Period per US Bank Monthly Trustee
Report dated July 10, 2018. Acis CLOs 3-6 par amounts through April 13, 2018 and July 6, 2018 per US Bank Monthly Trustee Reports dated April 21, 2018 and through Interim Accrual Period per US Bank Monthly
Trustee Report dated June 21, 2018. BayVK R2 Lux S.A., SICAV-FIS par amount per "Highland0004782 BVK Report 5.31.2018.xslx" file, converted from EUR to USD at May 31, 2018 month-end exchange rate of 1.16 USD / EUR.
(2) Servicing fees include aggregate fees defined under Fourth Amended and Restated Shared Services Agreement by and between Acis LP and Highland Capital Management, L.P., dated March 17, 2017
and Third Amended and Restated Sub-Advisory Agreement by and between Acis LP and Highland Capital Management, L.P., dated March 17, 2017.
(3) Highland expressed it would commit to servicing the Portfolios for 17.5 basis points during the July 6, 2018 Hearing (July 6, 2018 Transcript, Page 244 / 296, Lines 3-7).
(4) Per Exhibit A to Proof of Claim 27-1 of Highland Capital Management, L.P filed on August 1, 2018.
(5) The Chapter 11 Trustee estimates recoupment and other counterclaims may exceed this value.
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  Liquidation Analysis as of September 27, 2018
  Schedule F: Brigade and Cortland Payable
  Brigade Fee
                                                                 8/1/2018 through 9/27/2018                                   Estimated
  Portfolios                                           Par Amount(1)     Servicing Fee(2)      Days                            Payable
  ACIS CLO 2013-1                                        $179,003,047        15 bps       8/1/18 - 9/27/18                         $42,513
  ACIS CLO 2014-3                                         413,250,000        15 bps       8/1/18 - 9/27/18                          98,147
  ACIS CLO 2014-4                                         500,750,000        15 bps       8/1/18 - 9/27/18                         118,928
  ACIS CLO 2014-5                                         510,750,000        15 bps       8/1/18 - 9/27/18                         121,303
  ACIS CLO 2015-6                                         578,350,000        15 bps       8/1/18 - 9/27/18                         137,358
  BayVK R2 Lux S.A., SICAV-FIS                            603,263,670        25 bps       8/1/18 - 9/27/18                         220,993
   Total Fees Payable to Brigade                       $2,785,366,717                                                             $739,242
                                                     Less: Fees Paid to Brigade(3)                                                (733,672)
                                                      Net Fees Payable to (Receivable from) Brigade                                 $5,570

                                                     Cortland Fee
                                                     Cortland One-Time Fee                                                         $75,000
                                                     Monthly Fee between 8/1/18 - 9/27/18                                           57,000
                                                      Total Fees Payable to Cortland                                              $132,000
                                                     Less: Fees Paid to Cortland(3)                                               (105,000)
                                                      Net Fees Payable to (Receivable from) Cortland                               $27,000


  Footnotes:
  (1) Acis CLO 2013-1 par amount per US Bank Monthly Trustee Report dated September 10, 2018. Acis CLOs 3-6 par amounts per
  US Bank Monthly Trustee Reports dated August 21, 2018. BayVK R2 Lux S.A., SICAV-FIS
  par amount per Asset Overview dated August 14, 2018 and Generated August 16, 2018 at 14:17.
  File name: (716300)-(14.08.2018)(P195641133).pdf. Converted at month-end exchange rate of 1.17 USD / EUR.
  (2) Servicing Fees per Order Granting Emergency Motion to Approve Replacement Sub-Advisory and Shared Services Providers, Brigade
  Capital Management, LP and Cortland Capital Market Services LLC (Docket #464).
  (3) Based on Bank of Texas Statements as of September 27, 2018.




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                EXHIBIT “5”
        TO DISCLOSURE STATEMENT

    [Monthly Operating Report–Acis LP]
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                      Doc   Filed
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       18-30264-sgj11   661
                      Doc   Filed
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  Case              Doc
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